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                                 UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

NIC SALOMON,                                             §
                                                         §
            Plaintiff,                                   §
                                                         §
v.                                                       §      CIVIL ACTION NO.
                                                         §      3:15-CV-00666-M
                                                         §
KROENKE SPORTS & ENTERTAINMENT,                          §      JURY TRIAL DEMANDED
LLC, OUTDOOR CHANNEL HOLDINGS,                           §
INC., and PACIFIC NORTHERN CAPITAL                       §
LLC,                                                     §
                                                         §
            Defendants.                                  §


                          PLAINTIFF’S SECOND AMENDED COMPLAINT

            Plaintiff NIC SALOMON files this Second Amended Complaint (“Complaint”) against

Defendants KROENKE SPORTS & ENTERTAINMENT, LLC (“KSE”), OUTDOOR CHANNEL HOLDINGS,

INC. (“Outdoor”) and PACIFIC NORTHERN CAPITAL LLC (“PNC”) (KSE, Outdoor and PNC shall

sometimes be collectively referred to as “Defendants”) as follows:

                                                PARTIES

            1.      Plaintiff Nic Salomon (“Plaintiff” or “Mr. Salomon”), is a citizen of the State of

Texas who resides in Dallas, Texas.

            2.      Defendant KSE is a Delaware limited liability company, which maintains its

principal place of business in Denver, Colorado. KSE is an entertainment and management group

that owns and operates, among other assets, the Pepsi Center, the Paramount Theatre, Dick’s

Sporting Goods Park, the Colorado Avalanche (NHL), Denver Nuggets (NBA), Colorado

Mammoth (NLL), and Colorado Rapids (MLS). KSE’s sole member and owner is KMC Center,

LLC, a Missouri limited liability company, whose sole member and owner is the KMS Revocable


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                                                                                      EXHIBIT "A"
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Trust. The sole grantor, trustee and beneficiary of the KMS Revocable Trust is E. Stanley Kroenke

(“Kroenke”), a citizen of the State of Missouri. Accordingly, KSE is a citizen of the state of

Missouri for purposes of determining diversity of citizenship jurisdiction of these proceedings.

Kroenke owns the NFL’s St. Louis Rams and owns a majority stake in the English soccer club

Arsenal. KSE has been served and has appeared in this case.

            3.   Defendant Outdoor is a Delaware corporation that previously maintained its

principal place of business in Temecula, California and, upon information and belief, currently

maintains its principal place of business in the State of Colorado. Outdoor is an entertainment and

media company that owned the Outdoor television network which is devoted primarily to

traditional outdoor activities such as hunting, fishing, and shooting sports and other outdoor-

related lifestyle programming, together with the aerial camera business. Outdoor has been served

and has appeared in this case.

            4.   Defendant PNC is a California limited liability company that maintains its principal

place of business in Santa Ana, California. Upon information and belief, PNC’s members either

are citizens of states other than the State of Texas or are citizens or subjects of a foreign state. PNC

is a private equity investment firm. PNC has been served and appeared in this case.

                                  JURISDICTION AND VENUE

            5.   Original jurisdiction exists under 28 U.S.C. § 1332. The dispute is between citizens

of different states or between citizens of a state and a foreign state and the amount in controversy

exceeds seventy-five thousand dollars ($75,000.00), exclusive of interest and costs.

            6.   This Court has personal jurisdiction over each of the Defendants because they either

have engaged in business in this State or they have committed tortious and wrongful acts in this

State. Personal jurisdiction also exists because of Defendants’ continuous and systematic contacts



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with the State of Texas. None of the defendants filed a timely Rule 12(b)(2) motion challenging

this Court’s personal jurisdiction over them.

            7.    Venue is proper in the Northern District of Texas pursuant to 28 U.S.C.

§ 1391(b)(2) because a substantial part of the events or omissions giving rise to Salomon’s claims

occurred in this judicial district, and/or a substantial part of property that is the subject of this

action is situated in this judicial district. None of the defendants filed a timely Rule 12(b)(3)

motion challenging the venue of this action before this Court.

                                      NATURE OF THE CASE

            8.    Outdoor agreed in principle to sell two of its related businesses to Mr. Salomon and

his investor group, PNC. As part of that agreement, Outdoor contracted to deal exclusively with

Mr. Salomon and PNC, not to entertain any competing offers and not to disclose to any third party

(e.g., KSE) the exclusive negotiations. Knowing of the exclusivity agreement, KSE, nevertheless,

brushed aside Outdoor’s contractual obligations and PNC’s fiduciary duties to Mr. Salomon.

Desiring to prevent Outdoor’s sale of the two related businesses from occurring, KSE induced

Outdoor and PNC contractually to position KSE to veto the sale to Mr. Salomon and PNC. KSE

then acquired the two businesses for itself.

            9.    KSE obstructed and interfered with Mr. Salomon’s efforts to purchase from

Outdoor the aerial camera business of two companies (the “Aerial Camera Business”) – SkyCam,

LLC (“SkyCam”) and CableCam, LLC (“CableCam”). SkyCam and CableCam are wholly owned

subsidiaries of Outdoor.

            10.   Mr. Salomon served as manager of finances and operations of the Aerial Camera

Business from July 2006 until January 2009 and President of SkyCam and CableCam from 2009

until May 2014. During that time, Mr. Salomon and his management team developed the Aerial



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Camera Business into a valuable, growing venture. In early 2012, after Outdoor asked Mr.

Salomon to find potential buyers for the Aerial Camera Business, Mr. Salomon and his investor

group PNC submitted an offer on February 26, 2013, to buy the Aerial Camera Business, which

Outdoor accepted and was signed by all the parties on February 27, 2013.

            11.   Upon acceptance by Outdoor of Mr. Salomon’s offer, Outdoor agreed to deal

exclusively with Mr. Salomon and PNC regarding the sale of the Aerial Camera Business.

Specifically, Outdoor agreed to not directly or indirectly: (1) solicit, facilitate, or accept any offers

to acquire a debt or equity interest in the Aerial Camera Business or any material part of its assets;

(2) negotiate or correspond with parties other than PNC and Mr. Salomon regarding offers to

acquire any debt or equity interest in or any part of the business of the Aerial Camera Business; or

(3) sell or agree to sell any equity or debt interest in any part of the Aerial Camera Business to

parties other than PNC and Mr. Salomon. (See Ex. A at 2).

            12.   The day after Mr. Salomon’s offer was signed Outdoor and KSE began discussions

regarding KSE’s acquisition of all of Outdoor’s assets, including the Aerial Camera Business to

which Mr. Salomon devoted nearly seven years of his life. At the same time, KSE and Outdoor

assisted and encouraged PNC to violate its fiduciary duties to Mr. Salomon by entering into secret,

side agreements to give KSE (not Outdoor) the authority to repudiate the exclusivity relationship

and sale to Mr. Salomon and PNC and then to purchase the entirety of Outdoor, including the

Aerial Camera Business, for KSE.

            13.   Defendants succeeded in thwarting Mr. Salomon’s efforts to buy the Aerial Camera

Business, resulting in significant financial injury to Mr. Salomon which prevented Mr. Salomon

from acquiring the valuable, growing Aerial Camera Business that was built and developed under

his direction.



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                                   FACTUAL BACKGROUND

The Aerial Camera Businesses – SkyCam and CableCam

            14.   Starting in 2006, Mr. Salomon managed the finances and operations of the Aerial

Camera Business, and served formally as the President of the Aerial Camera Business starting in

2009. SkyCam and CableCam currently operate from shared facilities in Fort Worth, Texas. Mr.

Salomon worked to consolidate the Aerial Camera Business and to develop or acquire the patents

necessary to do so. The Aerial Camera Business principally provides suspended aerial camera

services to media networks for the production of sporting and entertainment events. SkyCam and

CableCam design, manufacture, and operate movable aerial platforms, including the research and

development of new technology related to these platforms.

            15.   With their technology and unique services, SkyCam and CableCam play a

significant role in changing the way sports and other entertainment programming are broadcast to

fans both domestically and internationally. During an entertainment or sporting event, the camera

platforms are suspended above the playing or viewing field and are remotely controlled by

specially-trained personnel who have the ability to move the cameras in up to three dimensions.

Under the direction of Mr. Salomon and his management team, SkyCam and CableCam’s financial

success made them the fastest-growing business segment of Outdoor.

Outdoor Asks Mr. Salomon to Present an Offer to Buy SkyCam and CableCam

            16.   In or around March 2012, Tom Hornish, the then Chief Executive Officer of

Outdoor, met with and advised Mr. Salomon that SkyCam and CableCam were viewed as

Outdoor’s non-core businesses, and would be spun off. Hornish encouraged Mr. Salomon to

assemble an investment group to offer to buy SkyCam and CableCam.




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            17.   After being encouraged by Outdoor, Mr. Salomon searched for capital to support a

potential management buyout or related transaction to purchase the Aerial Camera Business. Mr.

Salomon contacted PNC about providing capital or investing in the purchase of the Aerial Camera

Business.

            18.   In April 2012, PNC and Mr. Salomon, acting individually on behalf of the

divisional management team of SkyCam and CableCam, executed a Non-Disclosure Agreement

to permit PNC to evaluate purchasing the Aerial Camera Business from Outdoor, while

simultaneously protecting the Aerial Camera Business’s confidential information that PNC

received and reviewed in the process. In the spring and early summer of 2012, PNC evaluated the

purchase of the Aerial Camera Business.

            19.   In June 2012, Outdoor retained a third-party capital markets company Noble

Financial Capital Markets (“Noble Capital”) to explore strategic alternatives for the Aerial Camera

Business, including Outdoors’ intended sale of that “non-core business.”

Mr. Salomon Introduces PNC to the SkyCam and CableCam Sale Process

            20.   In or around September 2012, Outdoor’s CEO Hornish authorized Mr. Salomon to

introduce PNC to the sale process. After receiving Hornish and Noble’s permission to introduce

PNC as a potential investor group, and at the request of Noble, Mr. Salomon continued to conduct

management presentations and interact with all groups that showed interest as potential purchasers

of the Aerial Camera Business.

            21.   In or around January 2013, Mr. Salomon conferred with Hornish and Cathy Lee,

the then General Counsel of Outdoor, and advised them of his intent to present a bid with PNC to

buy the Aerial Camera Business. Mr. Salomon also notified Noble Capital. Mr. Salomon’s intent

to present an offer with PNC to buy the Aerial Camera Business was again discussed in later



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communications that included Tom Allen, the Chief Financial Officer of Outdoor, and David

Bolls, Deputy General Counsel of Outdoor.

Mr. Salomon and PNC Sign Term Sheet with Outdoor to Buy the Aerial Camera Business

            22.   On February 27, 2013, Mr. Salomon, PNC, and Outdoor executed a Term Sheet

agreeing for Salomon and PNC to purchase the Aerial Camera Business from Outdoor. A true and

correct copy of the Term Sheet is attached as Exhibit “A.” Tom Hornish signed the Term Sheet as

CEO of Outdoor. Mr. Salomon and Kelly Holowaty, as Managing Director of PNC, signed the

Term Sheet “[f]or the Purchaser.” The Term Sheet defined the “Purchaser” as “[a]n Acquisition

entity . . . to be formed by PNC in conjunction with [Mr. Salomon].” Salomon and PNC were the

intended owners of the Purchaser. As the Term Sheet acknowledges, the Purchaser had not been

formed as of February 27, 2013.

            23.   The purchase price for the Aerial Camera Business assets is identified in the Term

Sheet as a total amount of up to $4.05 million, which included $3.65 million in cash at closing and

some additional payments for ongoing litigation and royalties as described in the Term Sheet. The

Term Sheet states that the transaction would be structured as an asset purchase agreement that

would include the operating assets of the Aerial Camera Business and exclude only certain assets

identified in the Term Sheet. The parties also agreed to use their best efforts to close the transaction

no later than April 15, 2013, the last day of the “Exclusivity Period” discussed below.

            24.   Furthermore, the Term Sheet expressly provides that it “may not be amended or

modified except by a writing signed by each of the parties hereto.”

Outdoor Agrees to a Binding Exclusivity Period with Mr. Salomon and PNC

            25.   The Term Sheet also contains an exclusivity provision benefiting Mr. Salomon and

PNC, which precluded Outdoor, SkyCam, and CableCam from negotiating or agreeing to sell any



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equity interest in the Aerial Camera Business or any material part of the assets of the Aerial Camera

Business to any party other than Mr. Salomon and PNC. Under the exclusivity provision, and

expressly “[i]n consideration of Purchaser continuing to spend time and incur professional fees

and other expenses related to the acquisition” (Term Sheet, Ex. A, at p. 3, “Exclusivity”, para. A),

each of Outdoor, SkyCam, and CableCam agreed that until April 15, 2013, they and their

“directors, officers, affiliates, and representatives will not, directly or indirectly”:–

            (i)     solicit, facilitate, encourage, or accept any offers to acquire any equity or
                    debt interest in SkyCam or CableCam or any material part of the assets of
                    the business of SkyCam or CableCam;

            (ii)    negotiate or correspond with third parties regarding existing or unsolicited
                    offers to acquire any equity or debt interest or any part of the business of
                    SkyCam or CableCam, other than to advise such third parties that exclusive
                    discussions are being pursued with another party; and

            (iii)   sell or agree to sell any equity or debt interest in any part of SkyCam or
                    CableCam to any part other than Mr. Salomon and PNC.

Id.

            26.     Under the Term Sheet’s exclusivity provision, Outdoor further agreed to “cease any

negotiations, discussions, or correspondence which they are having, whether directly or indirectly,

in relation to the potential acquisition of any entity or debt interest” in SkyCam or CableCam by

any party other than Mr. Salomon and PNC. (Term Sheet, Ex. A, at p. 3, “Exclusivity”, para. B).

Outdoor agreed that it would advise any interested parties that it was pursuing exclusive

discussions with another party (but in no event would reveal the Purchaser’s identity). Id. The

exclusivity provision contained no exceptions, even though Mr. Salomon later discovered that

Outdoor was then entertaining merger offers from KSE.

            27.     As an exception to language designating the Terms Sheet as non-binding, the

exclusivity provision is expressly identified as “a binding legal agreement upon the parties.”




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(Term Sheet, Ex. A, at p. 4, “Non-Binding”). Under the exclusivity provision, Outdoor agreed

that Salomon is entitled to all legal and equitable relief for any breach of the provisions of the

agreement, including injunction (without the necessity of posting bond) and specific performance,

as well as both actual and consequential damages. (Term Sheet, Ex. A, at p. 3, “Exclusivity”, para.

D).

Defendants Outdoor and KSE Facilitate Sale of Entire Business of Outdoor to KSE Without
Excluding the Aerial Camera Business From the Sale

            28.   In contravention of the exclusivity obligations in the Term Sheet, Outdoor

participated during the Exclusivity Period in negotiations with other parties to sell the entire

business of Outdoor, including SkyCam and CableCam.

            29.   On November 15, 2012, and well after Outdoor commenced efforts to sell the

Aerial Camera Business (see ¶¶’s 17 – 21) Outdoor signed a merger agreement with Intermedia

Outdoors Holdings, LLC (“Intermedia”) for Intermedia to acquire the stock of Outdoor at $8.00

per share. Outdoor’s February 12, 2103, proxy statement reflected Intermedia was not merging

with Outdoor to acquire the Aerial Camera Business. Rather, the proxy statement expressly

recognized that the Aerial Camera Business would likely be sold as its financial projections

“exclude[d] the projected financial results of [Outdoor’s Aerial Camera Business . . . given

[Outdoor’s] announcement in June 2012 that it was exploring strategic alternatives for the

business, which process [was] still ongoing.” (See excerpts of See Outdoor Channel Holdings, Inc.

Schedule 14A, February 12, 2013, attached as Exhibit “B”) Consequently, Intermedia expected

and acknowledged that the Aerial Camera Business would be sold to a third party, either before or

after the merger.

            30.   On February 27, 2013, the same day that Salomon and PNC executed the Term

Sheet, KSE made an unsolicited offer to purchase the stock of Outdoor at $8.75 per share. On


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March 1, 2013, KSE publicly announced its offer to purchase the stock of Outdoor. (See Outdoor

Channel Holdings, Inc. Form 8K (with exhibit), March 4, 2013, attached as Exhibit “C”) This was

the first time Mr. Salomon was made aware of KSE’s offer to acquire Outdoor Channel.

            31.   Unlike Intermedia, KSE intended to acquire the Aerial Camera Business with

Outdoor. On March 4, 2013 (during the exclusivity period), Outdoor’s General Counsel called Mr.

Salomon to inform him that Outdoor’s position was to disregard the Term Sheet because the

interest of Outdoor to accept an offer to purchase all the stock of the entire company took

precedence over the sale of the Aerial Camera Business. On March 4, 2013, Outdoor publicly

acknowledged its receipt of the KSE offer and, over Intermedia’s opposition, indicated that it

expected the KSE proposal would be considered superior to the Intermedia proposal.

            32.   Notwithstanding KSE’s proposal and its General Counsel’s representations to Mr.

Salomon, Outdoor continued to negotiate with Mr. Salomon and PNC. Both before and after the

statements by Outdoor’s General Counsel, and as the stated consideration for the exclusivity

provisions to which Mr. Salomon agreed (Term Sheet, Ex. A, at p. 3, “Exclusivity”, para. A), Mr.

Salomon “continu[ed] to spend time and incur professional fees and other expenses related to the

acquisition,” as discussed in more detail below, to finalize the purchase of SkyCam and CableCam.

            33.   On March 1, after execution of the Term Sheet and also after KSE’s announced bid

for Outdoor, Mr. Salomon provided PNC with a list of items required for the due diligence. (See

Exhibit “D”). Two days later, on March 3, and a day before Mr. Salomon’s conversation with

Outdoor’s General Counsel, Mr. Salomon expended time and effort to provide PNC with a

transaction plan that addressed the formation of the Purchaser as contemplated by the Term Sheet.

(See Exhibit “E”). After Mr. Salomon’s conversation with Outdoor’s General Counsel in early

March, Outdoor continued to proceed under the Term Sheet and provided Mr. Salomon and PNC



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with an initial draft of the asset purchase agreement (“APA”) contemplated by the Term Sheet, as

well as its response to the due-diligence requests. (See Exhibit “F”).

            34.   On March 10, Mr. Salomon provided PNC with a proposed equity structure for the

Purchaser. (See Exhibit “G”). Mr. Salomon and PNC’s representative traveled to New York City

to meet with a potential additional investor on March 12. The next day, Mr. Salomon spent time

and effort to complete a draft of revisions to the APA and sent it to PNC for review on March 13.

(See Exhibit “H”).

            35.   Also on March 13, (during the Term Sheet’s Exclusivity Period, which prohibited

“negotiations, discussions or correspondence” related to acquisition), Outdoor entered into a

merger agreement with KSE, providing a definitive and binding agreement for the sale of

Outdoor’s business, including the Aerial Camera Business. Outdoor also provided Intermedia with

an opportunity to counter KSE’s offer. (See Outdoor Channel Holdings, Inc. Form 8K (with exhibit

99.2), March 13, 2013, attached as Exhibit “I”).

            36.   On March 14, Mr. Salomon began communicating with PNC’s attorneys at Royer

Cooper Cohen Braunfeld concerning the revisions to the APA. (See Exhibit “H”). Salomon also

consulted with his own attorneys with regard to the APA and incurred legal fees in doing so.

            37.   On March 20, Mr. Salomon, PNC, and Noble Financial participated in a conference

call to discuss the draft APA prepared by Outdoor and revised by Salomon and PNC. (See Exhibit

“J”) Following their conversation, PNC and Noble Financial reportedly had a separate call where

the.y coordinated a follow up call between Hornish and PNC to occur on March 21. While Mr.

Salomon did not participate in that call, PNC later informed him that PNC and Outdoor had

“worked out most of the issues” on the APA and had agreed to extend the exclusivity period by




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thirty days to give “more time to focus on the integration.” (See Exhibit “K”). Mr. Salomon was

not informed about any agreement to give control of the term sheet to KSE.

            38.    Thereafter, on March 21, 2013 (during the exclusivity period which directed

Outdoor Channel and its officers not to negotiate or correspond with the third parties to acquire

any part of SkyCam or CableCam) Outdoor, acting in concert with PNC and without Mr.

Salomon’s consent or signature, signed an agreement purportedly amending the Term Sheet

(“Amendment”) to effectively eliminate the exclusive dealing provision to the material detriment

of Mr. Salomon and to give the purported new purchaser KSE control of the Term Sheet. A true

and correct copy of the Amendment is attached as Exhibit “L.” In pertinent part, the Amendment

provides:

            E.       The parties agree that if, at any point during the exclusivity period, [KSE]
            concludes that it will not consent to the Proposed Transaction, PNC shall release
            [Outdoor] from its exclusivity obligations and PNC shall forever waive its rights,
            if any, under the Term Sheet to seek equitable relief or any other remedies available
            at law or equity.

Kelly Holowaty signed the Amendment on behalf of PNC, and Hornish signed the Amendment on

Outdoor’s behalf. Both PNC and Outdoor executed the Amendment during the exclusivity period.

By entering into the Amendment with PNC (and not the Purchaser), Outdoor recognized PNC’s

rights as one of the parties to the Term Sheet’s Exclusivity Provision but ignored Salomon’s rights.

            39.    On March 25, just four days after the Amendment, during the original exclusivity

period and before the closing of the merger between KSE and Outdoor, Hornish directed Mr.

Salomon to contact David Gluck, KSE’s current executive vice-president for new business

development. Gluck arranged to visit SkyCam and CableCam’s shared facility in Fort Worth to

learn more about the Aerial Camera Business. During his conversation with Mr. Salomon, Gluck

disclosed that, despite Outdoor’s exclusivity obligations, and prohibition against disclosing the



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Purchaser’s identity, he was aware of the Term Sheet but that KSE was allegedly undecided on

plans concerning the proposed sale of the Aerial Camera Business to Mr. Salomon and PNC. At

the time, neither Hornish nor Gluck disclosed to Mr. Salomon that the Amendment had been

executed and that KSE, prior to its merger with Outdoor, had been given veto rights regarding the

sale of the Aerial Camera Business.

            40.   On March 28, Mr. Salomon emailed PNC, stating that he was continuing to work

on an operating model for the Purchaser and requested that PNC provide a proposed capitalization

table. PNC replied with limited information. (See Exhibit “M”).

            41.   Mr. Salomon first learned of the Amendment on April 9, 2013. When Mr. Salomon

objected to his exclusion, Hornish asked him to ratify the Amendment by executing a “Side Letter

Agreement and Amendment.” Mr. Salomon refused. (See Exhibit “N”).

            42.   The amendment granting veto rights to KSE and the conduct in disclosing

information regarding the termination contemplated by the Term Sheet were undertaken at times

that KSE did not have superior rights with regard to the Aerial Camera Business, as demonstrated

by subsequent events described below.

            43.   On May 3, 2013, Intermedia countered KSE’s offer and proposed to purchase all

of the shares of Outdoor at $9.75 per share. Three days later, Outdoor’s board announced that

Intermedia’s offer was superior to KSE’s and notified KSE of its intent to terminate the merger

agreement, subject to KSE’s opportunity to counter. (See Outdoor Channel Holdings, Inc.

Schedule 14A, May 6, 2013, attached as Exhibit “O”)

            44.   On May 7, Outdoor adjourned the meeting of the shareholders that had been called

to approve the KSE merger agreement. (See Outdoor Channel Holdings, Inc. Schedule 14A, May

7, 2013, attached as Exhibit “P”).



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            45.   As of May 7, Outdoor expected to terminate the KSE merger agreement and to

merge with Intermedia, subject to KSE’s right to counter, yet, the Amendment still granted to KSE

the ability to terminate Outdoor’s planned sale of the Aerial Camera Business.

            46.   KSE submitted a counteroffer and increased the purchase price for Outdoor’s shares

to $10.25 per share. Outdoor’s board announced that it considered KSE’s latest proposal to be

superior, amended the KSE merger agreement, increased the breakup fee, added restrictions to

consider further “superior proposals” and recommended that Outdoor’s shareholders vote to

approve it. (See Outdoor Channel Holdings, Inc. Form 8K, May 8, 2013, attached as Exhibit “Q”).

            47.   At a special meeting of Outdoor’s stockholders on May 16, 2013, (after the

conclusion of the first exclusivity extension period, but prior to the termination of the second

extension period) Outdoor approved the KSE merger agreement for KSE to acquire all of the stock

of Outdoor and for Outdoor to become a wholly-owned subsidiary of KSE.

            48.   Prior to the end of the original exclusivity provision, KSE prevented Outdoor from

honoring its obligation to use its best efforts to close the transaction contemplated by the Term

Sheet. Although Mr. Salomon took steps consistent with his obligation under the Term Sheet to

“spend time and incur professional fees and other expenses” to complete a transaction (in fact, Mr.

Salomon incurred thousands of dollars in legal fees alone), Outdoor breached the Term Sheet’s

exclusivity provisions and allowed KSE to refuse to consummate the sale of the Aerial Camera

Business as outlined in the Term Sheet. As a result, the Purchaser was never formed.




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                    CAUSES OF ACTION AGAINST OUTDOOR CHANNEL
                           COUNT 1: BREACH OF CONTRACT

            49.   Pleading affirmatively and alternatively, Plaintiff alleges breach of contract against

Outdoor and, to the extent not inconsistent, incorporates all allegations and claims in this

Complaint by reference.

            50.   The Exclusivity Provision of the Term Sheet is a valid and enforceable contract

between Outdoor, PNC, and Plaintiff. PNC and Plaintiff were promoters of the Purchaser and

signed the Term Sheet on its behalf. The Purchaser, however, had not been formed when the Term

Sheet was signed and was never formed. Accordingly, PNC and Plaintiff are individually parties

and entitled to enforce the Term Sheet’s Exclusivity Provision.

            51.   Outdoor breached the Term Sheet’s Exclusivity Provision by, among other things,

(1) negotiating, discussing, and corresponding with KSE regarding the sale of the Aerial Camera

Business after February 27, 2013, (2) agreeing to sell SkyCam and CableCam, and the Aerial

Camera Business, to KSE during the time period in which Outdoor agreed to exclusively deal with

Mr. Salomon and PNC, (3) failing to cease negotiations and discussions with KSE regarding the

potential acquisition of an equity interest in SkyCam, CableCam and the Aerial Camera Business,

and (4) disclosing to KSE the existence of PNC and Mr. Salomon, and the details of the term sheet,

and (5) granting KSE the right to veto the sale of the Aerial Camera Business to PNC and Plaintiff.

            52.   As a result of Outdoor’s breach of its contractual duties, Mr. Salomon incurred

damages for which he now sues. Mr. Salomon requests that Outdoor be ordered to pay all actual,

consequential and economic damages, including but not limited to lost profits and goodwill.




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                         CAUSES OF ACTION AGAINST KSE
            COUNT 2: TORTIOUS INTERFERENCE WITH EXISTING CONTRACT

            53.   Pleading affirmatively and alternatively, Plaintiff alleges against KSE a tortious

interference with Plaintiff’s existing contract and, to the extent not inconsistent, incorporates all

allegations and claims in this Complaint by reference.

            54.   KSE had actual knowledge of the Term Sheet and Mr. Salomon’s personal interest

in it. KSE had knowledge of facts and circumstances that would lead a reasonable person to believe

that there was a contract regarding the sale by Outdoor of SkyCam and CableCam, its wholly

owned subsidiaries, and the Aerial Camera Business in which Mr. Salomon had an interest.

            55.   KSE willfully and intentionally interfered with the Term Sheet’s Exclusivity

Provision. KSE induced or caused Outdoor to breach its contractual obligations to negotiate

exclusively with PNC and Plaintiff. KSE induced Outdoor to discuss and negotiate the sale of the

Aerial Camera Business and grant KSE the right to disapprove of the sale to Plaintiff and PNC, by

offering Outdoor, upon information and belief, superior terms or other incentives.

            56.   KSE’s interference proximately caused injuries to Mr. Salomon, for which he now

sues and seeks from KSE all actual, consequential and economic damages, including but not

limited to lost profits and goodwill. Mr. Salomon also seeks exemplary damages.

     COUNT 3: TORTIOUS INTERFERENCE WITH PROSPECTIVE RELATIONS

            57.   Pleading affirmatively and alternatively, Plaintiff alleges against KSE tortious

interference with prospective relations and, to the extent not inconsistent, incorporates all

allegations and claims in this Complaint by reference.

            58.   Mr. Salomon had a business relationship with PNC and Outdoor regarding the sale

of the Aerial Camera Business which, to the extent not addressed by binding provisions of the

Term Sheet, had not yet been reduced to a formal contract. To the extent not addressed by binding


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provisions of the Term Sheet, there was a reasonable probability that the business relationship

among Mr. Salomon, PNC, and Outdoor would be reduced to a formal contract or business

relationship. As the Amendment demonstrates, KSE had actual knowledge of Mr. Salomon’s

business relationship with PNC and Outdoor regarding the sale and purchase of the Aerial Camera

Business, and KSE either desired to bring about the interference with that business relationship or

knew that interference was certain or substantially certain to result from its conduct. KSE induced

Outdoor to breach its contractual obligation to negotiate exclusively with Mr. Salomon and PNC

and then caused the execution of the Amendment, which purported to grant KSE the right to

disavow the sale of the Aerial Camera Business. KSE’s conduct—tortiously interfering with the

Exclusivity Provision and inducing PNC to breach its fiduciary duties to Mr. Salomon—was

independently tortious.

            59.    KSE’s actions proximately caused injury to Mr. Salomon, for which he now sues.

Mr. Salomon requests that KSE be ordered to disgorge all profits and pay all actual, consequential

and economic damages, including but not limited to lost profits and goodwill, resulting from

KSE’s wrongful conduct. Mr. Salomon also seeks exemplary damages.

                      COUNT 4: INDUCEMENT OF AND ASSISTANCE IN
                  (AIDING AND ABETTING) BREACH OF FIDUCIARY DUTIES

            60.    Pleading affirmatively and alternatively, Plaintiff alleges inducement of and

assistance in (aiding and abetting) breach of fiduciary duties against KSE and Outdoor and, to the

extent not inconsistent, incorporates all allegations and claims in this Complaint by reference.

            61.    Outdoor and KSE were aware: that PNC and Mr. Salomon had a venture to acquire

the Aerial Camera Business from Outdoor; and that, as venture partners, each owed fiduciary

duties to the other, including the duties of scrupulous honesty and full disclosure. The joint venture

between PNC and Mr. Salomon was apparent from the face of the Term Sheet, which reflected a


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joint bid to purchase the Aerial Camera Business and stated that the Purchaser was to be formed

by both Mr. Salomon and PNC.

            62.   KSE and Outdoor knowingly assisted, encouraged, and participated in PNC’s

breach of its fiduciary duties owed to Mr. Salomon in connection with their purchase of the Aerial

Camera Business by inducing PNC to sign the Amendment without Mr. Salomon’s knowledge or

consent. The Amendment purported to grant to the prospective purchaser KSE the right to reject

the sale of the Aerial Camera Business to Mr. Salomon and PNC. Such assistance and

encouragement was a substantial factor in causing PNC’s breach of fiduciary duties to Mr.

Salomon. As a result of Outdoor’s and KSE’s knowing assistance, encouragement, participation

and inducement of PNC’s breach of fiduciary duties to Mr. Salomon, Mr. Salomon sustained

damages for which Defendants KSE and Outdoor are jointly and severally liable.

            63.   These breaches of fiduciary duties to Mr. Salomon have proximately caused both

damages to Mr. Salomon and benefits to the Defendants, for which he now sues. Mr. Salomon

requests that the Defendants be ordered to disgorge all profits and pay all actual, consequential

and economic damages, including but not limited to lost profits and goodwill, resulting from their

wrongful conduct. Mr. Salomon also seeks exemplary damages.

                            CAUSES OF ACTION AGAINST PNC
                          COUNT 5: BREACH OF FIDUCIARY DUTY

            64.   Pleading affirmatively and alternatively, Plaintiff alleges breach of fiduciary duty

against PNC and, to the extent not inconsistent, incorporates all allegations and claims in this

Complaint by reference.

            65.   PNC and Mr. Salomon entered into a joint venture and/or partnership in connection

with the acquisition of the Aerial Camera Business from Outdoor. PNC and Mr. Salomon agreed




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to jointly bid to purchase the Aerial Camera Business and it was expected that each would own an

interest in the Purchaser.

            66.   As Mr. Salomon’s joint venture and/or partners, PNC owed fiduciary duties to Mr.

Salomon, including but not limited to, the duty of loyalty and utmost good faith, fairness, and

honesty; the duty of candor and full disclosure; the duty to refrain from self-dealing and

competition with the partnership/joint venture; and the duty of fair, honest dealing. PNC breached

those fiduciary duties by, among other reasons, negotiating and entering into the Amendment

without Mr. Salomon’s knowledge or consent that purported to allow the prospective purchaser

KSE to eliminate the Exclusivity Provision of the Term Sheet.

            67.   These breaches of fiduciary duties to Mr. Salomon have proximately caused

damages to Mr. Salomon and perhaps benefits to PNC, for which he now sues. Mr. Salomon

requests that PNC be ordered to disgorge all profits and pay all actual, consequential and economic

damages, including but not limited to lost profits and goodwill, resulting from PNC’s wrongful

conduct. Mr. Salomon also seeks exemplary damages.

                     CAUSES OF ACTION AGAINST ALL DEFENDANTS
                           COUNT 6: UNJUST ENRICHMENT

            68.   Pleading affirmatively and alternatively, Plaintiff alleges unjust enrichment against

all Defendants and, to the extent not inconsistent, incorporates all allegations and claims in this

Complaint by reference.

            69.   Defendants have unjustly enriched themselves, to Mr. Salomon’s detriment, by the

acts, omissions, and torts described in this Complaint.

            70.   Mr. Salomon requests an accounting and that Defendants be ordered to disgorge all

profits and pay all actual, consequential and economic damages, including but not limited to lost

profits and goodwill, resulting from Defendants’ wrongful conduct.


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                                 COUNT 7: CIVIL CONSPIRACY

            71.   Pleading affirmatively and alternatively, Plaintiff alleges a civil conspiracy against

all Defendants and, to the extent not inconsistent, incorporates all allegations and claims in this

Complaint by reference.

            72.   To the extent they were not acting as principal and agent, Defendants conspired

individually and/or collectively to accomplish unlawful purposes, including but not limited to the

acts, omissions, and torts described in this Complaint, and to accomplish lawful purposes by

unlawful means, including but not limited to the acts, omissions, and torts described in this

Complaint.

            73.   The foregoing had a meeting of the minds on the object or course of action, and at

least one member of the conspiracy committed at least one unlawful, overt act to further the object

or course of action.

            74.   Mr. Salomon suffered injury as a proximate result of these wrongful acts.

            75.   As such, Mr. Salomon requests that Defendants be held jointly and severally liable

and be ordered to disgorge all profits and pay all actual, consequential and economic damages,

resulting from their wrongful conduct, including but not limited to lost profits and goodwill.

Because their actions were intentional, malicious, and grossly negligent, an award of exemplary

damages is appropriate.

                                    CONDITIONS PRECEDENT

            76.   To the extent that there are any conditions precedent to be satisfied, Plaintiff has

satisfied or will satisfy such conditions prior to trial.




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                                        ATTORNEYS’ FEES

            77.   Mr. Salomon requests that this Court award his costs and reasonable attorneys’ fees

pursuant to Section 38.001 et. seq. of the Texas Civil Practice & Remedies Code.

                                     EXEMPLARY DAMAGES

            78.   Defendants acted with fraud, malice, and/or gross negligence toward Mr. Salomon.

Defendants thus are liable for exemplary damages as authorized by Chapter 41 of the Texas Civil

Practice & Remedies Code.


                                            JURY DEMAND

            79.   Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Mr. Salomon demands

a trial by jury on all applicable issues.

                                       PRAYER FOR RELIEF

            Mr. Salomon respectfully requests that the Defendants be cited to appear and answer

herein, and that Mr. Salomon have judgment against the Defendants for the following relief:

            a.    compensatory, consequential, and incidental damages resulting from
                  Defendants’ tortious conduct, including but not limited to lost profits and
                  goodwill;

            b.    compensatory, consequential, and incidental damages resulting from
                  Outdoor’s breach of its contractual duties;

            c.    restitution of Defendants’ wrongfully-obtained gains;

            d.    a constructive trust of proceeds that Defendants directly or indirectly
                  obtained from their wrongful conduct;

            e.    an accounting;

            f.    prejudgment and post-judgment interest;

            g.    attorneys’ fees through trial and any appeal of this matter;

            h.    costs;


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            i.   punitive and exemplary damages;

            j.   general relief; and

            k.   such other and further relief, both at law and in equity, to which Mr.
                 Salomon is justly entitled.


Dated: September 9, 2016.

                                            GRAY REED & McGRAW, P.C.


                                            By:    /s/ Cleveland G. Clinton
                                                   CLEVELAND G. CLINTON
                                                   State Bar No. 04399900
                                                   WILLIAM B. CHANEY
                                                   State Bar No. 04108500
                                                   JIM MOSELEY
                                                   State Bar No. 14569100
                                                   WILLIAM N. DRABBLE
                                                   State Bar No. 24074154

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                                            Facsimile: 214-953-1332
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                                                    jmoseley@grayreed.com
                                                    wdrabble@grayreed.com

                                            ATTORNEYS FOR PLAINTIFF NIC SALOMON




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                                     CERTIFICATE OF SERVICE

            I certify that on this day of ninth day of September, 2016, I electronically filed Plaintiff’s

Second Amended Complaint using the Court’s CM/ECF Filing System. The Clerk of the Court

will send notification of the filing to counsel of record, which constitutes service under Local Rule

5.1(d).


                                                   /s/ Cleveland G. Clinton
                                                   CLEVELAND G. CLINTON




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              Nie Salomon                                                   Outdoor Channel Hokllngs. Inc.
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             By:                                                           By:


                          Nie Salomon                                                   Tom Hornish
                                                                                        CEO
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                         UNITED STATES
             SECURITIES AND EXCHANGE COMMISSION
                                                 Washington, D.C. 20549



                                                SCHEDULE 14A
                               Proxy Statement Pursuant to Section 14(a) of the
                                       Securities Exchange Act of 1934


 Filed by the Registrant _                       Filed by a Party other than the Registrant 

 Check the appropriate box:
    Preliminary Proxy Statement
    Confidential, for Use of the Commission Only (as permitted by Rule 14a-6(e)(2))
 _ Definitive Proxy Statement
    Definitive Additional Materials
    Soliciting Material Pursuant to §240.14a-12



      OUTDOOR CHANNEL HOLDINGS, INC.
                                     (Name of Registrant as Specified In Its Charter)


                                 (Name of Person(s) Filing Proxy Statement, if other than the Registrant)


 Payment of Filing Fee (Check the appropriate box):

 _ No fee required.

    Fee computed on table below per Exchange Act Rules 14a-6(i)(1) and 0-11.

     (1) Title of each class of securities to which transaction applies:


     (2) Aggregate number of securities to which transaction applies:


     (3) Per unit price or other underlying value of transaction computed pursuant to Exchange Act Rule 0-11 (set forth
         the amount on which the filing fee is calculated and state how it was determined):


     (4) Proposed maximum aggregate value of transaction:




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     (5) Total fee paid:




    Fee paid previously with preliminary materials.

    Check box if any part of the fee is offset as provided by Exchange Act Rule 0-11(a)(2) and identify the filing for
     which the offsetting fee was paid previously. Identify the previous filing by registration statement number, or the
     Form or Schedule and the date of its filing.

          Amount Previously Paid:


          Form, Schedule or Registration Statement No.:


          Filing Party:


          Date Filed:




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                            Outdoor Channel Holdings, Inc.




                    MERGER PROPOSED—YOUR VOTE IS VERY IMPORTANT
 Dear Stockholder,
       On November 15, 2012, the board of directors of Outdoor Channel Holdings, Inc., a Delaware corporation (“Outdoor Channel”), unanimously approved and
 Outdoor Channel signed a definitive Agreement and Plan of Merger (the “merger agreement”) with InterMedia Outdoors Holdings, LLC, a Delaware limited
 liability company (“IMOTSC”).
       As part of the proposed transaction, Outdoor Channel and IMOTSC will become separate, indirect wholly owned subsidiaries of InterMedia Outdoor
 Holdings, Inc., a newly-created Delaware holding corporation (“IMOH”). IMOTSC is a privately held multimedia company focused on outdoor enthusiasts. As a
 result of the transactions contemplated in the merger agreement, InterMedia Partners VII, L.P. (“InterMedia Partners”), currently a controlling member of
 IMOTSC, and related parties of InterMedia Partners will hold approximately 67.6% of the outstanding common stock of IMOH, and current holders of Outdoor
 Channel’s common stock will hold the remaining 32.4% of IMOH’s common stock. IMOH is financing the cash portion of the merger consideration to be
 received by holders of Outdoor Channel common stock in part through a $140 million term loan facility. Following the consummation of the mergers, IMOH will
 also have access to a $10 million revolving credit facility. Outdoor Borrower, LLC, a Delaware limited liability company and wholly owned subsidiary of IMOH,
 has entered into a commitment letter with CIT Finance, LLC relating to the proposed debt financing. As a condition to completing the transaction, IMOH intends
 to apply for a listing of its common stock for trading on The Nasdaq Global Market (“NASDAQ”), and it is anticipated that its symbol will be “OUTD.”
       Upon the consummation of the mergers, each outstanding share of Outdoor Channel common stock will be automatically converted into and will represent
 the right to receive the following consideration, pursuant to an election made by each stockholder, subject to proration in certain circumstances as described below
 (and subject to certain adjustments for cash to be paid in lieu of any fractional shares and the like as set forth in the merger agreement): (x) $8.00 in cash, without
 interest, with respect to each share of Outdoor Channel common stock for which an election to receive cash has been made; (y) one share of IMOH common stock
 with respect to each share of Outdoor Channel common stock for which an election to receive stock has been made; or (z) with respect to each share of Outdoor
 Channel common stock for which an election to receive mixed stock and cash has been made or for each share of Outdoor Channel common stock for which no
 election has been made, a combination of (A) $4.46 in cash, without interest and (B) that portion of a share of IMOH common stock equal to 0.443. You will need
 to make an election regarding the consideration you will receive for your shares of Outdoor Channel by March 4, 2013. If you do not, then you will receive the
 mix of cash and stock of IMOH described in clause (z) of the preceding sentence if the merger agreement is adopted by the stockholders.
       Upon the consummation of the mergers, holders of IMOTSC common units will be entitled to receive 23,854,227 shares of IMOH common stock in the
 aggregate in exchange for IMOTSC common units, subject to various adjustments set forth in the merger agreement. Shares of IMOH common stock shall be
 allocated among the holders of IMOTSC common units in accordance with the merger agreement and the IMOTSC limited liability company agreement.
       At the special meeting, Outdoor Channel stockholders will be asked to vote on the adoption of the merger agreement described in this proxy
 statement/prospectus. Adoption of the merger agreement requires the affirmative vote of the holders of a majority of the outstanding shares of Outdoor Channel
 common stock entitled to vote.
       Perry T. Massie, Thomas H. Massie, and entities affiliated with Messrs. Massie (collectively, the “Massie Parties”) hold approximately 36% of the shares of
 outstanding Outdoor Channel common stock. In connection with the merger agreement, on November 15, 2012, IMOH entered into a support agreement (the
 “Support Agreement”) with the Massie Parties, the members of the Outdoor Channel board of directors and the executive officers of Outdoor Channel
 (collectively, the “Supporting Parties”). Under the Support Agreement, the Supporting Parties have agreed to vote their shares of Outdoor Channel common stock
 (i) in favor of the adoption of the merger agreement; (ii) in favor of any proposal to adjourn or postpone any meeting of the Outdoor Channel stockholders if there
 are not sufficient votes for approval of the matters described in the preceding clause (i); and (iii) except with the written consent of IMOH, against (x) any
 Alternative Proposal (as defined in the merger agreement) with respect to Outdoor Channel that would impede the mergers or (y) any other action or proposal
 involving Outdoor Channel that would reasonably be expected to prevent or materially impede, interfere with or delay the mergers.
       On November 15, 2012, the last full trading day before the merger agreement was signed, the closing sales price of Outdoor Channel common stock, which
 trades on NASDAQ under the symbol “OUTD,” was $7.19 per share.
       Outdoor Channel’s board of directors has unanimously determined that the merger agreement and the proposed transaction are advisable to and in
 the best interests of Outdoor Channel stockholders, and recommends that its stockholders vote “FOR” adoption of the merger agreement, “FOR”
 approval, on an advisory (non-binding) basis, of the “golden parachute” compensation payable or that could become payable to the named executive
 officers of Outdoor Channel in connection with the mergers and “FOR” approval of the proposal to adjourn the Outdoor Channel special meeting, if
 necessary, to solicit additional proxies if there are not sufficient votes at the time of the Outdoor Channel special meeting to adopt the merger agreement.
 The proposed transaction is conditioned upon the adoption of the merger agreement by Outdoor Channel stockholders, receipt of applicable regulatory approvals
 and other conditions described in the attached proxy statement/prospectus.
       It is important that your shares are represented at the special meeting, whether or not you plan to attend the meeting. Abstentions and failures to vote will
 have the same effect as votes “against” the proposal to adopt the merger agreement. Accordingly, complete, date, sign and return promptly your proxy card
 or voting instruction card in the enclosed postage pre-paid envelope. You may attend the special meeting and vote your shares in person if you wish, even
 though you have previously returned your proxy.
         This document describes the special meeting, the proposed transaction, the documents related to the proposed transaction and other related
 matters that an Outdoor Channel stockholder ought to know before voting on the proposals described herein and should be retained for future
 reference. Please carefully read this entire document, including the “Risk Factors” section beginning on page 34, for a discussion of the risks relating to




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 the proposed transaction. You also can obtain information about Outdoor Channel from documents that it has filed with the Securities and Exchange
 Commission. See “Where You Can Find More Information” for instructions on how to obtain such information.
 Sincerely,
 Perry T. Massie, Co-Chairman of the Board
 Outdoor Channel Holdings, Inc.
 Neither the Securities and Exchange Commission nor any state securities commission has approved or disapproved the common stock of IMOH to be
 issued under this proxy statement/prospectus or determined if this proxy statement/prospectus is accurate or complete. Any representation to the
 contrary is a criminal offense.
      The date of this document is February 12, 2013 and it is first being mailed or otherwise delivered to Outdoor Channel stockholders on or about
      February 12, 2013.




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 IMOTSC’s nor any other independent registered public accounting firms have examined, compiled or performed any
 procedures with respect to the accompanying prospective financial information and, accordingly, do not express an
 opinion or any other form of assurance with respect thereto. The Report of the Independent Public Registered Accounting
 Firm for IMOTSC included in this offering document and the Report of the Independent Registered Public Accounting
 Firm for Outdoor Channel incorporated by reference in this offering document relate to the historical financial information
 of IMOTSC and Outdoor Channel, respectively. Such reports do not extend to the prospective financial information and
 should not be read to do so.

 Outdoor Channel Financial Projections
      The following is a summary of the Outdoor Channel financial projections prepared by Outdoor Channel’s
 management and provided to the Outdoor Channel Board and Outdoor Channel’s financial advisor. The Outdoor Channel
 financial projections set forth below exclude pprojected
                                                    j      financial results of Outdoor Channel’s aerial cameras business,,
 which are set forth below separately,
                               p     y, given
                                        g     Outdoor Channel’s announcement in June 2012 that it was exploring strategic
 alternatives for the business, which process is still ongoing.
                                                              Fiscal Quarter
                                                                  Ending               Fiscal Years Ending December 31,
                                                              December 31,
 (in millions)                                                    2012E        2013E    2014E       2015E      2016E      2017E
 Revenue                                                      $       19.9     $70.5    $74.0      $77.6       $81.2      $85.1
 Adjusted EBITDA(1)                                           $        2.9     $10.6    $11.9      $13.2       $14.5      $15.9
 Unlevered Free Cash Flow(1)                                  $        1.0     $ 5.5    $ 6.3      $ 7.2       $ 7.7      $ 8.7
 (1) Adjusted EBITDA, or earnings before interest, taxes, depreciation and amortization, and Unlevered Free Cash Flow,
     as used in the Outdoor Channel financial projections, are financial measures that are not presented in accordance with
     GAAP and include stock-based compensation charges and exclude certain non-recurring charges.

 Aerial Camera Financial Projections
                 g is a summary
     The following            y of the financial pprojections
                                                     j        off the aerial camera business off Outdoor Channel prepared
                                                                                                                 p p
 by Outdoor Channel’s management and provided to the Outdoor Channel Board and Outdoor Channel’s financial advisor.
                                                              Fiscal Quarter
                                                                  Ending               Fiscal Years Ending December 31,
                                                              December 31,
 (in millions)                                                    2012E        2013E    2014E       2015E      2016E      2017E
 Revenue                                                      $         6.2    $11.7    $12.1      $12.6       $13.1      $13.6
 Adjusted EBITDA(1)                                           $         2.0    $ 1.2    $ 1.3      $ 1.4       $ 1.4      $ 1.5
 Unlevered Free Cash Flow(1)                                  $         0.9    $ 0.8    $ 0.7      $ 0.7       $ 0.7      $ 0.7
 (1) Adjusted EBITDA and Unlevered Free Cash Flow, as used in the Aerial Camera financial projections, are financial
     measures that are not presented in accordance with GAAP and include stock-based compensation charges and
     exclude certain non-recurring charges.

 IMOH Financial Projections
        The followingg is a summary  y of the IMOH financial projections
                                                             p j         prepared
                                                                         p p       by
                                                                                    y management
                                                                                          g       of IMOTSC and Outdoor
 Channel,, and pprovided to the Outdoor Channel Board and Outdoor Channel’s financial advisor. The IMOH financial
 pprojections
      j       reflect the business of IMOH on a pro
                                                  p forma basis assuming    g consummation of the mergers.
                                                                                                      g     The IMOH
  financial projections
            p j          set forth below exclude projected
                                                 p j       financial results of Outdoor Channel’s aerial cameras business,
  which are set forth above separately, given Outdoor Channel’s announcement

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 in June 2012 that it was exploring strategic alternatives for the business, which process is still ongoing. Further,
                                                                                                             F        the IMOH
 financial projections do not reflect estimated cost synergies, net of the cost to achieve such synergies, which are separately
 set forth below, and tax attributes with a net present value of approximately $38.0 to 40.3 million that are anticipated to be
 retained by IMOH due to IMOTSC’s significant tax basis that will be amortized over a period of many years and net
 operating loss carryforwards.
                                                                                     Fiscal Years Ending December 31,
 (in millions)                                                           2013E       2014E         2015E      2016E           2017E
 Revenue                                                                $181.8      $191.0       $204.2         $220.4        $239.5
 Adjusted EBITDA(1)                                                     $ 41.4      $ 46.0       $ 53.7         $ 63.1        $ 74.9
 Unlevered Free Cash Flow(1)                                            $ 23.3      $ 25.9       $ 30.6         $ 36.2        $ 43.4
 (1) Adjusted EBITDA and Unlevered Free Cash Flow, as used in the IMOH financial projections, are financial measures
     that are not presented in accordance with GAAP and include stock-based compensation charges and exclude certain
     non-recurring charges.

 Net Cost Synergies Projections
      The following is a summary of the projections of estimated cost synergies, net of integration and implementation
 costs and after taxes, anticipated to be realized by IMOH in the mergers as prepared by the management of IMOTSC and
 Outdoor Channel, and provided to the Outdoor Channel Board and Outdoor Channel’s financial advisor.
                                                                                           Fiscal Years Ending December 31,
 (in millions)                                                                    2013E       2014E      2015E     2016E       2017E
 Net Cost Synergies                                                               $(0.4)     $ 3.4      $ 5.1      $ 5.1       $ 5.1
 (1) Net Cost Synergies, as used in the net cost synergies projections, is a financial measure that is not presented in
     accordance with GAAP.

 Opinion of Outdoor Channel’s Financial Advisor
      Outdoor Channel has retained Lazard to act as Outdoor Channel’s financial advisor in connection with the mergers.
 As part of this engagement, Outdoor Channel’s Board requested that Lazard evaluate the fairness, from a financial point of
 view, of the consideration to be paid in the Outdoor Channel merger to holders of Outdoor Channel common stock. On
 November 15, 2012, at a meeting of Outdoor Channel’s Board held to evaluate the mergers, Lazard rendered to Outdoor
 Channel’s Board an oral opinion, confirmed by delivery of a written opinion dated November 15, 2012, to the effect that,
 as of that date and based upon and subject to the assumptions, factors and qualifications set forth in such opinion, the
 consideration to be paid in the Outdoor Channel merger to holders of Outdoor Channel common stock (other than holders
 who are entitled to and properly demand an appraisal of their shares of Outdoor Channel common stock) was fair, from a
 financial point of view, to such holders.

      The full text of Lazard’s written opinion, dated November 15, 2012, to Outdoor Channel’s Board, which sets forth,
 among other things, the procedures followed, assumptions made, matters considered and qualifications and limitations on
 the scope of review undertaken by Lazard in connection with its opinion, is attached to this proxy statement/prospectus as
 Annex B and is incorporated into this proxy statement/prospectus by reference. Lazard’s engagement and its opinion
 were for the benefit of Outdoor Channel’s Board (in its capacity as such) and Lazard’s opinion was rendered to
 Outdoor Channel’s Board in connection with its evaluation of the Outdoor Channel merger consideration from a
 financial point of view and did not address any other aspects of the mergers. Lazard’s opinion did not address the
 relative merits of the mergers as compared to any other transaction or business strategy in which Outdoor Channel
 might engage or the merits of the

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                          UNITED STATES
              SECURITIES AND EXCHANGE COMMISSION
                                                         Washington, DC 20549


                                                             FORM 8-K

                                                       CURRENT REPORT
                                               Pursuant to Section 13 or 15(d) of
                                              The Securities Exchange Act of 1934
                                     Date of Report (Date of earliest event reported):
                                                     March 4, 2013



      OUTDOOR CHANNEL HOLDINGS, INC.
                                          (Exact name of registrant as specified in its charter)


               DELAWARE                                               000-17287                                XX-XXXXXXX
           (State or other jurisdiction                        (Commission File Number)                         (IRS Employer
                of incorporation)                                                                             Identification No.)

                                                         43445 Business Park Drive
                                                         Temecula, California 92590
                                              (Address of principal executive offices, including zip code)

                                                                 (951) 699-6991
                                                (Registrant’s telephone number, including area code)


                                            (Former name or former address, if changed since last report)



 Check the appropriate box below if the Form 8-K filing is intended to simultaneously satisfy the filing obligation of the
 registrant under any of the following provisions (see General Instruction A.2. below):
 _ Written communications pursuant to Rule 425 under the Securities Act (17 CFR 230.425)
    Soliciting material pursuant to Rule 14a-12 under the Exchange Act (17 CFR 240.14a-12)
    Pre-commencement communications pursuant to Rule 14d-2(b) under the Exchange Act (17 CFR 240.14d-2(b))
    Pre-commencement communications pursuant to Rule 13e-4(c) under the Exchange Act (17 CFR 240.13e-4(c))




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 Item 8.01 Other Events
      On March 4, 2013, Outdoor Channel issued a press release acknowledging receipt of an unsolicited, nonbinding
 proposal from Kroenke Sports & Entertainment, LLC (“Kroenke”) to acquire all of its outstanding shares of common
 stock in an all-cash transaction at a price of $8.75 per share, subject to the completion of limited confirmatory due
 diligence and the execution of a definitive merger agreement. The text of the press release is furnished as Exhibit 99.1 to
 this Current Report on Form 8-K and is incorporated herein by reference.

 The full text of the letter proposal from Kroenke is furnished as Exhibit 99.2 to this Current Report on Form 8-K and is
 incorporated herein by reference.

 Item 9.01 Financial Statements and Exhibits
 (d) Exhibits.
 Exhibit No.                                                        Description

 99.1              Press Release dated as of March 4, 2013, issued by Outdoor Channel Holdings, Inc.
 99.2              Letter from Kroenke Sports & Entertainment, LLC, to the Board of Directors of Outdoor Channel
                   Holdings, Inc., dated as of February 27, 2013




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                                                       SIGNATURE

 Pursuant to the requirements of the Securities Exchange Act of 1934, the registrant has duly caused this report to be signed
 on its behalf by the undersigned hereunto duly authorized.

                                                                                    OUTDOOR CHANNEL HOLDINGS,
                                                                                    INC.

 Date: March 4, 2013                                                                /s/ Catherine C. Lee
                                                                                    Catherine C. Lee
                                                                                    Exec. VP, General Counsel and
                                                                                    Corporate Secretary




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 EX-99.1 2 d495755dex991.htm EX-99.1
                                                                                                                   Exhibit 99.1

           OUTDOOR CHANNEL HOLDINGS RECEIVES UNSOLICITED ACQUISITION PROPOSAL

 TEMECULA, Calif.—March 4, 2013—Outdoor Channel Holdings, Inc. (NASDAQ: OUTD)(the “Company” or
 “Outdoor Channel”) today acknowledged that it received an unsolicited, nonbinding, written proposal (the “Alternative
 Proposal”) from Kroenke Sports & Entertainment, LLC (“Kroenke”) to acquire all of its outstanding shares of common
 stock in an all-cash transaction at a price of $8.75 per share, subject to the completion of limited confirmatory due
 diligence and the execution of a definitive merger agreement.

 The Company confirmed that Outdoor Channel’s board of directors (the “Board”) believes that the Alternative Proposal is
 bona fide and the Board, in consultation with its outside legal counsel and financial advisors, has determined in good faith
 that the Alternative Proposal would reasonably be expected to result in a “Superior Proposal” as such term is defined in
 the InterMedia Agreement. Accordingly, Outdoor Channel’s board has authorized discussions with Kroenke regarding the
 Alternative Proposal. There is no assurance that these discussions will result in a definitive agreement with Kroenke or a
 binding offer with respect to a transaction for Outdoor Channel by Kroenke, or of the timing of any such agreement or
 offer and the terms on which any such agreement or offer may be made.

 As previously announced, Outdoor Channel entered into the Agreement and Plan of Merger, dated as of November 15,
 2012 (the “InterMedia Agreement”), with InterMedia Outdoors Holdings, LLC, InterMedia Outdoor Holdings, Inc.
 (“IMOH”), Outdoor Merger Sub, LLC and Outdoor Merger Corp. pursuant to which Outdoor Channel stockholders would
 receive, pursuant to an election made by each stockholder, either (x) $8.00 in cash, without interest and subject to
 proration, (y) one share of IMOH common stock, subject to proration, or (z) a combination of (A) $4.46 in cash, without
 interest, and (B) that portion of a share of IMOH common stock equal to 0.443.

 The Board advises stockholders not to take any action at this time with respect to the Alternative Proposal. The Board is
 not withdrawing its recommendation with respect to the InterMedia transaction, or proposing to do so, and is not making
 any recommendation with respect to the Kroenke proposal. At this time, the Board reaffirms its recommendation that
 Outdoor Channel’s stockholders vote in favor of the adoption of the InterMedia Agreement.

 A copy of Kroenke’s proposal to Outdoor Channel will be filed with the Securities and Exchange Commission.

 About Outdoor Channel Holdings, Inc.
 The Company owns and operates Outdoor Channel and Winnercomm Inc. and offers programming that captures the
 excitement of hunting, fishing, shooting, adventure and the Western lifestyle and can be viewed on multiple platforms
 including high definition, video-on-demand, as well as on a dynamic broadband website. Winnercomm is one of
 America’s leading and highest quality producers of live sporting events and sports series for cable and broadcast
 television. The Company also owns and operates the SkyCam and CableCam aerial camera systems which provide
 dramatic overhead camera angles for major sports events, including college and NFL football.

 Safe Harbor Statement
 Certain matters discussed in this news release, with the exception of historical matters, may be forward- looking
 statements within the meaning of the Private Securities Litigation Reform Act of 1995. These statements are subject to a
 number of risks and uncertainties that could cause results to differ materially from those anticipated as of the date of this
 release. You should understand that the following important factors, in




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 addition to those risk factors disclosed in the Company’s current and periodic reporting filed with the SEC and those
 discussed in “Risk Factors” in the Registration Statement on Form S-4 filed by IMOH with respect to the proposed
 transaction and in the documents which are incorporated by reference therein, could affect the future results of the
 Company and IMOH after the consummation of the transaction, and could cause those results or other outcomes to differ
 materially from those expressed or implied in the forward-looking statements:

       •   failure of Company stockholders to adopt the merger agreement;
       •   the risk that the businesses will not be integrated successfully;
       •   the risk that synergies will not be realized;
       •   the risk that the combined company following this transaction will not realize on its financing strategy;
       •   litigation in respect of either company or the mergers; and
       •   disruption from the mergers making it more difficult to maintain certain strategic relationships.

 The Company also cautions the reader that undue reliance should not be placed on any forward-looking statements, which
 speak only as of the date of this release. The Company undertakes no duty or responsibility to update any of these
 forward-looking statements to reflect events or circumstances after the date of this report or to reflect actual outcomes.

 IMPORTANT INFORMATION FOR INVESTORS AND SECURITYHOLDERS
 This communication is being made in respect of a proposed business combination involving Outdoor Channel and
 IMOTSC. In connection with the proposed transaction, the Registration Statement on Form S-4, as amended (Registration
 No. 333-185106), filed by IMOH on November 21, 2012 with the SEC, that includes the proxy statement of Outdoor
 Channel and that also constitutes a prospectus of IMOH, was declared effective on February 11, 2013.

 On February 12, 2013, Outdoor Channel commenced the mailing of the definitive proxy statement/prospectus with respect
 to the transaction to stockholders of Outdoor Channel. OUTDOOR CHANNEL URGES INVESTORS TO READ THE
 DEFINITIVE PROXY STATEMENT/PROSPECTUS AND OTHER DOCUMENTS INCLUDED AND INCORPORATED
 THEREIN AND FILED WITH THE SEC CAREFULLY AND IN THEIR ENTIRETY BECAUSE THEY CONTAIN
 IMPORTANT INFORMATION ABOUT THE PROPOSED TRANSACTION.

 Investors and security holders will be able to obtain free copies of the definitive proxy statement/prospectus and other
 documents filed with the SEC by Outdoor Channel through the web site maintained by the SEC at www.sec.gov. Free
 copies of the definitive proxy statement/prospectus and other documents filed with the SEC can also be obtained on
 Outdoor Channel’s website at www.outdoorchannel.com.

 PROXY SOLICITATION
 Outdoor Channel and its respective directors, executive officers and certain other members of management and
 employees may be soliciting proxies from Outdoor Channel stockholders in favor of the acquisition. A description of the
 interest of Outdoor Channel’s directors and executive officers in Outdoor Channel is set forth in the proxy
 statement/prospectus and the other documents included and incorporated by reference therein. You can find information
 about Outdoor Channel’s executive officers and directors in its annual report on Form 10-K filed with the SEC on
 March 9, 2012. You can obtain free copies of these documents from Outdoor Channel in the manner set forth above.

 CONTACT: OUTDOOR CHANNEL HOLDINGS, INC.

       For Company:
       Tom Allen
       Executive Vice President, Chief Operating Officer /
       Chief Financial Officer
       800-770-5750

       For Investors:
       Chris Plunkett
       Brainerd Communicators, Inc.
       212-986-6667




https://www.sec.gov/Archives/edgar/data/760326/000119312513089245/d495755dex991.htm 9/9/2016
EX-99.1                                                                           Page 3 of 3

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     For Media:
     Nancy Zakhary
     Brainerd Communicators, Inc.
     212-986-6667

                                            -2-




https://www.sec.gov/Archives/edgar/data/760326/000119312513089245/d495755dex991.htm 9/9/2016
EX-99.2                                                                                                        Page 1 of 3

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 EX-99.2 3 d495755dex992.htm EX-99.2
                                                                                                              Exhibit 99.2



                                           February 27, 2013



 Board of Directors
 Outdoor Channel Holdings, Inc.
 43455 Business Park Drive
 Temecula, CA 92590

 Attn: Thomas E. Hornish
       Perry T. Massie
       Roger L. Werner

 Gentlemen:

      We are pleased to submit this preliminary proposal to acquire Outdoor Channel Holdings, Inc., subject to the terms
 and conditions discussed below. Based on our knowledge of Outdoor Channel gathered from publicly available
 information, as well as our experience in the industry, we are prepared to acquire 100% of the outstanding shares of
 Outdoor Channel stock in an all-cash transaction, at a price of $8.75 per common share. Furthermore, we believe it will be
 possible to reflect additional value in our proposal once we have completed certain limited confirmatory due diligence on
 the company. We are confident that, given the opportunity, your stockholders will enthusiastically support our proposal.

      As you may be aware, we are affiliated with Mr. E. Stanley Kroenke, the chairman and owner of The Kroenke
 Group, a private real estate investment and development company with properties located throughout the United States
 and Canada, as well as one of the leading owners in professional sports. Mr. Kroenke is the owner of the St. Louis Rams
 of the NFL, the majority owner of the Arsenal Football Club of the EPL, the owner of the Denver Nuggets of the NBA,
 the owner of the Colorado Avalanche of the NHL and the owner of the Colorado Rapids of the MLS. Mr. Kroenke also
 owns and operates sports and entertainment venues in Colorado, including the Pepsi Center, Dick’s Sporting Goods Park
 and the Paramount Theatre. In television operations, Mr. Kroenke owns Altitude Sports & Entertainment, a regional
 television network based in Denver, Colorado and 50% of World Fishing Network, which operates primarily out of the
 Altitude network operating center in Centennial, Colorado.

      As these investments and experiences demonstrate, we are well positioned to execute on our proposal and complete a
 transaction with your company. In addition, we and Mr. Kroenke are highly impressed with your company and are eager
 to partner for a transaction; Mr. Kroenke, in fact, personally owns 1.25 million shares of your common stock.

      We believe our proposal constitutes not only an “Alternative Proposal” but also a “Superior Proposal” pursuant to
 your merger agreement with InterMedia Outdoors Holdings, Inc. Our proposal represents a premium of 16.7% to $7.50,
 the closing price of a share of the company’s common stock today, February 27, 2013, and a premium of 21.7% to $7.19,
 the closing price on November 15, 2012 (the last trading day before announcement of the InterMedia transaction).

 1000 Chopper Circle, Denver, Colorado 80204         303.405.1100     PepsiCenter.com




                                                                                                               W/2069321




https://www.sec.gov/Archives/edgar/data/760326/000119312513089245/d495755dex992.htm 9/9/2016
EX-99.2                                                                                                         Page 2 of 3

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 Page 2

      Our purchase price of $8.75 per share is plainly more favorable, from a financial point of view, to the company’s
 stockholders than the cash price of $8.00 per share that the company’s stockholders may elect under the merger
 agreement. Furthermore, we are confident that the same holds true in comparing our purchase price against either (a) the
 one share of InterMedia common stock into which a share of Outdoor Channel stock may be converted or (b) the $4.46 in
 cash plus 0.443 portion of a share of InterMedia common stock into which a share of Outdoor Channel stock may be
 converted. In fact, the analysis of the fairness opinion of Lazard Fréres & Co. LLC, as described in your proxy statement,
 fully supports our conclusion that our proposal of $8.75 per share in cash is financially more favorable than the blended
 value of the InterMedia merger consideration.

     Put simply, compared to the merger agreement with InterMedia, our all-shares/all-cash proposal provides clear,
 immediate value for all company stockholders, without imposing a cutback on the amount of cash any single stockholder
 could receive and without forcing stockholders to retain a stub minority equity security of uncertain value (in a company
 in which former independent public stockholders are likely to represent less than 21% of the total equity).

      Our proposal is subject only to completion of limited confirmatory due diligence (which we are prepared to
 commence immediately) and execution of a definitive merger agreement; likewise, we will deliver high certainty of
 closing and see no regulatory impediments to a prompt closing. We anticipate that our merger agreement will be based
 substantially on your existing merger agreement with InterMedia, although our proposed agreement would be more
 favorable to the company’s stockholders in two important respects.

       First, our proposed merger agreement would not have any uncertainty tied to financing. We are a financially strong
 company and have the necessary resources to consummate this transaction; while we may seek bank financing, we do not
 require it and we would not propose to place the risk of such financing on your stockholders. By contrast, as you well
 know, your merger agreement with InterMedia provides that you are not entitled to seek specific performance to cause
 InterMedia to close unless, among other conditions, approximately $150 million in new debt financing has been (or will
 be) funded. Second, unlike your merger agreement with InterMedia, our proposed merger agreement would not cap your
 ability to seek monetary damages (or specific performance) in the event we were to willfully breach the agreement. These
 improved terms show our commitment to completing a transaction with your company.

       We want to emphasize to the Outdoor Channel board of directors how serious we are about this proposal and how
 committed we are to a combination of our two companies. We have already engaged Allen & Company LLC as our
 financial advisor and Wachtell, Lipton, Rosen & Katz as our legal advisor, and they are prepared to begin work
 immediately to assist us in completing our limited confirmatory due diligence and to finalize an agreed transaction. In
 light of the stockholder meeting on March 13, 2013 to consider the InterMedia merger agreement, we believe it is in the
 best interests of all parties to begin discussions immediately, so you and your stockholders will be able to take full
 advantage of the value represented by our proposal. We (and our advisors) stand fully ready to commit the resources
 necessary to complete these steps expeditiously, and we are prepared to enter into a confidentiality agreement with you on
 the terms required by Section 9.3 of your merger agreement with InterMedia.




https://www.sec.gov/Archives/edgar/data/760326/000119312513089245/d495755dex992.htm 9/9/2016
EX-99.2                                                                                                               Page 3 of 3

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 Page 3

      We have great respect for Outdoor Channel and the accomplishments of your management team and employees and
 are excited by the prospects of building together on your strong foundation. We are confident in our ability to combine
 successfully our two companies to enhance opportunities for growth, which is why we are able to make this proposal of
 superior value for your stockholders.

      Please note that this letter is not meant to, and does not, create or constitute any legally binding obligation, liability or
 commitment by us concerning a proposed transaction, and, other than any confidentiality agreement we may enter into
 with you, there will be no legally binding agreement between us regarding the proposed transaction unless and until we
 enter into a definitive merger agreement with you.

      We are pleased to be able to offer this Superior Proposal to your stockholders. We are confident that our proposal
 presents a compelling opportunity for both our companies and look forward to your response; due to the short time before
 the March 13, 2013 stockholder meeting, we would appreciate your response before 5:00 p.m. (New York time) on Friday,
 March 1, 2013. If you have any questions or would like to clarify any aspect of our proposal, please do not hesitate to call
 either Paul Gould at Allen & Company, at (212) 339-2283, or Andrew Nussbaum at Wachtell, Lipton, Rosen & Katz, at
 (212) 403-1269.

                                                                               Sincerely,

                                                                               Kroenke Sports & Entertainment, LLC

                                                                               By: /s/ James A. Martin
                                                                               Name: James A. Martin
                                                                               Title: President and Chief Executive Officer




https://www.sec.gov/Archives/edgar/data/760326/000119312513089245/d495755dex992.htm 9/9/2016
Case 3:15-cv-00666-M Document 63 Filed 08/31/17                                                                 Page 43 of 139 PageID 713

Re: - Yahoo Mail                                                                                                                                                Page 1 of 1




       Re:                                                                                                                      Fnday March I . 2013 12 38 AM

        From: "Nie Salomon' <nsalomon2@yahoo.com>

             To: jeff.holowaty@paclficncap.com

             cc: kelly@pncap1talllc.com

        1 Flies         15KB   Download All
           XLSX    1SKB

           Add111onal
           D1hgence
           Items

              Sova


       Jeff,
       Please see attached for a revised follow-up diligence lisl. Tab 1 has a full list (including the docs I tracked down and organized today with no need for
       Outdoor Channel to get involved).

       Tab 2 Is what I recommend we submit to Noble Financial tomorrow for Outdoor Channel to provide (subject to your review/comment of course) Perhaps
       we can discuss tomorrow before you send them Tab 2.

       Thanks.

        Nie

       -     On Wed, 2127113. Nie Salomon <osalomon2@yahoo.com> wrote:

       > From: Nie Salomon <nsalomon2@vahoo.com>
       > Subject:
       > To: jeff.holowatv@pacificncap.com
       > Cc: kell y@pncapitalllc.com
       > Oate: Wednesday , February 27 , 2013 , 10.13 PM
       >Jeff,
       > Please see attached for a DRAFT follow up diligence req uest
       > list. This is still rough so let's discuss tomorrow
       > and refine as needed.
       >
       > I have an operational transilion plan in the works as
       >well, Will target 10 have a draft to you by Fnday for
       >review.

        >I traded emails with Roger today Thanked him for his
        > support and let him know we got a term sheet signed.
        > He was happy to hear the news and said we would talk
        >soon .
        >
       > Have a great evening.
       >
       >-Nie




 https://us-mg6 .mai I.yahoo .com/neo/b/message? Mid= 79&fid=Sent%2520%252d %2520B ...                                                                             8/24/2016

                                                                                                                                                 EXHIBIT "D"
                                      Case 3:15-cv-00666-M Document 63 Filed 08/31/17                                Page 44 of 139 PageID 714

              Additional Diligence Request s - 3/1/13                                               Responsibility


              IP / Technology
Complete      Updated patent, trademark and IP list for all entities                                IP counsel
Complete      Detail on new provisional patents filed since data room upload (primarily second      Nie
              screen patent)
Complete      Deta il on virtual trading card patent research                                       Nie
Complete      Arbitration documentation related to attempts to purchase Skycam.com domain name Nie


Complete      Next genera t ion camera system development proposal from Sequoia Technologies        Nie



              IT
Request is in Provide copies of contracts for Phone System (C2MJ, Internet Lines (Cogent), Phone    OC IT/ Legal
to IT         Service (C-Beyond), Cable (DirecTV)
Request is in Inventory of all cell phones, laptops and other IT equipment used at Skycam/Cablecam OC IT
to IT         or provided for us in Temecula; confirm if there is anything that CANNOT transfer



              HR
In progress   Update org chart                                                                      Nie/Marci
              Current Employee Handbook (only if updated after 2009)                                Melinda
              Summary and details of current 401K plan and other benefits plans                     Melinda
              Any severance/ termination agreements for former aerial camera employees              Melinda
              Signed Employment Proprietary Information and Inventions, Confidentiality and Non -   Melinda
              Competition agreements with current and former employees and consultants


Complete      01 Visa Support Letter for Pablo

              HlB Visa sponsorship documentation for Santosh; anything required to transfer HlB     Melinda
              sponsorship
              2 year salary and bonus history for all aerial camera employees                       Melinda

              Current job descriptions on file for all ae ri al came ra personnel                   Melinda
              Correspondence, memoranda or notes concerning any labor or employment disputes        Melind a



Request ed    Summary of curren t insurance policies (D&O, Property, Benefits, Disability)          Nie
from Barney
& Barney
2/28



              General Business
Complete      Government strategic planning documents                                               Nie
Complete      Business development and strategic plans                                              Nie
Complete      Utility details (account information with each provider)                              Nie
Complete      Wavecam patent assignment documentation                                               Nie


              Fina nce / Accounting
                                 Case 3:15-cv-00666-M Document 63 Filed 08/31/17                                 Page 45 of 139 PageID 715

Complete   ESPN historical event usage summary                                                       Nie
Complete   Historical price and volume data by network                                               Nie
Complete   Spreadsheet of ESPN scheduled contract payments                                           Nie
           A/R and A/Paging report for Skycam and Cablecam (most recent month)                       oc
           Asset lists from general ledger for Skycam and Cablecam (most recent month)
           Deferred reven ue account by customer - primarily Navy/AMEWAS & ESPN (most recent OC
           month)
           Navy/AMEWAS historical (actual) and projected financials by quarter through end of        OC
           project; Spreadsheet showing revenue and profit recognition calculations for same
           periods
           All permits, licenses, approvals and entitlements regarding current and future projects   OC
           or services. Specifically, please provide copy of all business licenses
           Title reports for any real property owned by Skycam or Cablecam                           OC

           Audit reports containing audited financials of Skycam and Cablecam for 2010, 2011         OC
           and 9 months ended 2012
           Skycam and Cableca m tax returns since inception {2009/2010/2011)                         OC

           Legal
Complete   List of corporate attorneys with contact information                                      Nie
           Describe any encumberances to the transfer of Skycam and Cablecams' assets out of         Cathy Lee
           Skycam, Cablecam, Winnercomm or Outdoor Channel?
           Confirm ownership structure of Skycam and Cablecam. Is Winnercomm still the               Cathy Lee
           Managing Member or is it Outdoor Channel Holdings?
           Are there any guarantees outstanding from Skycam or Cablecam or related to Skycam         Cathy Lee
           and Cablecam (not already disclosed)?

           Any updated information Outdoor Channel has related to outstanding sales tax dispute Cathy Lee
           with State of California and/or license agreement with Garrett Brown ?

           Copy of Engagement letter with Noble Financial (to extent there are any obligations       Cathy Lee
           impacting the buyer of Skycam and Cablecam 's assets or the sale of those assets)

           Other material documents or information NOT in data room which, in Outdoor                Cathy Lee
           Channel's judgment, are significant with respect to the aerial ca mera business and its
           affiliated entities, or, which should be considered and reviewed in making disclosures
           regarding the business and financial condition of the business to prospective investors


           Details of any materia ls customer disputes or co mplaints related to Skycam/Cablecam     Cathy Lee
           that are not in the data room
           Details of any threatened or actual litigation related to Skycam/Cablecam that are not    Cathy Lee
           in the data room
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    Additional Diiigence Requests • 3/1/13
    PNC & Nie Salomon

    HR
1   Current Employee Handbook (only if upd ated after 2009)
2   Summary and details of current 401K plan and othe r benefits plans
3   Any severance I termination agreements for former aerial camera employees
4   Signed Employment Proprietary Information and Inventions, Confident iality and Non -Competition
    agreements with current and former employees and consultants
5   HlB Visa sponsorship documentation for Santosh; anything required to transfer HlB sponsorship
6   2 year salary and bonus history for all aerial camera employees
7   Current job descriptions on file for all aerial camera personnel
8   Correspondence, memoranda or notes concerning any labor or employment disputes

    Finance I Accounting
1   A/Rand A/Paging report for Skycam and Cablecam (most recent month)
2   Asset fists from general ledger for Skycam and Cablecam (most recent month)
3   Deferred revenue account by customer · primarily Navy/AMEWAS & ESPN (most recen t month)
4   Navy/AMEWAS historical (actual) and projected financials by quarter through end of project; Spreadsheet
    showing revenue and proflt recognition calculations for same periods
5   All permits, licenses, approvals and entitlements regarding current and future projects or services.
    Specifically, please provide copy of all business licenses
6   ntle reports for any real property owned by Skycam or Cablecam
7   Audit reports containing audited financials of Skycam and Cablecam for 2010, 2011 and 9 months ended
    2012
8   Skycam and Cablecam tax returns since inception (2009/2010/2011)

    legal
1   Describe any encumberances to the transfer of Skycam and Cablecams' assets out of Skycam, Cablecam ,
    Winnercomm or Outdoor Channel?
2   Confirm ownership structure of Skycam and Cablecam . Is Winnercomm still the Managing Member or is it
    Outdoor Channel Holdings?
3   Are there any guarantees outstanding from Skycam or Cablecam or related to Skycam and Cablecam (not
    already disclosed)?
4   Any updated information Outdoor Channel has related to outstanding sales tax dispute with State of
    California and/or license agreement with Garrett Brown?
5   Copy of Engagement letter with Noble Financial (to extent there are any obligations impacting the buyer of
    Skycam and Cablecam's assets or the sale of those assets)
6   Other material documents or information NOT in data room which, in Outdoor Channel 's judgment, are
    significant with respect to the aerial camera business and its affiliated entities, or, which should be
    considered and reviewed in making disclosures regarding the business and financial condition of the business
    to prospective investors
7   Details of any materials customer disputes or complaints related to Skycam/Cablecam that are not in the data
    room
8   Detail s of any threatened or actual litigation related to Skycam/Cablecam that are not in the data room
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Re: - Yahoo Mail                                                                                                                                         Page 1 of 2




       Re:                                                                                                                 Sunooy Marco 3 2013 5 33 PM

        From:       "Nie Salomon" <nsalomon2@yahoo .com>

            To :    jeff.holowaty@pacificncap .com

           Cc:      kelly@pncapitalllc.com

       1 Files        14K8     Download All
        XLSX       14KB

        Aenal
        Camera
        transition

             Save


       Jeff.
       Please see attached for a draft aenal camera transition plan for us to review together on Tuesday. The items in orange are the ones which require some
       coordination with Outdoor Channel.

       Safe travel s lo Dallas. Let's connect tomorrow and figure out scheduling for Tuesday.

       Nie

       - On Fri , 311/13 , Nie Salomon <nsalomon2@vanoo.com> wrote:

       > From: Nrc Salomon <nsalomon2@yahoo.com>
       > Subject: Re:
       > To: jeff.holowaty@pacificncap.com
       > Cc: kelly@pncapitalllc.com
       >Date: Friday , March 1, 2013, 1148 PM
       > Guys - This could get even more
       > interesting

       > http://www.heraldonline corn/2013/03/0114659945/kroenke-sports-enlertarnment-llc.html

       >
       > - On Thu, 2128/13, Nie Salomon <nsalomon2@yahoo.com>
       > wrote:

       > > From: Nie Salomon <nsatomon2@yahoo.com>
       > > Subject: Re:
       > > To: 1eff.holowaty@pacificncap .com
       > > Cc: kelly@pncapitalllc.com
       >>Date: Thursday, February 28 , 2013. 11 :38 PM
       >> Jeff,
       > > Please see attached for a revised follow-up drtigence
       > > list. Tab 1 has a fu ll list (rneluding the docs I
       > tracked
       > > down and organized today with no need for Outaoor
       >Channel to
       > > get involve<l).

       > >Tab 2 os what l recommend we submit to Noble Flnanaal
       > > tomorrow for Outdoor Channel to provide (subject to
       > your
       > > review/comment of course) Pemaps we can discuss
       > tomorrow
       > > before you send them Tab 2
       >>
       >>Thanks.
       >>
       >> Nie

       >>-On Wed , 2/27113, Nie Salomon <nsalomon2@yahOo.com>
       >>wrote:
       >>
       > > > From : Nie Salomon <nsalomon2@yahoo.com>
       >> >Subject
       > > >To: jeff.hotowatv@pacificncap.com
       > > > Cc: kel!y@pncapitalllc.com
       >>>Date: Wednesday, February 27 . 2013 , 10:13 PM
       >>>Jeff,
       > > > Please see atlached for a DRAFT follow up
       >diligence
       >>request
       > > > list. This is still rough so let's drscuss
       >tomorrow
       > > > and refine as needed
       >>>
       > > > I have an operational transition plan in th e works




 https://us-mg6 .mail. yahoo. com/neo/b/message ?sMid=77 &fid=Sen t%2 520%25 2d%2520 B ...                                                                8/24/2016

                                                                                                                                             EXHIBIT "E"
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Aerial Camera Ownership Transition Plan
CONFIDENTIAL
3-Mar-13




Deal Structuring           Separate entity for government business (with at least 1 key           Key for long term JV,
                           government focused patent application)                                 government contracting
                                                                                                  reasons
                            Put IP in holding company (possibly offshore) with leaseback          Separate IP from operating
                            arrangements                                                          companies
                            Decision on LLC vs. Inc. - probably Inc. holding company with         Gamelevel {Holdings), Inc,
                            LLCs underneath (review tax consequences, ease of setup,              Skycam Tech nologies LLC,
                            capitalization considerations - stock options, facilitate possible JV Cablecam Technologies,
                            with rightsholders in future)                                         LLC, Skycam Governmern
                                                                                                  Services, LLC, Skycam
                                                                                                  Research Lab, LLC




                            Outline controlling officers of entities
                            Board structure I voting structure
                            Domain name considerations (skycam.tv vs . skycam.com,              gamelevel.com domain           skycam.com does not appear to
                            gamelevel.com)                                                      na me offer due by Fri day;    be attai nable for a reaso nable
                                                                                                will also research             price (without litigation)
                                                                                                trademark possibilities
                                                                                                with IP attorney



Employment/HR               Employment agreements for key personnel

                            Comp changes for key personnel
                            Incentive structures in place for key personnel and employees;
                            Mitigate negative tax consequences of structure

                            Hire CFO/Accountant/AP+AR Clerk (CFO possibly on interim basis Range of CFO candidat es            Jeff - any suggestions'/
                            to bridge to close)                                            identified
                            Discuss need for new Engineering/Operations personnel          Steve has a few people              Keith Denoyer, Tim Demers, Tom
                                                                                           already identified as part          Marksmeyer
                                                                                           of next gen project
                            HR Document ation I Employee Handbook/ NDAs /Invention         Ben Simpson                         Outsource to 3 rd party? Any
                            Assignments I HR Administration                                                                    Pacific Northern resources?
                            Update all payroll company documentation for new entity/ ta~
                            ID (upon change of control)
                            401K vesting I new plan in place                                    Does 401K from OC vest         Melinda is checking with plan
                                                                                                upon change of control?        administrator



Investors                   Outside investors (strategic investors, friends/famil y poo l)      To discuss




Insurance                   Quote for new D&O policy (significant protection required with                                     Pacific Northern suggestion for
                            large liability policy)                                                                            this?; Nie has a number of good
                                                                                                                               broker relationships

                            Property/Casualty insurance                                                                        Pacific Northern suggestion for
                                                                                                                               this?; Nie has a number of good
                                                                                                                               broker relationships
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                         Medical/dental/vision/workers comp/short term and long term           Workers comp insurance       Pacific Northern suggestion for
                         disability insurance                                                  needs to cover               this?; Nie has a number of good
                                                                                               contractors; Also need       broker relationships
                                                                                               International policy for
                                                                                               Property & Medical +
                                                                                               Ransom policy; Are there
                                                                                               issues to be aware of
                                                                                               (based on coverages,
                                                                                               company size) from new
                                                                                               health care law?




Information Technology   Change over control of mobile phones and billing                                                   Summary of devices/plans has
                                                                                                                            been requested from IT
                         Hire new company locally to host email and navigate switch over Possibly arrange for a             Request is in to IT to identify any
                         from Outdoor Channel                                            short transition services          equipment that cannot come
                                                                                         agreement to cover a               with the business
                                                                                         small gap? Do we need to
                                                                                               purchase any equipment
                                                                                               (servers, etc)?



                         Switch over control of domains for websites                           Check with IT on current
                                                                                               hostlng, providers


                         Switch over control of all laptops and on site IT infrastructure to   Possibly hire 3rd party      Tim Demers possible to take this
                         Skycam personnel                                                      service provider?            over?


Legal Counsel            New engagement letters with IP, labor, litigation and M&A
                         attorneys
                         litigation decision (M&T deal) is critical                            This Wiii be a key Issue
                                                                                               with Outdoor


Finance/ Accounting      Review 2013 Budget
                         Detailed Operations Growth Model                                      May need to refine a         CFO project (if there is t ime)
                                                                                               growth model to solicit
                                                                                               additional investment
                         New Accounting System                                                 Explore cost for stand    Pacific Northern input?
                                                                                               alone Reqlogic software
                                                                                               vs. completely new system



                         New Credit Cards, Bank Accounts, T&E System                                                        JPMorgan Chase, Wells Fargo,
                                                                                                                            Comerica are local possibilites



Acquisitions             Sequoia Due Dil igence I Deal Structuring I Loan Info                 visit to Seattle this        Interim consulti ng agreement is
                                                                                               Thursday; wlll get bank      now in place
                                                                                               loan details

Export License           No action required unless Brazil requires Cineflex gimbal

Operations               Change over Internet, Local and Long Distance Phone. Cable,           Nie has recent bills for   Contracts have been requested
                         Phone System, Gas, Security, Copy Machine, Electric accounts          each provider with contact from IT (for the ones we don't
                                                                                               information                have)
                         Coordinate PTO Payouts or alternative arrangement (may be             Need to figure this out
                         req ui red legally for Outdoor Channel to pay out)                    with Outdoor Channel HR

                         Customer notifications of new entity, contract assignmenLs,           Can accomplish
                         AP/AR addresses, etc                                                  immediately once deal
                                                                                               closes
                         Some key contracts will require work/review ahead of time in          Trndall Lease, NFL Network
                         order t o close

Real Estate               New Dallas or FW office, or alternatively office expansion
 Case 3:15-cv-00666-M Document 63 Filed 08/31/17                                      Page 50 of 139 PageID 720


APA           Determ ine specifically wh ich assets to list and the carve outs   Don't assume Tulsa lease
                                                                                 or related docs, or
                                                                                 litigation contingent fee
                                                                                 agreement; carve out or
                                                                                 escrow for sales tax
                                                                                 liability
              Negotiate terms and conditions (limit OC warranties due to
              management involvement)
Case 3:15-cv-00666-M Document 63 Filed 08/31/17                                                                          Page 51 of 139 PageID 721

RE: Kroenke/Outdoor Channel - Yahoo Mail                                                                                                                           Page 1 of 2




      RE : Kroenke/Outdoor Channel                                                                                             Wednesday. Martll 6. 2013 a 09 PM

          From:      "Nie Salomon" <nsalornon2@yahoo.com>

            To:      "Charles D.Powell" <cpowell@fulbrlghl.com>            "WilliamWood" <wwood@fulbnghl.com>

            Cc:      "BrianBoyle" <bboyle@fulbright .com>          "DavidHanss" <dhanss@fulbright.eom>



      Willie I David I Brian .
      Thanks for your lime today. Outdoor Channel delivered us an Asset Purchase Agreement yesterday and after our call today sent a response on most of
      our remaining due diligence questions. I will continue 10 keep you informed on anything I hear from OC, and will keep a look out for the SEC filing on my
      end as well.

      Best,
      Nie

      -     On Wed , 3/6/13, Wood, William <wwood@fulbrlght.com> wrote.


           From: Wood. Wilham <wwood@fulbright.com>
           Subject: RE: Kroenke/Outdoor Channel
           To: "'Nie Salomon"' <nsalomon2@yahoo.com>, "Powell, Char1es D." <cpowell@fulbright.com>
           Cc: "Boyle, Brian" <bboyle@fulbrighl.com>, "Hanss, David" <dhanss@fulbright.com>
           Date: Wednesday, March 6, 2013 , 5:00 PM

           Nie.


           Good to lfll~ 111th you th1 ~ ullcmoon We will be <>n the loo~out for the t..rucnkc.Ou1door Chnnncl SFC filing i'l~tl\C kt U> k111111 1r)•Ou
           hi:Ur anything f'unhcr from Outdoor Chonnc1 · ~ Ocncml Coun•cl rcgordmg Outdoor Ca1m~f'\ 11nc111 to go f'orwnrll \'Ith losing the trunsoctiun
           rcllcctcd in the February 2<i term •heel



           Wtllil'

           William D. \ ood, l'artner
           f'l lLBRIGllT & Jawor.rk1 l .. L. I' · Fulbright 1'owe1 • !JOI McKinney. Suite 5100 • llouston, l'exas 77010-3095
           T· 7 IJ 651   5 37 ' f · 71 3 651 5246 ' WWQ!l\f(ll{l!fbnghl CQW • WW\\,(Ufhro11ht C!'IJ! / W\\01xJ
           From: Nie alomon (mailto:nsalomon2@yahoo.com)
           Seat: Wcd11esday. March 06, 2013 8.52 AM
          To: Wood. William , Powell, Charles D.
            ubjcct: RE: Call


           We can use.

          4·30PM Central
          Dial-In 800 315 0312
          Conference ID: 51336~

          --- On Wed, 3/6/13, Powell, C harles D. <.;::powe/[(aJ{ulhrigllt.com> wrote·

             From: Powell, Charle.s D. <cpowdl1tiJfiilhnghLcom>
             Subject.RE. all
             To: "Wood. William" <1\\1ood@l'ulhnc.ht.com>, "' nsalomon2@yahoo com'" <nsu lomon2'wvahoo.com>
             Date: Wednesday, March 6, 2013 , 8:00 AM

              'old y ou c 1r~ulo1e u ull m''

             Ch11 rl.., D. Powell. l 'ur111cr
             Fl t.l.IRIGll'I & Jaworski l./.J'. • Fulbrigh1 Towe,. 1301 McKinney, uite 5 tOO • Hous1on, Texas 770 10-3095
             T 71 3 65 l 5431 • F· 713 6.51 52-16 · q)Owcll 0W11lhpghl com · www l ulbruzht com ',;OO\\ c: ll

          From: Wood, William
            ent: Wednesday., March 06. 20 IJ 8.00 AM
          To: Powell,      harlcs D. ; 'nsalomon2@yahoo.com'
          Subject : Re. Call


          II dtll:\




https://us-mg6.mail.yahoo.com/neo/b/message?sMid=l50&fid=Sent%2520%252d%2520 ...                                                                                    8/23/2016

                                                                                                                                                     EXHIBIT "F"
RE: Kroenke/Outdoor Channel - Yahoo Mail                                                                                                                Page 2 of2
   Case 3:15-cv-00666-M Document 63 Filed 08/31/17                                                                                 Page 52 of 139 PageID 722

       Fro m: Powell, Charles D
       Sent: Wednesday, March 06, 20 13 07 :47 AM
       T o: 'Nie alomon ' <u!illlonHm 'w ynhoo com>
       Cc: Wood. William
       Subj ect: RE: Call


       Work~ !Orm~        Willie"

       C harl es D. Powell. l'ar111er
       Fl LUll.IG HT & Jawnr.1ki /,. /,. /'. · Fulbright Tower• 1301 McKinney, Suite 5100 • Houston. Texas 770!0-3095
       T: 713 65 I 543 1 • F: 713 65 I 5246 • rnowyllftifulbnght.com • >VWw.fulbnght s:om/cpO\•ell
       From: Nie Salomon (111n1lto.n,nlgmonl l1il\nhoo com]
       Sent: Tuesday, March 05 , 20 13 8.24 PM
       To : Powell, Charles D.
       Cc: Wood, William
       Sub ject: Re: Call

       How about 4.30? If that works I will be reachab le                    111   the ofllce. Thanks!


       Prom: Powell. Charles D. <coowpll1o)fulbnµh1 com>;
       To: ic SaJomon (nsJ11omon2!a'ytthoo cum) <nsalomo112<?1ynhoa.com>,
       Cc: Wood~ William <w\\.ood1ri1folhnght com>:
       Subj ect: Call
       Sent:Tue. MarS. 20 13 I0·21 :29PM

       Nie ·

       Could we have a call tomorrow at 4 to discuss strategy and next communication with Outdoor Channel?

       Regards,

       Chuck

       C ha rl es D. Powell. Par111er
       F\ ILBRIGHT &Jm<'orsk1 /,./.. /'. • Fulbright Tower • 1301 McKinney, Suite 5 100 • Houston, Texas 77010-3095
       T: 713 65 1 5431 • F: 713 6515246 • cpoweJllf.ilfulbrjght.com           •WM\     tiilbnght.com/q?Qwell



       To ensure comp liance with requirements imposed by the IRS, we infonn you that any US. federal tax advice contained tn this
       communication (including any attachments) 1s not intended or written to be used, and cannot be used, for the purpose of(t)
       avoiding penalties under 1he Internal Revenue Code or (ii) promoting, marketing or recommending to any party any transaction
       or tax- related matter[sl.


       Fulhri;:/11 & Jawor\·ki '- /_ J'. will joiu Jon·e.\ M1l1h ,l\'orto11 Rt>.\i! 011 June I, llJ/3 1 off'e.ring .\·ignijkun1 tleptll of experience ut·ro,\:,· Afril'U, Asla, Au.(trullu,
       ( 'unudu, Centrul A .~iu, Europe, l.uti11 America, th e Atidclle t:as1, um/ tlte Ll11ite1/ .\'tutt!.\.


       This emai l message and any attachments are for the sole use of the intended recip ient(s). An unauthorized r~vtew, use,
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       To ensure compliance with requirements imposed by the l RS, we inform you that any U.S federal tax advice contained in this
       comm un ication (incl uding any attachments) is not intended or wmten to be used. and cannot be used , fo r the purpose of(i)
       avoiding penalties under the Internal Revenue Code or (ii) promolmg, market ing o r recommending to any party any transaction
       o r tax-related matter[s].


       To ensure compliance with requirements imposed by the IRS. we inform you that any US . federal tax advice contained in th is
       communication (incl uding any attachments) is not intended or wntten lo be used , and cannot be used , for the purpose of(i)
       avoiding pena lties under the Internal Revenue Code or (ii) promoting. marketing or recommending to any party any transaction
       or tax-related matter[s] .




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Case 3:15-cv-00666-M Document 63 Filed 08/31/17                                                       Page 53 of 139 PageID 723

 Re: proposed equity structure and draft sources/uses - Yahoo Mail                                                                                  Page 1 of l




        Re: proposed equity structure and draft sources/uses                                                     Tuesday, Maren 12, 2013 10 38 AM

         From: "Nie Salomon" <nsalomon2@yahoo com>

           To: "jetf.holowaly@padficncap.com" <jeff.holowaty@padficncap.com>



        Roger that. Thai works well . I'll sec you there.


        From : '1etf.holowaty@pacificncap.com" <jeff. hotowaty@pac~icncap. com>
        To: nsalomon2@yahoo.com
        Sent: Tuesday. Mareh 12, 2013 6:52 AM
        Subject: Re : proposed equity structure and draft sources/uses


        I will be around 57th st. for a meeting al 2pm and hould be finished b 3pm To ave 11me. wh don't we meet in the lobby of the Four
          ea ons hotel on 57th (Madison Ave area) at around 3pm .

        ·------- Ongmal Me sage --------
        Subject:: Re: proposed equ11 structure and drafi sources/uses
        From: Nie Sa lomon <nsalomon21@yahoo.com>
        Date: Mar I l , 2013 8:48 PM
        To:: "jefT.holowaty pac1ficncap.com" < jeffholowatyl@pac1ricncap.com >."k.:lly.holowatv t paclilcnc.com"
        <kel ly holowatyl@pacificnc.com>
        CC:

        Jeff - the 4PM meet mg with Orad is at their HQ·

        11 0 Eas159th treel, Suite 2 100
        (59th and Park)

        I-low about we meet m the lobby of the Waldorf Astoria al 3PM (50th and Park)? ·nicn "e can walk to a good place from there.


        From: "1eff.holowatyl@paciticncap com" <1effholowaty(@pacificncap.com >
        To: nsalomon2(@yahoo.com; kell holowat l@pacificnc.com
        Sent: Monday , March 11 . 2013 11 :53 AM
         ubjecr Re· proposed equity structure and drat! sources/uses

        Thank     ic. We will revie•

        Let's plan on meelmg tomorrow around 3pm somewhere close to where we are meeting Brad at 4pm.

        ------ Ongmal Message --------
         ubjcc1 · proposed equ11y structure and draft sources/uses
        From: Nie alomon <nsalomon21@yahoo com >
        Date: Mar 10, 2013 9:35 PM
        To "1effholowaty t oacificncap.com" < jeff.holowaty@ pacificncap com>,"kclly.holowaty@pacificnc.com"
        <kelly holowaty@pacificnc.com>
        CC·

        Jeff I Kelly ,

        Please see a11ached for a proposed equ 1t struc1ure for the transaction . This structure limns downside for inves1ors, while providing
        mcenrives lo management for creati ng sign ificant value I have also incl ud ~d a draft sources/uses 10 give yo u an overview of th~
        valuation

        I'm still working on a proposed comp plan structure

        Jeff - I look forward to discussmg more on Tuesday (please let me know when you will be in the city and the best time/place to meet).

        Thanks

        Nie




 https://us-mg6.mail.yahoo.com/neo/b/message?sMid=62&fid=Sent%2520%252d%2520B ...                                                                    8/24/2016

                                                                                                                                     EXHIBIT "G"
                                            Case 3:15-cv-00666-M Document 63 Filed 08/31/17                                                                                   Page 54 of 139 PageID 724

                                                                                                                CONFIDENTIAL - DRAFT 3/10/13
     Proposed Equity Structure

     Cash Funding for Transaction                         5,625,000
     Initial Shares Issued                                    10.000                                     lx                                 2x                          3x
     Strike Price Per Share                                  $562.50                          $562.50                               $1,125.00                   Sl ,687.50
     Valuation                                                                             5,625,000                              11.,250,000                 16,875,000

     Equity Incentives to management


                                                     Founder equity                Founder optio ns                                2x op tions                 3x options       Founder equity            Found er options                   2x options                3x options
                                                      {vnlue already                   (value from                                  (value for                  (value for       (value al ready                (value from                   (value for                 (value for
                                                            created)           time of transaction)                     significant growth)            signifit<lnt growth)            created)        time of transact ion)         significant growth)       significant growth)
     Nie Salomon                                                870                                 639                                     284                       316                  1'0                        '0'-                         l                          2.17.
     Steve Wharton                                                                                  384                                     142                       158                  tl.11..                     ~   (/;',_,                 J ,,.,,                    I~

     Ben Simpson
     David Gutzman
                                                                                                    256
                                                                                                    128
                                                                                                                                             71
                                                                                                                                             71
                                                                                                                                                                       79
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                                                                                                                                                                                                                                                                              OS
                                                                                                                                                                                                                                                                              O.~

     Hank Steinbrecher                                                                              256                                      71                        79                 c ()"                       '211"                        ll   ~, .                 05
     Hold Back (CFO I Employees)                                                                    256                                     781                       868                  Ova                                                    5.5·                       55
                                                                                                                                                                                                                      2 '""                                                 10.0%
     Total                                                      870                               1,918                                   1,421                     1,579                 8.0%                       15.0%                       10.0%

     New Shares Issued                                          870                               1,918                                   1,421                     1,579

     Ending Share Balance                                    10,870                             12,788                                  14,209                    15,787
     Check                                                     8.01'                             25.0%                                    10.0%                    10.0%


     Notes                                              Anti·dilutive                   Anti·dilut1ve                      Regular dilution              Regu lar dilution
                                                   Vest over 2 vears              Vest" over 3 years                      Vest over 3 years             Vest over 3 years
                                                                                                                                                                                          Total                      To"' I                       Total
                                                           Value of                          Value of                                     Value of               Value of              cash to                    Profit to                   Return to                  % Equity
                      company sale price             founder shares                  --·'-- ..............
                                                                                     "'>"uv.. ........ ......                  ... - • 1- ..
                                                                                                                          - .. ............
                                                                                                                          ..,               - shares    3x option shares             Investors                   Investors                    Investors                  to Mgmt
                             $5,625,000                    $450,000                               50                                            $0                      so         $5,175,000                    -5450,000                       -8.0%                       8.0%
Zx                              s
                             ll .250,000                   $900,000                        $843,750                                       $1'                           50         $9,506,250                   53,881,250                       69.0%                      15.5%
3x                          $16.875,000                  $1,350,000                      $1,687,500                                 $562,500                            S{)       513,275,000                  $7,650,000                       136.0%                      21.3%
4x                          $22.500.000                  $1,800,000                      $2.531,250                               $1,125,000                   $562,500           $16,481,250                 $10,856,250                       193 .0%                     26.8%
Sx                          $18,lli,OOO                  $2,250,000                      $3,375,000                               $1,687,500                  $1,125,000          $ 19,687,500                $ 14,062,500                      250.0%                      30.0%
6x                          $1J,750,000                  $2,700,000                      $4,2 18,750                              $2.250.000                  Sl,687,500          $22,893, 750                $ 17,268,750                      307.0%                      32.2%
lx                          $39,375,000                  $3,150,000                       cc n c--. cnn
                                                                                          ,,,v,_,,   vv                           ~'I 0 ·1 2,soo
                                                                                                                                  ~·•v•                       $2,250,000          $26.100,000                 $20,475,000                       364.0%                      33.7%

     Rationale for structure:
     Founder shares structure provides limited down.side to current investors as only 8% of equity is diluting the initial Investment ($438,000 of dilution)
     Founder options require investors to recover the fnitial investment before being 1n the money
     Remaining equity requires Investors to generate return of 2x and 3x their money in order for them to be in the monev
     This structure provides dry powder for incentives for stall (at discretion of CEO/ Board)


     Vesting:
     To be based on employment (oot performance targets). Performance targets are addressed with lx, 2x and 3x strike prices.


     Anti· Ollutlon:
     An ti-Dilution is important for Founder equity to ensure Founders cannot get diluted out with new capital
     Any concerns about anti-dilution can be alleviated by Investors with new capital raises on attractive terms (which can offset the dilution); valuation of business is currently ve ry atlrattfve and should allow for this


     Skycam Government Services:
     St ill need to think about if thiuhould be a separate entity I ownership structure???
                                      Case 3:15-cv-00666-M Document 63 Filed 08/31/17                                                    Page 55 of 139 PageID 725

                                                                                        CONFIDENTIAL - DRAFT 3/10/13


Sources                                                                                            Uses
Initial ca pital (prior to def.rev, WC, other adjustments)                            3,650,000    Purchase assets from OC                          3,650,000
Litigation payment (cash to bala nce sheet)                                             100,000    Pay transaction expenses                           250,000
Injunction payment (cash to balance sheet)                                               75,000    Cash on balance sheet                            1,725,000 Note: we may be able to fund this as needed
Excess working capita l need (estimate)                                                 200,000                                                                  ratherthan all at once
Transaction expenses (including accounting software)                                    250,000
Sequoia acquisition post close (estimate including transaction costs)                   700,000
Remaining next gen capital funding ($1.3MM over 2 years)                                650,000
(Note: included in copex budget with EB/TOA funding, so mitigates equity fundin=g_n_e_e_d~
                                                                                         ) _ __
Total                                                                                  5,625,000   Total                                            5,625,000


Firm Value/ 2012 EBITDA (prior to stand alone costs)                                       3.83
Firm Value/ 2012 Recurring FCF (prior to stand alone costs)                                6.48
Firm Value/ 2013 EBITDA                                                                    4.42
Firm Value I 2013 Recurring FCF                                                            8.19


Additional valuation considerations: Talented executive team, Strategic relationships, Valuable brand, Market leadership position, Robust patent portfolio, Sports platform, Large market sizes,
Purchase price inclu des assets of Sequoia technologies + personnel cost for at least 2 years, Skycam invested $1.2MM in new systems in 2012


Skycam 2012 Actuals (prior to any late OC adjustments)                                             Skycam 2013 Management Budget
Revenue                                                                              12,017,619    Revenue                                         12,704,519
Project Level Gross Margin                                                            5,189,671    Project Level Gross Margin                       5,553,290
% margin                                                                                 43.2%     %margin                                              43.7%
EBITDA (without corporate and move costs)                                             1,468,299    EBITDA                                            1,273,986 includes $400K of standa lone/finance/acctng
%margin                                                                                   12.2%    %margin                                              10.0%
Capex (estimate)                                                                      1,800,000    Capex                                             1.517,000 (excludes Sequoia acquisition funded with equity)
Maintenance Ca pex (estimate)                                                           600,000    Maintenance Capex                                  587,000
Free Cash Flow                                                                         -331,701    free Cash Flow                                     -243,014
Recurring Free Cash flow                                                                868,299    Recurring Free Cash Flow                           686,986
Case 3:15-cv-00666-M Document 63 Filed 08/31/17                                                          Page 56 of 139 PageID 726
Fw: Call - Yahoo Mail                                                                                                                                 Page I of 1




      Fw: Call                                                                                                    Thursaay   Maret> 14 2013 7 43 PM

       From: "Nie Salomon" <nsalomon2@yahoo.com>

         To: "cpowell@fulbright.eom" <cpowell@fulbright.com>

      1 Files 171 KB      Download All
      DOC 171KB

       1\51 t
       Purc.haso
       Agre&men
         Save


      The version 1 scm around is attached Thanks fur all _our feedback      Will keep you up to date.

      -    Forwarded Message -
      From : Nie Salomon <nsalomon2@yahoo.eom>
      To: "jeff.holowaty@paeifiencap.com" <jeff.holowaty@paeificncap.com>. Kelly Holowaty <kelly.holowaty@pacificnorthemcapital.ccm>;
      "rbraunfeld@rccblaw.com" <rbraunfeld@rccblaw.ccm>
      Sent Thursday, March 14, 2013 7:42 PM
      Subject: Re: Call

      Guys.
      Please see attached for a revised markup. ll i ncludes some changes io my initial draft + certain comments from Fu l bright (including some
      notes on their comments for you to consider in your draft). If you can incorporate what you think makes sense into y our draft and send
      around, that would allow us to work off of your master version on lhe cal I tomorrow Thanks.

      Nie


      from: Nie Salomon <nsalomon2@yahoo.com>
      To: "jeff.holowaty@pacificncap.com" <jeff.holowaty@pacificneap.com> ; Kelly Holowaty <kelly holowaty@pacificnorthemcapital.com>;
      "rbraunfeld@rccblaw.com" <rbraunfeld@rccblaw.com>
      Sent: Thursday, March 14, 2013 6:48 PM
      Subj ect: Re: Call

      Guys.
      I am re-directing this email cham to my Yahoo account (please direct all future communications here).
      Do you have your draft ofrhe APA that I can review? I will send you mine in a couple hours.

      Thanks.

      Nie

      -----Original Message-----
      From : jeff.holowatv@pacilicncap.com lmailto:1cff.holowatv@pacificncap.com]
      Sent: Thursday. March 14. 2013 5.20 PM
      To : Nie alomon
      Cc: rbraunfold(ci)rccbla' .com ; kelly.holowarv@pacificnorthemcapital.com
      Suhject : Call

      Nie - I just missed your call . I spoke with our attorney (Roger- copied on email) and we would like lo have a call with you tomorrow at
      I 2:30pm EST The goal i · lo have our call and U1en tum any changes and send back a marked up agreement by end of day tomorrow.

      Roger · please send out a dial in number




      Jeff




https://us-mg6.mail.yaboo.com/neo/b/message?sMid=l39&fid=Sent%2520%252d%2520 ...                                                                       8/23/201 6

                                                                                                                                         EXHIBIT "H"
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                                                      l 1>1' _l umrn.:rrh 3 I:; I i




             A   'ET PURCHASE AGREEMENT


                             among:


                        KYCAM,LLC,
             a Delaware limited liabiliry company

                     CABLECAM, LL .
             a Delaware limited li ability company:

                              and


                        P URCHASER, I C.,
                    a           corporation



                  Dated as of March    . 20 13
         Case 3:15-cv-00666-M Document 63 Filed 08/31/17                                            Page 58 of 139 PageID 728




                                  ASSET P RCHA £AGREEMENT

                THIS ASSET PORCHA E AGREEME Ti entered into as or March_. 2013. by and
among: CABLECAM, LLC, a Delaware corporation (""CableCam··). SKYCAM, LLC. a Delaware
corporation ('·SkyCam" and together with CableCam. the ..Sellers'") and              ,a
_____ corporation (the "" Purclwlier"). Certain capitalized term s used in this /\greement
are defined in Exh ibit A.

                                                     R ECIT LS

          A.      SkyCam owns certain a5 ets used in its business of developing. dcploving.
                  operating. IM scrvicinl!, marketing. manufacturing and otherwise operating
                   kyCam·s aerial camera suspension sy tern (collectively, the "Sk.yCam
                  811si11ess").

          B.      CableCam owns certain assets used in it business of developing. deplovinE!.
                  operating. ~. marketing. manufacturing and otherwi e operating
                   able am ' s aerial camera suspension system (collectively. the ""CableCam
                  Business'' and together with the SkyCan1 Business. the ··B11si11esses'').

          C.      Each of the cllers desire to ell substanti all y all of its assets to the Purchaser and
                  the Purchaser de ires to purchase all or substan tially all of the assets and
                  operations of each of the Sellers. and assume certain specified liabilities of each
                    eller, as th ey pertain to the Purchased Assets (as defined herein) as of the
                    losing date (as defined herein) on the terms set forth in thi s Agreement.

                                                   AGREEME T

        N ow, TH EREFORE, in consideration of the premises and the mutual representations.
warranties. covenants and agreements contained herein and for good and val uable consideration.
the partie to this Agreement. intending to be legally bound. agree as follows:

I.   s   I.ti 01 As. I•: rs: RE LATtm   l'l~A   s C'l'IONS.

     I. I Sulc of ssets. The Seller shall cause to be so ld. assigned, transferred, conveyed and
delivered to the Purchaser, at the Closing (as defined below). good and va lid title to the
Purchased Assets (as defined below). free of any Encumbrances, on the terms and subject Lo the
conditions set forth in this greement. For purpo ·es of this Agreement. "Purclrnsed Assets''
shall mean and include all of the f\1llu" !!t!;h• ll\"-'ili ~ assets ofthc Sellers (excluding those assets
excluded from thi s sale pursuant to Section 1. 2):

          (a) The '·SkyCam Assets.'' which shall include. withou t limitation:

                      (i) all right. title and interest in and to the equipment. tools. plans.
                  specifications. designs. improvements. bills of material. in ventory and parts
                  (in luding pare parts inventor ) work in progress and supplie representing the
                    kyCa.m System:
Case 3:15-cv-00666-M Document 63 Filed 08/31/17                                              Page 59 of 139 PageID 729




                                                                     l Dl' l 11111111.:n~ J J.3 J_}
           (ii) all rights. titles and interests that kyCam has or may ha i::: to Inte llectual
       Properly, including w itho ut limitation. the Intellectual Property owned, u ed.
       use ful or developed in connectio n wit h the ownership of the kyCam ystem and
       the operation of the SkyCam Bustness (the "SkyCam Intellectual Property").
       The SkyCam Inte llectual Property is set fo rth on Sc hedule I. l(a)(ii).

           (iii)the Actioncam Claim. as further contemplated in Section 5.3 herein :

          (iv)all of kyCam· rights in and to certain computer software used in the
        kyCam Busine ·s. inc lu ding but not Iimited to source and object codes for
       operating and contro lling all aspect of the SkyCam System:

          (v) all docum ents, blueprints and other materials. whether in written,
       magnetic, digital or other form , relati ng to the SkyCam System :

           (vi) all real e tale leasehold interest   et forth in the Leases:

         (vii) the contract to which SkyCam is a party or beneficiary as listed on
       Schedule l.l(a)(v i) ('"SkyCam Contracts"').

           (v iii) all other property. equipment. rights. interests. claims and assets ' hich
       are related to, u ed or useful in connection w ith th operation of the kyCam
       Bu iness or the ownership, maintenance. deve lopmenL exploi tati on o r
       im pro vement of the kyCam System.

(b) TI1e \CableCam Assets," which shall include, without limi tation:                                 ____-{ Formatted: Font: Bold, Italic


           (i} all right, title and interest in and to the equipment, tools. plans.
       specifications. desig ns. improvements. bills of material. in ventory and parts
       (including spare parts inventory) work in progress and suppli es re presentin g the
       CablcCam System:

            (i i) all rights. titles and interests that CableCam has or may have to
       Intellectua l Pro perty. including wi tho ut limitation. Intellectual Property owned,
       used, use.ful or developed in connection with the ownership o f the CableCam
        ystem and the operation of the CableCam Business (the ·'Cab/eCam Intellectual
       Property'"). The CableCam Intellectual Property is set forth on Schedule
       I. l(b)(ii).

          (iii)all ofCableCam ·s ri g ht in and to certain co mputer software used in the
       CableCam Business. includin g but not limited to source and object codes for
       operating and contrnlling all aspects of the CableCam System:

          (iv) all documents, blueprints and other materials, whether in wri nen.
       magnetic. di gita l or other form. relating to the CableCam Sy tem:




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                                                                         l DI' t 1.1111111u1L} IJ I I
                   (v) the contracts to which ableCam is a party listed on Schedule I. l(b)(vl
               (""CableCam Co11trac1s·· and together wi th kyCam Contract . the "Seller
               Contrac1' ~1n I 1·11d1 ,, ,,.//, r ( 1111/1·11, I~'" )                                    I Formatted : Font: Italic
                                                                                                                             ---
                   (vi) all other property. equipment. rights. interests, claims and assets which
               are re lated to. u ·ed or useful in connection,. ith the operation of the CableCam
               Busines or the ownership, maintenance, development, ex ploitation or
               improvement of the CableCam System.

1.2      Exdudcd i\sseli.. Other than the Purchased Assets. no other asset of any of the Seller
shall be transferred and old to Purcha er pur uant to this Agreemt:nt. including. without
limitation. the followin g (the .. Excluded Assets .. ):

       (a) all rightS that accrue or will accrue to any Seller under this Agreement:

       (b) l.n ventory and supplies used in connection with the Bu. inesscs which are disposed of
           in the ordinary cour e of business prior to the Closing Date;

        (c) Sellers' corporate record books containing minutes of mettings of the management
committee and meetings of members and such other records as have lo do exclu ively with
Sellers' organization or stock capitalization not related primarily to the Businesses:

         (d) all of the Sellers' ri ght to refunds of all or any part of any axes paid by ell er prior
to. at or after the Closing Date:

       (e) all of the ellers· Tax Returns:

        (f) all documents relating to the formation. capitalization and borrowings of the ellcrs;
and all other financial record of the Seller which do not relate 1211111unh t!'<.:h1 .i·, .. 1~ to the
 ellers' ownership and operation of the Cable am As ets. the SkyCam Assets or the Busi nesses:

        (g) all of eller's Accounts Receivable and ash on hand. in bank accounts or otherwise
as of the Closing Date: and

       (h) any other assets et forth on Sched ule 1.2( h).

1.3 Purchase Pr ice, Pay ment a nd Related Ma tters.

       (a)    The total purcha. e price (.. Purchase Price"' ) for the Purcha ed Asset shall be up
to $4.050.000 and shall be compri ed of (i) $3 ,650.000 cash; (i i) the Mi;Afee IAj1rnotioA !;Heeess
~Litigation P;nment de~cribcu in Section .3 hercot": anc!_Uii) the Roya lty described in Section _...---{~Fo
                                                                                                          _rm_a_tted
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                                                                                                                      _nderl _ _ _ _ _ _ _ __ __ ~
                                                                                                                        _ _ine
5.4 hereof.

       (b) TI1e Purchase Price shall be adjusted ("' Purchase Price A dju stments'') as follows:




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            (i) any deferred revenue received by the ellers but not yet recognized or earned by
                the ellers shal l be deducted from the Purchase Price at Closing (" Def erred
                Revenue'') as set forth on Schedule l.3(b)(i):

            (i i) any and all expenses prepaid by the cllers relati ng to services to be rendered to
                  Businesses after th e C lo ·ing Date shall be added to che Purchase Price:

            (iii) the McAfce Injunction uccess Fee in the amount or $T.000. if paid b the
                 Sellers or OUTD before the Clo. ing Date. shall be added to the Purchase Price;

            (iv)working capi tal in the amount of $200,000. to be provided by             cllers. shall be
                ded ucted from th e Purchase Price: and

            (v) Any Extraordinary Capital Expend itures shall be added to the Purchase Price.

      (c)       As consideration for the sale of the As ets to the Purchaser:

            (i) al the Closing, the Purchaser shall pay the Purchase Price aller effec ting the
                Purchase Price Adjust ments I\\ ill tl11:'t h... 1eap<Jbk 111 ,·akul11t111n at du~tnc rn
                '.Jl1111ld lh.:tl' h.: a rosh;lthllH! ,1dtLl'\I01,·111 m.:.:ha111s111' - PLEASE /\DD
                M CC I II\ ISM FOR PROYL.10 or A ESTIMI\ TE A"I CLO E I\ D A
                TRUE-UP l'O ' f CLO. EI. to the Sellers or it designated designee for the Assecs
                and the Assumed Liabilities:

            (ii) at the Closing, the Purch a~er hall assume che As. umed Liabili ties by de livering
                 to the eller an As umprion Agreement in sub tantiall y the form of Exhibit B (the
                "Ass11111ptio11 Agreeme11t}

         (d)       For purposes of this Agreement "A sum d Liabilities"' shall mean only the
fo ll owing liab il ities of the el lers:

            (i) all accounts payable or the each of the Sellers that arose from bona fide
                tran action entered into in the Ordinary Co urse of Busine. s that relate to services
                rendered after the C losing Date;

            (ii) the obligations arising on or after the Closi ng Date of each of the ellers under the
                 SkyCam Con tract and the CableCam Contracts as identified on Schedule
                  Ll(a)(vii) and Sched ul e l. l(b}( vii) to the Agreement.. including expressly the
                 Leases:

            (iii)Afl-lli£_obligation~
                                  ofOUTD under Che McAfce AgrccmentJQ..,.--ffiel~
                *-lli!Y.the McAfee Injunction uccess Fee if such fee has not already been paid
                by 0 TD prior to C los ing (the remaining obligutions of OltTD under the
                McAfoc Agreement will remain the re ponsibilitv of OUTD subject to !ht:
                provision ol'Scction 5.3);




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                                                                                        L IJI' l omm-.·m~ .' IJ J.\
           (iv) any Liability to any employee or former employee of lhe-Sell;;-r; u;1der or with
                respect to any Employee Benefit Plan or for severance pay that arises in
                co nnection wi lh the consummation of thi s tran action or ari es from a termination
                after Closing t11 ti11.· ~\._t.:1111-.;ll..:lh.:J 1n '-'11..:Juk ' I' :

           ( v) All of the liabilities and obligations of Sellers arising under Seller Contracts.
                so lely to the extent such obligations and liabilities arise and relate to events. acts
                or omi sions occurring after the Closing Date and beco me due and payable afkr
                cheClo ing:

provided, however, that notwithstanding the forego ing. and notwithstanding anything to the
contrar. contained in th is Agreement, the "Assumed Liabil itie " shall not include, and the
Purchaser shall not be required co assum e or to perform or discharge:

               (A)any Liabilit of the Sellers associated with the Broken Arrow Lease;

               (B) any Liabi lity of any other Person. except for the Sellers:

               (C) any Liabi lity of !he Sellers arising out of or relating to the execution,
                   delivery or performance of any of the Transactional Agreement :

               (D) any Liability of the Sellers for any fees, costs ore penses of the type
                   referred to in Section 6.3 (Expense of Sale) of Agreement;

               (E) any Liability of the Seller arising from or relating to any action taken by the
                    eller. or any failure on the part of the Seller to take any action. at any time
                   after the losi ng Oat : and

               (I') any Liability of the Seller for the payment of any Taxes incurred or assessable
                    prior to the    losing Date.

1..$     ales and Use Tax. Purchaser shall be responsible for all a les and use taxes. if any.
an sing out of the salt: of the Purchased Asset. to Purchaser pur uant to 1hi Agreement.
Purchaser hereby waives compliance by Sellers with the provisions of the bulk transfer law of
any state.

1.5     Allocation. No later than 90 days after the C losing Date, Purchaser shall provide to the
 ellers a statement allocating the Purchase Price among !he Purchased Assets of the Businesses.
If the ellers disagree with Purchaser's calcu lation of the Purchase Price all ocation. th e Sellers
may. \ ithin 15 days after deliver of Purchaser's calculation of the Purchase Price allocation.
deliver a notice to Purchaser disagreeing with uch calculation and ~e tting forth Sellers'
proposed Purchase Price allocation. Sellers and Purcha er shall. during the 15 day period
following delivery of Sellers' notice of disagreement, use thei r reaso nable best efforts to resolve
such dispute and reach a mutua ll y agreed Purcha e Price allocation. The parties shall (i) prepare
and, where applicab le. file each report relating to the federal , state. local. foreign and other Tax
consequences of the purcha e and sale contemplated hereby (including the tiling of IRS Form
8594 where relevant) in a manner consistent with their mutually agreed allocation (or. if no such


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agreement is reached in accordance ' ith this ection 1.5. in accordance with an allocation
determined in the Purchaser or either 'eller·s ole discretion) and (ii) take no position in any Tax
Return or other Tax filing. proceeding, audit or otherwise which is inconsistent with uch
allocation, unless otherwise required pursuant to a .. determination" withi n the meaning of
Section 13 13(a) of the Code or pursuant to an analogous foreign legislation.

I .(1   Closing.

       (a}     The closing of the purchase and sale contemplated by in this Agr ement (herein
called the ··Cfosing") is occurring simultaneously with the execution and delivery of this
Agreement on the date hereof (the "'Closing Date.. ). The Closing shall be held at the offices of
SkyCam and ableCam, or at such other place a may be agreed to by Purchaser and the ellers.

        (b) Al the Clo ·ing:

                   (i) Sel lers shall execute and deliver to the Purchaser a bill of sale dul y
                executed by each Seller. substantially in the form of Exhibit C:

                   (ii) Purchaser hall pay to the -ell ers the Purchase Price. adjusted for any
                Purchase Price Adjustments, payable b_ cashier' check or wire tran for as
                contemplated by Section I .3(b):

                     (iii) the Purchaser shall execute and deliver to the Seller the A Sumption
                Agreement~iAclt:tae.;         e'•flressl). !Re Bl·St:llHfllioA 11r Ille Me1\fee Agre.;i1"ReAI
                0)   Pt:trel~eser;

                     (iv) the Purchaser hall use commercial!\ rea. onable effort. to obtain and
                deliver to the Seller a fully execut d Release from the applicable landlord,
                releasi ng OUTD from the Parent Guarantees and from an liabilities a sociated
                with the Leases. in a form mutually acceptable to the Partie : ir the landlord is
                unwilling to rcleas1: the l'arcnt luarnntces. Purcha~.:r will provide OUTD with a
                pcrformance bond or other ~ecurilv reasonablv acceptable to OUTD in the
                amount of thret: hundred thousand dollars ($300,000) or the amo uni or the
                remaining financial obliuations due to the landlord nndcr the Leases, '"hichever
                is lesser. for the remaining initial term of the Lcrues. I he bond or other sccuritv
                will name OUTD as the . olc benelician in thee' ent of an uncured material
                financial def'nult ll\ Purehn:.er under the Lea:.cs in order lo uffsct the risk of lo:~
                for OUTD:

                    (v) all employees of ellers hall be terminated and shall become employed
                by Purchaser (each, a "Continuing Employee'') and all employees of Seller
                shall cease participation in eller Benefit Plans:

                    (vi) the Purchaser shall have obtained employee benefit plans and insurance
                with sufficient cov rage to permit the Purchaser to conduct the Businesses in
                substantial ly the same manner fo llowi ng the Closing Date. as was conducted b
                the ellers prior to the Closing Date.


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2.      REPRESENTATIONS AN O W A RRANTIES O F T H E SE LL ER.

                Each eller. jointly and ·everally. hereby represents and warrants. ubject to such
exceptio ns as are specifically disclosed in writing (and that reference the specific representation
that they qualify) in the d isclosure schedule supplied b each ellcr to Purchaser. as follow.
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h1\'HLlt'' YE. PLEASE ADD Tlll S IN !:

2.1. Oue Organiza tion ; No Subsidiaries; Etc. Such cller is a corporation duly organized.
validly existing and in good standing under the laws of the State of Delaware. Such Seller has
all requisite corpo rate authority and power to (1) own the Assets. (2) carry on the Busines. e . .
and (3) execute and deliver thi Agreement and consummate the transactions contemp lated
hereby and thereby. Such Seller has all material licenses, permits and other imilar regu latory
approvals or authorizations to own the Assets and conduc t its business. as pre. cntly owned and
conducted. ' uch Seller is duly qualified and in good standing in each of the jurisdiction in
which it is required by the nature of its bus inc ses or the ownership of the Assets to so qualify,
except where the failure to be so qualified would not have a Material adverse effect on such
Seller.

2.2.    T it le to Assets. S uch cller owns, and has good and valid title to. all the kyCam Assels
and CableCam Assets, as applicable and purported to be owned by it. The Purchased Assets
include al l tangible and intangible as et and rights that are used or held for use in the operation
or conduct of the Businesses, and are sufficient for th e conduct of the Businesses by the
Purchaser following the Closing in ~~~ the same manner as conducted by such eller
prior to the C lo ing Date.

2.J.    Breach. Neither the execution nor deli ery of this Agreement by uch eller nor the
consu mmation of the transactions contemplated hereby will cause such Seller to be in breach of
any of the material terms or conditions of uch Seller· organizational document or any other
agreement. contract. lea e. license, i11..rn11t. gov.:n1111.:11tul ,qiprm al. instrument or commitment
of such Seller.

2.4.    E nforceability of Agreement. Thi · Agreement constitutes a legal, valid and bind ing
obligation of uch eller. enforceab le again. t such eller in accordance with its terms. except as
enforceabili ty may be lim ited by general equitable principles. bankruptcy, inso lvency,
reorganization, moratorium or other laws affecting creditor 'righls generally.

2.~.    Required Co nsents; No Violation of Law. Except as set fo rth in Sched ule 2.5, such
Seller is not or wi ll not be required to make any filing with or give any notice to. or to obtain
any Consent from, any Person in connection with the exec ution and delivery of any of the
Transact ional Agreement.5 o r the consummation or performance of any of the Transactions.
Such eller has not violated any pre ently applicab le federal. state, local foreign law, statute.
order, rule or regulation. injunction. judgment or decree re lating to the operation. conduct or
ownership of the Assets or the busine s of such ell er.




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2.6.     Real Property. The Leases constitute all of the interests in real property held for use in
connection with, necessary fo r the conduct of. or otherwLe material to such Seller·s Bus inesses.
There are no eminent domain or other similar proceedings pending or. to any ·uch eller's
 Knowledge. threatened affec ting any portion of the real property currentl y under lea e. There is
 no writ. injunction. decree. order or judgment outstanding no r any action. claim. uit or
 proceeding. pending or, to any such Seller's Knowledge, threatened, relating lo the lease. use.
occupancy or operation by any Person of any such real property. ll1e use and operation of the
 leased real property in the present conduct of such eller"s Bu ·inesses do not violate in any
material respect any instrument or agreement affecting such real property. There is no violation
of any covenant. condition. re triction, easement or order of any governmental authority hav ing
jurisdiction over such property or of any other Person entitled to enforce the same affecting such
 real property or the u e or occupancy thereof.

2.7.    Litigation and Related Matters. Except as set forth on Schedule 2.7. there are no lega l.
administrative. arbitration. investigatory. injuncti ve or other proceeding . or any other claims or
controver ics, pending or, to the best knowl edge of such elli:r threatened. against such Seller or
relating in any manner to the Purchased A. sets.

2.8.         Contracts. Such Sel ler is not in default under any m!l.l aterial Seller Lt:ontract to which it
is a party, and to such cller· Knowledge, the other parties thereto are not in default and ..:a.:h
\.:llL1 1.:11n1rn1:t 1' :,i <ttt! alid and binding obligations of the parties thereto. in accordance with
their term s. llJli- 1s.lil_1rb._ l11!hl IUJ:...\L_ontr,1.:1 n:p I" II ~end\ 11L1 lh1.. AB\ ~t.mJ.ir<l tonn n!
;1i;T\'.1,illh.:nt. IFTl!P.RE R.E ' OMEOTllERREP'TIIATWE nu KAREAl3SUl.UTELY
NECESSARY. PLEA.E I CL DE AND LE'l "SDI CUS , BLrJ LET" ' KEEP IT LIGllT I

2.9.    Financial Condition .

                 (a)    Financial tatements. Schedule 2.9(a) et forth the e ller Balance Sheet
and the re lated statements of income and retained earnings fo r th e period then ended. The Seller
Balance Sheet and the related statement s of income and retai ned earni ngs (i) were prepared in
accordance with GAAP; (i i) fairly present in all material respects such Seller·s financial
condition and the results of its operations as of the relevan t dates thereo f and for the periods
covered thereby; (iii) conta in and re fl ect all necessary adjustments and accruals for a fair
presentation in all material respects of such Seller's financial condition and the results or its
operations for the period covered by said financi al statement : (iv) contain and reflect adequate
provisions for all reasonably anticipated liabilities for all Taxes. with respect to the period then
ended and all prior periods; and (v) w ith respect to contract and commitments for the sale of
goods or the pro vi ion of serv ices by such Seller, contai n and reflect in all materi al r spects
adequate rese rves for all reasonabl. anticipated materi al losses and costs and expenses in excess
of expected recei pts.

                (b)    No Undisc losed Liabilities. Except for (i) tho e li abilities specifically
accrued or reserved against on the Seller Balance Sheet. (ii) those current lia bili ties for trade or
busines obligations incurred si nce the Seller Balance Sheet Date in the ordinary course of the
business and consistent with past practices or (iii) those liabilities arising under eller Contracts,
 eller has, as ofthe date hereof. no direct or indirecr indebtedness. li ability, claim. Joss. damage.



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deficiency, obligation or resp nsibility, contingent or otherwise. which individuall or in the
aggregate are material to the financial condition. assets, liabil ities. bu incss or operations of
Seller.


2.10. Intellectual Property.

                 (a)    For purposes of this Agreement. '·Sellers' lntel/ectual Property"' shall
mean collectively the SkyCam Intellectual Property and the ableCam Intellect ua l Property. To
such eller's Knowledge, neither the use nor exploitation by the Purchaser of any of its
In tellectual Property will infringe upon or vio late any copyright, trade secret. patent. trademark,
trade dress, or other proprietary right of any third party (wi thin the Un ited States or abroad) and
no license of an third party intellectual property will be required by ~Purchaser to lawfully
implement, use or exploit it Intellectual Property.

               (b)      To such Seller's Knowledge. such Seller has taken commercially
reasonable steps to maintain the confidentiality or trade secrets and confidential information
included in the Intellectual Property.

               (c)     Such Seller has good and val id title to all of its Inte ll ectual Property. free
of any Encumbrances, and has a val id right to u ·e and otherwi e exploit. and to license others to
use and otherwise exp loit, all of its Intellectual Property. Such Seller is not obligated to make
any payment to any Person for the use or other exploitation of any of uch its Intellectual
Property. uch Seller is free to use. modify. copy. distribut· , sell, license or otherwise exploit its
Intellectual Property on an exclusive basis (other than lntellecrual Property consisting or
software licensed to such Sel ler under third party licen es generally available to the public, with
respect to which such Seller's rights arc not excl usive).

                (d)     All patents, trademarks, service marks and copyrighl5 that are registered
with any Governmen tal Body and held b_ such Seller are valid and sub ' isting. one of ' uch
 eller's Intellectual Property infringes or conflicts with it Intellectual Property owned or used
by an other Person. Such Seller i not infringing, misappropriating or making any unlawful use
of, and such Seller has nor at any lime infringed. misappropriated or made any unlawful use of,
or received any notice or other commun ication of any actual. alleged. possible or potential
infringement. misappropriation or unlawful use of. such Seller's Intellectual Propeny owned or
used by any other Person . Except as di closed in Schedule 2.IO(d), to such Seller's Knowledge,
no other Person is infringing, misappropriating or making any unlawfu l use oC its Intellectual
Property.

              (e)     To such eller's Know ledge. it~ Intellectual Property being rransfcrrcd,
assigned and/or licensed to Pu rchaser in thi s transaction constitutes all of the Intellectual
Property necessary for Purchaser to operate the Businesse as presently conduc ted by such
Seller. The Sellers have. and the Purchaser will acquire at the Closing. the unrc:,11 kkJ right to
use the names "SkyCam" and '·CableCam'· and variation. thereof.




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2.11.   Insurance. uch cllcr has not recei ed (i) any notice of cancellation of any po lie or
binder of insurance or rerusal of coverage thereunder: (ii) any notice that any issuo;r or such
policy or bindc:r has filed for protection under applicable bankruptcy or in olvency laws or i
otherwise in the process of liquidating or has been liquidated; or (iii) any otht:r indication that
any such policy or binder may be unwil.ling or unable to perform its obl igations thereunder.

2.12.    T a x Ma tters.

                (a)    Such Seller has (i) filed all Tax Returns required to be tiled by it on or
prior to the date hereof and (ii) paid all Taxes due and payable in respect of all period up to and
including the date hereof. Each Seller has timely and properly withheld or collected. paid over
and reported all Taxes required to be withheld or collected by such Seller on or before the date
hereof.

                 (b)     E>-cept as set forth on .Schedule 2. 12(b). ~J.1-,ut:h dlL'J · , i...ntml~t!~ : (i) ....----{ Formatted:Undertlne
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  o Tax Authorit. has as erted any adjustment that could result in an additional Tax for which
such Seller is or may be liable or that could re ult in a Lien on an of the Purchased As ets
(collectively, "Tax liability"); (ii) there is no pending audit. examination, in estigation, dispute,
proceeding or claim (col lectively, ··fox Proceeding'·) relating lo any Tax Liability: (iii) no
 tatute of limi tations with respect to any Tax has been waived or extended (unle s the period to
which it has been waived or ex tended ha expired): (iv) there i no outstanding power of attorney
authorizing anyone to act on behalf of such eller in connection wi th any Tax Liability, Tax
Return or Tax Proceeding; ( ) there is no outstanding clo ing agreement, ruling request, request
to consent to change a method of accounting, ubpoena or request for information with or by any
Tax Authority with respect to such eller, its income. assets or business. or any Tax Liability:
( i) such eller is not a party to any Tax sharing or Tax allocation agreement, arrangement or
under tanding: and (vii) such Seller has not received any notice from a Tax /\uthority as erting
that eller hould fi le a Tax Return in any juri diction where it does not file

2.13     E mployee and La bor fa tters.
                  (a)    Sched ult! 2. 1J(a) accurately sets forth, wi th respect to each employee of
such eller (incl uding any employee ' ho is on a leave of absence or on layoff status): (i) the
nan1e and title of such emplo_ ee: (ii) the aggregate dollar amounts of the compensation
(including wages. salary, commissions, director' fees , fringe benefit . bonu cs. profit-sharing
payment and other payments or benefits of any type) received by such employee from · uch
  eller: (iii) such emp loyee's annualized compensation as of the date of this Agreement: (iv) the
number of hours of sick-time which such employee has accrued as of the date hereof and the
aggregate dollar amount thereof: and (v) the number of hours of vacation time which uch
employee has a crued as of the date hereof and the aggregate dollar amount thereof.

               (b)    Schedule 2. I 3(b) accurat~ly identifies each former employee of uch
  eller who is receiving or is scheduled to receive (or whose spouse or other dependen t is
recei ing or is scheduled to receive) any benefits from such Seller relating to such former
employee' employment with such Sell er: and Schedule 2. I 3(b) accurately describes such
benefits.



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                (c)     E. cept as set forth in chedule 2.13(c), such Seller is not a party ro or
bound by, and has never been a party to or bound by, any cmp loymem cont ract or any union
contract, collective bargaining agreement or s imilar Contract.

                (d)   Such eller has provided to Purcha er accurate and complete copies of all
employee manuals and handbooks. disclosure materials. policy statements and other materials
relating to the employment of the current and former employees of such eller.

2.14 Brokers.        oble has acted as agent for ellers in this transaction. and ellers will be
solely re ponsible for any fees or commissions pa, able to oble. Except as so stated. no broker.
finder, agent or imilar intermediary has acted for or on behalf of Sellers or i. entit led to a fee or
commission in connection wi th this Agreement or the transactions contemplated hereby.

2.15 Full Disclosure. one of the Transactional Agreement contains or will contain any
untrue statement of fact: and none of the Transactional Agreement omits or wil I omit to state
any fact necessary to make any of the repre entations, warranties or other statements or
information contained therein not misleading, All of the in formation set forth in the Di -closure
  chedule. and all other information regarding such Seller and its bu ines ·. condition, assets.
liabilities, operations. financial perH:irmance. net income and prospects that bas been furnished to
the Purchaser or any of the Purchaser's Representatives by or on behalf of the eller or by any
Representative of the Seller. is accurate and complete in al l re peel! .


J.     REPRESENTATIONS ANO WARR NTIES OF THE PURCHASE R.

       The Purchaser represents and warrants, to and for the benefit of the Seller, as follows :
3.1     Authorit)'; Bind ing Nature Of Agreement . The Purchaser ha~ the absolute and
unrestTicted right power and authority to enter into and perform it. obligations under this
Agreement. and the execution and deli ery of this Agreement by the Purchaser have been duly
authorized by all nece sary action on the part of the Purchaser and it board of directors. The
Purchaser has the absolu te and unrestTicted right, power and authority to enter into and perform
its obligations under the Assumption Agreement. and the execution, delivery and performance of
the A sumption Agreement by the Purchaser have been duly authorized by all nece sary action
on the part of the Purchaser and its board of director . Thi Agreement constitutes the Legal, valid
and binding obligation of the Purchaser. enforceable against it in accordance with its terms.
Upon the execution and delivery of the Assumption Agreement at the losing, the Assumption
Agreement will co n titute the legal. al id and binding obligations or the Purchaser, enforceable
against the Purchaser in accordance with their terms.

3.2      Brokers. The Purchaser has not become obligated to pay, and has not taken an action
that might result in any Person claiming to be entitled to receive. any brokerage commission.
finder's fee or similar com mi sion or fee in connection with any of the Transactions.

3.3 Required Co nsents: No Violation of Law . To the best of Purchaser' s Knowledge, neither
the execution nor delivery of this Agreement by Purchaser nor the consummation of the



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transactions contemplated hereby will require the consent or approval of any go emmcntal or
non-go ernmental third party.


4.       LOSING DELIVERABLES

4.1    C los ing Deliverab les of Sellers. At the Clo ing, Sellers shall deliver to Purchaser the
following documents:

               (a)     Written evid nee reasonably satisfactory that all Consents, authorizat ions.
orders and approvals of any Go em mental Body, if any, required in wrmection with the
execution, delivery and performance of this Agreement has been obtained or made:

                     (b)    Written evidence reasonab ly satisfactory to Purchaser that any member or
management committee appro val required under applicable law and (a..:hl+!.- eller s: charter ;,i nJ
olh..:r l!111.:rn111I! documents has been obtained:

               (c)   Financial statements for the years ended December 3 1, 20 12. December
31. 201 1 and December 31. 20 I O_L-..huul~! b.: ttlr.:µ.!h_['f''' iJ..:J a» purl 11f1i.:p~ I :

                (d)       eller Co ntracts. with such assignments thereof and Consents to
assignments as are required pursuant to the terms of such el ler Contract and are necessary to
assure the full benefit thereof.

               LU__The Bu inesses · Records and Sellers shall take all requisite steps to put
Purchaser in actual posses. ion and operating control of the Purchased Assets and the Busines. es




        4.2     Closing Deliverables of Purchaser. At the Closi ng, Purchaser hall deliver to
Sellers such other documents as are reasonably necessary for ellers to effectuate and document
the transactions contemplated hereby.

5.     POST-CLOSING COVENANTS.

         5.1   Sellers' Access to Business Record . After the Closing, Purchaser shall afford to
  ellers and their accoun tants. anorneys and other representatives reasonable acces to the
Businesses ' Records and sha ll permit Sellers to make extracts and copies therefrom for the
purpose of preparing such tax rerurns, financial statement (including audit ed financial
statements) and other reports and filings of Sellers as may be required after the Closing and fo r
other proper purposes approved by Purchaser acting reasonably and in good faith.

       ~A- 5.2   Purchaser cccss to Business Records. After the <:losinl!. Sellers shall afford to
Purcha~cr    and their accou n tant~- atlornevs and other representatives rcasonahl..: access to the
13usiness~   · Records and . hall ermit Purchaser to mal..c extrncts and conk~ therefrom for the



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purpose of' orcoaring such La\ rel urns. financial s1n1emcnL<; (including nudill.:d financial
stalcmcntsl and 01hcr rcpom and lilinus of' Purchaser as ma be required aller the Closing and
for olht:r ro er u oses a roved bv Seiler actin' reasonabh and in iood fai1h.

        :;i.25.3 Further ssuraoces. Sellers from time Lo Lime after the losing al the request of
Purchaser (acting reasonabl_ and in good fai1h) and without further consideration shall execute
and deliver further instrument of transfer and ass ign ment. and take such other action as
Purchaser ma reasonably require to more effectively tran fer and assign to. and vest in.
Purchaser each of 1he Purchased A set. and to carry out the purpo es of this Agreement.
Purchaser from time lo time after the Closing at the request of Seller (acting rea onably and in
good faith) and without further consideration shall execute and deliver further instruments of
assumption. and take such other action a eller may reasonably require to more effectively
evidence the assumption by Purchaser of the Assumed Liabilitie and to carry oul the purpo-es
of this Agreement.

         YSA Actioncam C laim . To allow Ol JTD w sati fv its obligation · under the
Continuent fee Agreement it has in place with McAfee. Purchaser will provide UllTD the
recovery oJ' the first 1wo hundri.:d eighty one thousand. nine hundred two dollars ($281.902) ol'
ru1\ anomcy fees. e:1.pc11se. and damages n.:covered from Ac1ioncam (the "Conlinl!cnt Fee.. ).
Uron rccov rv (ifanv). Lhi amount 1~ill bt: paid directlv to McAfoe h l'urcha er with written
eonl1r111a1icm or lhti paymcm provided to OUTD. further. Purchaser will rovide 0 TD 1 ith a
50 percent interest in unv rcmuining proceeds rcco ered from Actioncarn (also 10 be paid din; th
10 McAl't=el so that OlJTD can satisfv its rcmainine. obligations under the Contingent Fee
Al!rccmcnl. Prior tu calcu lating am amounts pa~ablc Lo UUTD under this section 5..3 (including
the Con1ingen1 Fee described :ibovc). Purchaser will be cnti1lcd to recover the Hl!l!rcgatc
reasonable a1tomcv 's lees and cost. incum:d lw Purchaser in connection with the Actioncam
Litigation fo llowinl! lhe Closi ng Datt:. pon the final resolution of the Actioncam Litigation in
favor of Sk1ca111 and/or the liquidation of' the assets of Actioncam. LLC (or. alternatively. the
sale of Actioncam or its assets to Purchaser). Purchaser shall pay OUTD up to one hundred
thousand dollars ($ I00.000) (the "Lil igalion Payment''). !'he Litigation l'a1 mcm wi JI he reduced
by thi.: McAfoc injunction ucccss Fee ii' the Jee b paid by Purchaser aller lhe Closing Dalt: or
allerm11i c:ly if lhc: fee i~ added tu tht.: Purchase Price pur uanl lo ,Section 1.3\h)(iii). I h<! .-----{ Formatted: Undertlne
Litigation Pny111cnr \Viii also be reduc~d hy any proce~d~ r~covtn:d by OUTD a.."> descrtbed ln                   ----------------~
this sc:ction 5.-t. filly peracAl (50%) er !tit! Nt!l Utigatim1 A'Mtrd. SUt'tl !'lei LitigaliaA .6.'.vttfcl will
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o~);-aAtlffiF4h~tt1<i--1noot!t~~d to SkyCa11l-E1-l-lfitH;OOelttsIBtref-t.Rt!
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       ~ 'i .S  Ro. alty. For a period or 12 months following the Closing Date (" Royalty
Periotf'). Purchaser shall pay 0 TD a twenty percent (20%) fee (" Royalty") on revenue
(exclud.ing bill-back revenue from venue-driven charges and on site third party equipment
rentals) from any incremental Cl3 regular season NFL and SEC c ems covered by the
Purcha er which have not been regularly covered by Sellers in the past (more specifically.
  kyCam and CableCam have not regularly covered CBS SEC college footba ll games nor CB
regular season NFL games w ith the excep tion of the CBS Thanksgivi ng NFL game).

         (a)     Purchase r shall make payments of Royalty to OUTD via wire transfer drawn on a
United tales bank de ignatcd by OUTD. Royalty payment shall accrue a~ billed and be paid
monthly throughout the Royalty Period. Each monthly Roya lty payment shall be made within
thirty (30) days after the clo c of the foregoing month. All amounts not paid \ ithin forty-five
(45) day of the due date shall bear interest at the rate of twelve percent ( 12%) per year, or the
maximum permitted by law. whichever is Jess. from the date due until paid. All amounts
cxpre sed and due under this Agreement shall be in Uniied States Dollars. otwithstand ing the
foregoing. the first Royalty payment . hall be for the period from the Closing Date through the
end of the first calendar quarter that is at least three months from the lo ing Date. For purposes
of clarity, if the C losing Date is June I. 20 13. the first calendar quarter that is at least three
months from the Closing Date will be September 30. 2013. Thereafter. Royalty payment hall
be paid to OUTD on a month ly basis. Notwithstanding wwthing to thc contrnn in thi s Section
5.5, the Ro ally shall only he du e ancl pa,ahle to O UTD b\ Purchaser if and \\hen all other
liabilities and obligations ur Sellers and OLJTD arising from this aQrcemcnt have been
rea. onabl satisfied.

       (b}        oncurrent with each Royall payment. Purchaser shall deliver to UTD via e-
mail an itemized tatcmcnt (the ··Mofllh~v Reporf') which i certified as accurate by an
authorized representati e of Purchaser. The Monthly Report shall et forth the following: (i) the
date and description of the e ent: (ii) rhe amount billed (exclu ive of the bill-backs and third
party rental ): (iii) the calculation of the amount of the Royalt payment due to OUTD.
Purcha. er shall deliver a Month I} Report even if no payment is due.

       5.4      onse nts. To the extent any of the approvals. ons nts or wai ers required to
consummate the transactions co ntemplated by this Agreement, in ·lud ing, without limitation. the
Consents and approvals required to assign an. of Material Seller ontract to Purchaser. have
not been obtained by any of the ellers as of the Closi ng Date. such Seller ·hall use its
commercially rea onab le efforts to do the following:

       (a)     ooperate with Purchaser in any reasonable and lawful arrangements de igned to
             provide the benefits of such Material Contract to Purchaser a long as Pur haser
             promptly reimbur e such eller for all out-of-pocket payment or chargeFs made by
             such eller in connection therewith: and

       (b) Enforce, at the request of Purchaser and at the expense and for the account of
           Purchaser. any and all rights of such ' eller ari ·ing fro m such interest aga inst the other
           party or part ies thereto (inc luding the right to elect to terminate such interest in
           accordance with the terms thereof upon the wrinen advice of Purchaser).



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                                                                             l 1)1' Cornmcnh 3 ' 1 • IJJ

       ~Use of "SkyCa m" an d "CablcCa m" Na mes. Notwithstanding anything to the
contrary contained herein. the Sellers shall be entitled to use th --skyCam" and ··cableCam ..
names for ninety (90) days aRer th Closing in connection with payroll and general
administrative activities relating to its transition out of operating the Businesses.

         M!'i.5 Transition Services. For a period or six!'\ <oOl days after the losing. th1.: Seller.
imd OUTD will provide Purchast:r wi th il nformation ! ·chnologv. linani.:e and accounting
service. and unporl as rcasom1bly rcyucst.:d b\ Puri.:hascr to facilitate the tr:insition or the
Businesses. An additional thirt) 130) days or support. if needed. will be m 1de a' ailablc at the
written request of Purchaser. LET' AUD A 01 E THA'I WI:\ WILL BE REQUES'l IN G
 rill:.SE TRANSITION SERVICE. AS PAlrJ OF A HORT. SEP RATE AGREEME T
( OT PART OP TI llS DOC ME TJ.                              _    _                                _ _ ___-{ Formatted : Font: Bold
                                                                                                              ~~~~~~~~~~~~~~~~~~




        5.5     Confidentia lity. Except in connection with any dispute between the parties and
su~ject to any obligation to comply 1 ith (a) any Applicable Law (b) any rule or regulation or any
Authority or securities exchange or (c) any subpoena or other legal process to make information
available to th Persons entit led thereto, all information obtained b. any party about any other or
any Afliliate or the other. and all of the terms and conditions or this Agreement. shall. for a
period of one ( I) year aner the date or this Agreement, be kept in confidence by each party. and
each party shall cause its shareholders. members. partners. directors. officer . managers,
employees. agents and attorneys to ho ld such infonnation confidential.         uch confidentiality
shall be maintained to the same degree as such party maintain its ow11 confidential information
and shall be maintained until such time, if any. as an such data or information either is, or
becomes. published or a matter of public knowledge; provided, however. that from and after Lhe
Closing, Purchaser shall be under no obligation to maintain confidential any such information
concerning Sellers. In the event either party becomes legally compelled ro di close any such
infonnation. it shall promptly provide the other with written notice of uch requirement o that
the other may seek a protective order or other remedy.

        - - -Publicity. No publicity release or announcement concerning this Agreement or
the transactions contemplated herein shall be issued without advance written approval or Lhe
form and substance thereof by Purchaser and Seller ; provided. however. that such restrictions
shall not apply to any disclo urc required by Authoritie . Applicable Law or the rules of any
 ecurities exchange which may be applicable. After Lhe Clo ing Date. the parties shall consult
with each other before issuing any press release or public statement with respect to this
Agreement or the transactions contemp lated herein, and. except as may be required by
Applicabl Law or the rule of any securities exchange \ hich may be applicable. will not is ue
any such press release or public statement prior to such consultation. Notwi thstanding Lhe
foregoing, Purchaser and Sellers shall not be prevented or resu·icted in any wa from notifying
Lhird parties at any time following the Closing that it has purchased the Busines es and the
.Purchased Assets and introducing itscl fa successor.


6.        Ml CELLA OllS.



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          6. I      urviva l of Re prese nt at io ns a nd Cove nan ts. l'I hi' i' 11 problem and i' n•lt
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ari~inl!. 0111 uf lhc hr. 11l'h ol :tn\ n•p or\\ 11rr11n". llallpurll "uuld he 20'!/i, of pur(hu~c oril'l'
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a. u l'll!I :ind I u;., dl'tl ul·tih lc- LET'S t>l 'T THIS FORM t i LA I . WITll A INDE 1 ITY
FOR BRF.ACll OF RF.P AND W RR i'\TIF: ·, PLt'S N 11\0E I. ITY WITIJ NO CAP
0 I.I BILITLE WE D01 'T ASSUME. PU ! WE SllOl lLD ADO A RECIPROCAL
I OEM ITY ON l !S REL TEO TO POST-CLOSE ITEM . !. Except for cction 2.2 (title).
which shall survive for twelve ( 12) months following the losing none of' the representations
and warranties made by the Parties in this Agreement and in the certificates, documents and
schedules delivered hereto shall survive the consummation of the transactions contemplated
hereunder.

     6.2  Discla im er of\ a rra nt ies. EXCEPT A TO THOSE MATTER EX PRE SLY
COVERED BY THE REPRE E TATION AND WARRA TIE IN TH I AGREEMENT.
 ELLERS ARE     ELLING Tl IE PUR HA ED A ETS (A D THE BUSINESSE
REPRESE TED THEREBY) 0          AN ""A I . WHERE I " BA ' I A D DI CLAIM ALL
OTHER WARRANTIES, REPRESENTATIONS AND GUARANTEES. WHETHER
EXPRESS OR IMPLIED.        SELLER MAK£          0 IMPLI ·D REPRESE TATIO  OR
WARRA TY AS TO MERCHA TAB ILITY OR FITNES FOR ANY PARTICULAR
PURPO E AND NO OTHER IMPLIED WARRANTfES WHAT OEVER .

        6.3    Ex penses of a le. Each party hall bear its own direct and indirect expen es
incurred in connection with the negotiation and preparation or th is Agreement and related
Transactional    greements, and the consummation and performance of the tran actions
contemplated herein and therein. Any and all transfer. ales. use, documentary and similar taxes
and recording and filing fees incurred in connection with the transactions contemplated herein
shall be borne by Purchaser (and not b Sellers).

        6.4     Furth er Ass uran ces. Each part hereto shall e ecute and/or cause LO be
delivered to each oihcr party hereto uch in trumcnts and other documents, and shall take uch
other actions, as such other party may reasonabl. request (prior to, at or after the Closing) for
the purpose or carrying out ore idencing any of the Transactions.

        6.5    Notices. Any notice or other communication required or permitred 10 be delivered
to any party under this Agreement hall be in writing and ·hall be deemed properly delivered,
given and received when delivered (by hand. by registered mail. by cou rier or cxpre. s delivery
ser ice or by facsimil e) to the address or fac simile telephone number set forth beneath the name
of uch party below (or to uch other address or facsimile telephone number as uch party shall
have specified in a writren notice gi en to the other parties hereto):


                                if to the ellers :
                                              SkyCam. LLC or
                                              CableCam . LLC
                                              e/o Outdoor Channel Holding , Inc.
                                              43445 Business Park Drive.
                                              Temecula. CA 92590


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                                           Attn: General Counsel
                                           Facsimile: 951-719-8975

                             if co the Purchaser:




                                           Facsimile :



       6.6     Time Of The Es~e nc c. Time is of the essence of this Agreem nt.

        6. 7    Headings. The underli ned headings contained in thi Agreement are for
con enience of reference only, shall not be deemed to be a part of thi Agreement and shall not
be referred to in connection with the construction or interpretation of this Agreemen t.

      6.8     Counterparts. Thi Agreement may be executed in several counterparts. each of
which shall constitute an original and all of which. when taken togethe r, shall constitute one
agreement.

       6.9     Govern ing Law; Venue.

                 (a) This Agreement shall be construed in accordance with, and governed in all
 respects by, the internal laws of the tatc of a li fornia (without givi ng effect to princip les of
 conllicts of laws).

                (b) Except as set forth in the last sentence of this Section 6.9, any claim or
controversy arising out of or relating LO th ls Agreement shall be sett led by binding arbitration in
Riverside, California under the auspices of the American Arbitration Association, in accordance
with its Commercial Arbitration Rules, and judgment on the award rendered by the arbitrator
shall be final and bindi ng and may be entered in any co urt having juri ' diction. The arbitrator
shall have the power to order discovery reasonably neces ary to enable the parties to participate
effectively in the eviden tiary hearing. The fees of the arbitTator and all other costs charged by
the AAA shall be borne equally by the Sellers a nd Purcha er.            II attorneys ' fees and costs
incurred by each party shall be paid by each party.

               (c) Th is Agreement and the rights, covenan ts, conditions and obligations of the
respective parlie hereto and any instru ment or agreement executed pursuant hereto shall be
binding upon the parties and their respective successors. assigns and legal representatives.
Neither this Agreement, nor a ny righ ts or ob ligations of any party hereunder, may be assigned
by a party witho ut the prior written con ent of the other party. such con em not lo be
unreasonably withheld.

       6. 10   Waiver.

            (a) No failure on the part of any Person to exerci se any power. ri ght. privilege or
remedy under th i Agreement. and no delay on the part of any Person in exercising an power.


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right. privilege or remedy under thi Agre ment. shall operate as a waiver of uch power. right.
privilege or remedy: and no singk or partial exerci e or any such power. right, privilege or
remed. shall preclude any other or further exercise thereof or of any other power. right.
privilege or remedy_

              lb) No Person shall be deemed to have waived any claim arising out of this
Agreement, or any power. right, privilege or remedy under th is Agreement. un less the waiver or
such claim, power, right, privilege or remedy is expre. sly et forth in a written instrument duly
executed and delivered on behalf of such Person: and any such waiver shall not be app licab le or
have any effect e cept in the specific instance in which it is given.

       6.1 1 Amendm ents. This Agreement may not be amended. modified. altered or
 upplemented other than by means of a written in trument duly executed and delivered on
behalf of the Purchaser and the Seller.

        6.12 Scvcrabili ty. In the event 1hat any prov1swn of this Agreement. or the
application of any such provision to any Person or et of circumstances. hall be determined to
be invalid. unlawful. void or unenforceable to any extent. the remainder of this Agreement. and
the app lication of such provision to Person or circumstances other than those as to which it is
determined to be in alid. unlawful. void or unenforceable. shall not be impaired or otherwise
affected and shall continue lo be valid and enforceable to the fullest extent permitted by law.

        6.13 Entire Ag reement. The Transactional Agreements set forth the entire
understanding of the parties relating to the subject matter thereof and supersede all pr ior
agreements and understandings among or between any of the parties relating to the su~ject
matter thereof.

       6.14    Constru ction.


               la) For purposes of this Agreement. whenever th context requires: the singular
number shall include the plural: and vice versa; the ma~culine gender shall include the fe minine
and neuter genders; the feminine gender shall include the masculi ne and neuter gender : and the
neuter gender shall include the masculine and feminine genders.

                (b) The partie hereto agree that any rule of construction to the effect that
ambiguities are to be reso lved agai nst the drafti ng party shall not be app lied in the construct ion
or interpretation of this Agreement.
                (e) As used in thi Agreement. the word "include" and "including." and
variations thereof. shall not be deemed to be terms of limitation. but rather shall be deemed to be
followed by the words "without limitation ."

               (d) Except as otherwise indicated. all references in thi Agreement to "Sections"
and "Exh ibits" are intended to refer to Sections or this Agreement and Exhibits to this
Agreement.


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        I WITNE    WHEREOF. Lhc Parties have cau cd thi Agreement to be executed and
delivered as of.


                                      SkyCa m, LL     a Delaware limited liabili ty company




                                                    Its : - - - - - - - - - - - -


                                    CablcCa m, LL , a Delaware lim ited li ability company

                                                     By: - - - - - - - - - - -
                                                    It : ____________




                                                    IPl lRCHAS ERI, a ___ corporation

                                                     B. : - - - - - - - - - -

                                                     Its:-- - - - - - - - - - -
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                                           EXHIB IT A


                                  CE.RT IN DEFI IT IO S

For purposes of the Agreement (includi ng this Exhibit A) :

       Accounts Rece ivable. ··Accou nts Receivable'' shall mean accou nts receivab le. whether
billed or unbilled, generated in connection wit h the Businesses prior Lo and through the Closing
Date.

       Actioncam Claim. ·'Actioncam Claim" means those certain claims that SkyCam has
against Actioncam, LLC and Patrick J. Bennett (co llectively "Actio11c111n'') in connection with
the ctioncam Litigation.

       Actioncam Litigation. "Actioncam Litigation" hal l refer to that certain cause of action
against Actioncam for damages in connection with misappropriation of trade secret , breach of
contract, and false representations as more ·pecifically set out in Case No. 09-CV-294-GKF-
FHM, pending in the orthern District of Oklahoma.

       Agreement. "Agreement'' hall mean the As et Purchase Agreement to which thi Exhibit
A is attached (including the Di clo ure chedule). as it may be amended from time to time.

        Broken Arrow Lease. "Broken Arrow Lease·· sha ll mean that certain Lease Agreement
by and between Case kyCam. LLC and SkyCam, LLC dated February 13, 2006, as amended on
July l, 2006.
       Code. "Code" shall mean the Interna l Revenue Code of 1986. as amended.
       Consent. "Consent" shall mean any approval. consent, ratification, permi sion, waiver or
auU1orization.
        Contract. " ontract" hall mean any written, oral. implied or other agreement, contract.
understandi ng, arrangement, in trument. note. guaranty. indemnity, representation, warranty,
deed, assignment. power of attorney, certificate, purchase order, work order. insurance policy.
benefit plan. commitment, covenant as urance or undertaking of any nature.

         Encum brance. "Encumbrance" shall mean any lien. pledge, hypothecation, charge,
mortgage. security interest. encumbrance. equity, trust. equitable interest. claim. preference, right
of possession. lease, tenancy, license. encroachment. covenant, infri ngement. interrerence. Order.
proxy. option. rig ht of fir t refusal. preemptive right, community property interest, legend.
defect, impediment, exception, reservation. lim itation. impairment. imperfection or tille.
condition or restriction of any natu re (including any restriction on the transfer of any asset, any
restriction on the receipt of any incom derived from any a~set. any restriction on the u e of any
asset and any restriction on the possession. exercise or transrer of any other attribute of
ownership of' an as. et).
      Case 3:15-cv-00666-M Document 63 Filed 08/31/17                                            Page 78 of 139 PageID 748




                                                                    l DI' l 1H11111..:nL J L~ 1.3
       Enti ty . "Entity" shall mean any corporation (including any non-prolil corp~~ation).
general partnership, limited partnership. limited liability partnership. joint venture. estate. tru t,
cooperative. foundatio n. society. political party, union. company (including any limi ted liability
company or joint stock company). firm or other enterprise. association. organizal"ion or entity.

       ERI SA. "ER ISA" hall mean the Employee Retirement Income ecurity Act of 1974.

        Excluded Assets. "Excluded Assets" shall mean the asset identified on Exhibit C (lo
the extent owned by the Seller on the Closing Date).

         Ex trao rdin ary Capital Expenditures. •·Extraordinary Capital Expenditures·· ·hall
mean any non-budgeted capital expenditures funded by OUTD, in amounts up to a ma--<imum or
$80,000 that occur between February 26. 2013 and the Clos ing Date. as determined to be
necessary and in the best interests of the ellcrs by ic alomon in hjs role as President of Lhe
Sellers.

       GAA P. "GAAP" shaJI mean generally ace pied accoun1ing principles.
         Gove rnm enta l Authorization. "Governmental Authorization" shall mean an_ : (a)
permit, license, certificate. franchise. concession. approval. consent, ratification. permission,
clearance, c.onfirmation. endorsement. waiver, cenification, de ignation, rating, registration.
qualification or authorization i sued, granted, given or othen ise made available by or under the
author ity or any Governmental Body or pursuant to any Legal Requ.irement; or (b) right under
any Contract with any Governmental Body.

         Governmen ta l Body. "Governmental Body" shall mean any: (a) nation, principality,
state. commonwealth. province. territory. county. municipality. district or other jurisdiction of
any nature· (b) federal. tate, local. municipal, foreign or other government; (c) governmental or
quasi-governmental authority of any nature (including any governmental division . . ubdivision.
department. agency. bureau, branch. office. comm is ion. counc il. board. in trumental ity. officer.
official. representative. organization. unit. bod or Entity and any. court or other tribunal): (d)
mu lti-nationaJ organization or body: or (e) individual , Entity or body exercising, or entitl d to
exerci e, an executive, legislative. judicial. admini trative, regulatory. police, military or taxing
authority or power of any nature.

        Intellectual Property . "Intellectual Property" shall mean any patent, patent application,
trademark (whether regi tered or unregistered and whether or not relating to a published work),
trademark application. trade name. fictitious business name, service mark (whelher registered or
un registered), ser ice mark application. copyright (whether registered or unregistered).
copyright app lication. trade secret, know-how, customer list. franchise. system, computer
 oftware, invention, design, blueprint. business methodology, engineering drawing. proprietary
product, technology, proprietary right or other intellect1ial property right or intangible a set
required to operate the equipment and perform , ellers' obligations pursuant to the Seller
Contracts.




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                                                                          l J)!> l\11111!).1,'.lll' ~   13 Ll
        Leases. ··Lea~es" hall collecti ely refer to !he (i) Surface Lease Agreement for the 2.48
acres north of the premises located at 630 North Freeway, uite 350. Fort Wonh. TX 76102: and
(ii) the Commercial Lease Agreement for premi ·es located at 630 North Freeway, uite 350. Fort
Worth. TX 76 102.

        Legal Requ ire me n t "Legal Requirement" shall mean any federal. state, local.
municipal. foreign or other law. tatute, legislation. constitution. principle of common law.
resolution, ordinance, code, edict, decree. proclamation, treaty. convention. rule, regulation.
ruling, directive. pronouncement. requirement. specification. determination. decision. opinion or
interpretation issued, enacted. adopted, passed. approved. promulgated, made. implemented or
otherwise put into effect by or under the authority or any Governmental Body.

        Lia bili ty. "Liability" hall mean any debt, obligation. duty or liability of any nature
(including any unknown, undi sclo ed, unmatured. unaccrued, unassened, contingent. indirect.
conditional. imp lied, vicarious. derivative, joint, several or secondary liabi lity), regardless of
whether such debt. obligation. duty or liability would be required to be disclosed on a balance
 heet prepared in accordance with generally accepted accounting princip les and regardless of
whether such debt, obligation, duty or liability is immediately due and payable.


        Materi a l. ..Material" shall mean (i) with respect to any item. fact. condition or
circumstance of a party, that such item, fact, condition or circumstance. individual ly or in the
aggregate w ith other items. facts, conditions or circumstance affecting such party. would cause
an adverse effecl of Twenty-Five Thousand ($25.000) Dollar or more to lhe other party
subsequent to the clos ing of the transactions contemplated by this Agreement or (ii) wi th respect
to any contract or series of related contracts 1hat in the aggregate represents the payment or
receipt by any party thereto of Twenty-Five Thousand ($25.000) Dollars or more.

        McAfee Agree ment. " McAfee Agreement" shall mean that certain ontingent Fee
Agreement between Outdoor Channel Holdings. Inc. and its affiliated entities, including without
limitation, kyCam, LLC and McAfee & Taft, a profc sional corporation of Oklahoma.

          McA fee Inj un ction Success Fee. ··McAfoe Injunction uccess Fee·· shall mean that
cenain $75,000 that becomes immediately due and owed by SkyCam to McAfee & Tall pursuant
to the McAfee Agreement upon: (I) a ruling by the federal court denying Actioncam ·s motion
for new trial; or (2) by the federal court"s lifting the sta on the injunction. as described in the
fe-Oera l co urt ' s fina l j udgment.

        Order. "Order" shall mean any : (a) order, judgment, injunction, edict, decree, ru ling,
pronouncement. determination, decision, opinion. erdict sentence. subpoena_ writ or award
issued. made, entered, rendered or otherwise put into effect by or under the authority of any
court. administrative agency or other Go ernmcntal Body or any arbitrator or arb itration pane l;
or (b) Contract with any Go ernmcntal Body entered into in connection\ ith any Proceeding.

     O T O. ··OUTD" shall mean Outdoor Channel Holdings. Inc., the ultimate parenL
company of the ellers.



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      Case 3:15-cv-00666-M Document 63 Filed 08/31/17                                                      Page 80 of 139 PageID 750




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       Parent G uara ntees. ··Parent Guarantees" refer collectively to (i) that certa in Guaranty
provided by O utdoor Channel I loldings. Inc. to 650 North Free,. ay. Ltd. in connection with the
Surface Lease Agreement for the 2.48 acres north of the premises located at 630 Nonh Freeway.
Suite 350. Fort Worth. TX 76102: and (ii) that certain Guaranty provided by Outdoor Channel
Ho ldings. Inc. to Tindall Propenies. Ltd. in connection wit h the Commercial Lease Agreem nt
for premi ses located at 630 North Freeway. Suite 350, Fort Worth. TX 76 102 .

       Perso n . "Person" s ha ll mean any individual, Entity or Govern men tal Body.

       Proceedin g. "Proceeding" shall mean any action. suit. litigation. arbitration. proceeding
(including any civil, criminal. administra tive, investigative or appellate proceeding and any
informa l proceedi ng). pro ecution. contest. hearing. inquiry, inquest. audit. examination or
in e tigat ion commenced, brought. conducted or heard by or before. or otherwise involvi ng. any
Governmental Body or any arbitrator or arbit ration panel.

        Representati ves. "Representati es" shall mean officer . directors. emp loyees. agent .
attorneys, accoun tants, advisors and representativc;S.

        Seller Co ntract. "Seller ontract" shall mean any Contract relating Lo the customers set
forth on Schedule l.l (a)(v) and Schedule J. I (b)(v): (a) to which the Seller is a party: (b) by
which the e ller or any of its assets is or may become bolllld or under wh.ich the Seller has. or
may become subject to. any ob ligation: or (c) under wh ich such ell er ha or may acquire any
right or interest.

        Sellers' Intellectual P roperty. "Seller'. Intellectual Property" or a "Seller's In tellectual
Property" sha ll refer to ableCam Inte ll ectual Property and kyCam Inte ll ectual Property owned
by. licensed to the e ll ers (or a ' eller). or otherwise used by the Se llers (or a eller) .

        Seller Benefit Plans. "Sell er Benefit Plan" shall mean an employee benefit plan within
the meaning of Section 3(3) of ER!. A. any deferred compensation, bonu s, stock option, prolit
sharing. reti rement, medical. hea lth or life insurance. di sability, sick leave, cafeteria or flexible
spending, vacation or severance agreements. arrangements, programs or plans maintained by any
Seller.

      Sellers' Knowledge. "Seller ' K now ledge'· or a .. eller' s Knowledge" mean the actual
knowledge of any of icolas Salomon. Thomas Homi h and Thomas lien obtained in the
ordinary course of the. perfo rmance of their respective d uties as oflicers of the Sell ers.

        T ax. "Tax" shall mean any tax (includ ing any income tax. franc hise tax, capital gains tax,
estimated tax. gross receipts tax. value-added tax. surtax. excise tax. ad valorcm tax. transfer tax.
stamp tax. sales tax, use tax, property tax , business tax, occupation tax. inventory tax, occupancy
tax. withholding tax or payro ll tax). levy. assessment, tariff, impo t, imposition. toll, duty
(i ncluding an cu toms duty). deficiency or fee. and any related charge or amount (including any
fine, penalty or interest), that i • has been or may in the future be (a) impo ed. a sessed or
collected by or under the authority of any Governmental Body. or (b) payable pursuant to any
tax-sharing agreement or similar Contract.


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       Tax Return . "Tax Retu rn" shall mean any return (i ncluding any information return),
report. statement, declaration. estimate. sc hedule, notice. notification. form. election. certificate
or other document or information that is. ha been or may in the future be filed with or
 ubmined to. or required to be ti led with or submined to. any Governmental Body in connection
with the determi nation, assessment, collection or payment of any Tax or in connection with the
admini stration, implementation or enforcement o f or compliance with any Legal Requirement
relating to any Tax.

       Transaction al Agreem ents. "Transactional Agreements" shall mean: (a) the Agreement :
(b) 1he Assumption Agreement and (c) the Bill of Sale.

       Tra nsactions. "Transactions'' shall mean (a) the execution and delivery of the respective
Transactional Agreements. and (b) all of the tran sactions contemplated by the respective
Transactional Agreements. incl uding: (i) the sale of the Purchased Assets by the Sellers to the
Purchaser in accordance with the Agreement: (ii) the assumption of the Assum ed Liabilities by
the Purchaser pursuant to the Assumption Agreement: and (i ii) the performance by the e llers
and the Purchaser of their respect ive obligations under the Transact ional Agreements. and the
exercise by the ellers and the Purchaser of their respective rights under the Transactional
Agreements.




                                                   s
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                      EXHIBlT B

               A   UMPTION AGREEMENT
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                    EX HIBIT C

                   BILL OF ALE
Case 3:15-cv-00666-M Document 63 Filed 08/31/17   Page 84 of 139 PageID 754




                  SCHEDULE l.l(a)(ii)

            SKYCAM I TELLECTUAL PROPERTY
      Case 3:15-cv-00666-M Document 63 Filed 08/31/17                                              Page 85 of 139 PageID 755




                                      SCH EOllLE 1.1 (a)(vii)

                                       KYCA M CO TRACT

 ecd 'chedulc of all cunlrat:I (including contracts mutual)\ ·igm:d b' Cabh:c;UTI)




Ot1t:stion for anorneys: what do we need 10 includc a'i listed rnntrat:ts'!   DA~'!   IC agreements'.'
Or do we just need comrncts with the entities'!
Case 3:15-cv-00666-M Document 63 Filed 08/31/17   Page 86 of 139 PageID 756




                 SCHEDllLE 1.l(b)(ii)

          CABLECAM INTELLECTUAL PROPERTY
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                                      SCHED ULE 1.l(b)(v)

                                  CABLECAM .. CONTRACTS
Nt:cd scht:dule uf all \;On tracts ! including contracts mutuall\ ~igned bv . "vcam)
     Case 3:15-cv-00666-M Document 63 Filed 08/31/17                                    Page 88 of 139 PageID 758




                                     'H EDlfLE l.2(h)

                                 EXCLUDED A SET


Tulsa Lease and •   uble11~c                                                               .---( Formatted: Left

McAfce & Taft Contingent Fee Agreement (except for ohligations as specifically described
in . ections l.J and 5.3)

The Companv's email scr\'crs which arc shared   \I   ith Outdoor Channel in T emecula
     Case 3:15-cv-00666-M Document 63 Filed 08/31/17                                          Page 89 of 139 PageID 759




                                      SCHEDULE l.3(b)(i)

                                   DEFERRED REVENUES

Any amount received from ESPN or NBC or any other network, or from AM EWA re lated to
the Navai r projecl for which ervices not been fully performed as of the date of the c losing. less
any payments towards those related costs of revenues. shall be deducted as a credit to the
Purchase Price at c losing.
Case 3:15-cv-00666-M Document 63 Filed 08/31/17         Page 90 of 139 PageID 760




                                      ({)i'LCHlll11SJ1_h~j3   IJ
                    CHEDULE l.5

                   ALLOCATION




                        2
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                                      l DI'< 0111111..:nt~ 3 13 1;
                     HEDULE 2.5

                REQUIR ED CONSENT




                        2
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                    C ll EDULE 2.7

                    LITIGATION
Case 3:15-cv-00666-M Document 63 Filed 08/31/17   Page 93 of 139 PageID 763




                  SCHF.Dl lLF. 2. lO(al

               FINANCIAL STATEMENT
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                   SCHEDULE 2.IO(d)

          I TELLE TllAL PROPERTY DISCLO URE
    Case 3:15-cv-00666-M Document 63 Filed 08/31/17   Page 95 of 139 PageID 765




                       .. CllEl)lll.E 2.12(b)

                        TAXMATnms

List sales rnx ch1im
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                    SCHEDULE 2.13

             EMPLOYEE AND LABOR MATTERS




                          2
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                    SCHEOllLE 1.4

                     ALLO ATION




                         I.
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Form 8-K                                                                                                                              Page 1 of 7




 8-K 1 d501922d8k.htm FORM 8-K

                           UNITED STATES
               SECURITIES AND EXCHANGE COMMISSION
                                                           Washington, DC 20549


                                                               FORM 8-K

                                                         CURRENT REPORT
                                                 Pursuant to Section 13 or 15(d) of
                                                The Securities Exchange Act of 1934
                                      Date of Report (Date of earliest event reported):
                                                                 March 13, 2013



      OUTDOOR CHANNEL HOLDINGS, INC.
                                            (Exact name of registrant as specified in its charter)


               DELAWARE                                                 000-17287                                XX-XXXXXXX
          (State or other jurisdiction of                               (Commission                               (IRS Employer
                  incorporation)                                        File Number)                            Identification No.)

                                                           43455 Business Park Drive
                                                           Temecula, California 92590
                                                (Address of principal executive offices, including zip code)

                                                                   (951) 719-8800
                                                  (Registrant’s telephone number, including area code)


                                              (Former name or former address, if changed since last report)



 Check the appropriate box below if the Form 8-K filing is intended to simultaneously satisfy the filing obligation of the
 registrant under any of the following provisions (see General Instruction A.2. below):
    Written communications pursuant to Rule 425 under the Securities Act (17 CFR 230.425)
 _ Soliciting material pursuant to Rule 14a-12 under the Exchange Act (17 CFR 240.14a-12)
    Pre-commencement communications pursuant to Rule 14d-2(b) under the Exchange Act (17 CFR 240.14d-2(b))
    Pre-commencement communications pursuant to Rule 13e-4(c) under the Exchange Act (17 CFR 240.13e-4(c))




https://www.sec.gov/Archives/edgar/data/760326/000119312513105366/d501922d8k.htm                                                        9/9/2016
                                                                                                                            EXHIBIT "I"
Form 8-K                                                                                                          Page 2 of 7

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 Item 1.01 Entry into a Material Definitive Agreement
 KSE Merger Agreement
 On March 13, 2013, Outdoor Channel Holdings, Inc., a Delaware corporation (“Outdoor Channel”) entered into a
 definitive merger agreement with Kroenke Sports & Entertainment, LLC, a Delaware limited liability company (“KSE”),
 and KSE Merger Sub, Inc. a Delaware corporation and direct wholly-owned subsidiary of KSE (the “KSE Merger
 Agreement”). Under the terms of the KSE Merger Agreement, at the closing, Merger Sub will merge with and into
 Outdoor Channel, with Outdoor Channel as the surviving corporation (the “KSE Merger”). As a result of the
 consummation of the KSE Merger, Outdoor Channel will become a wholly-owned subsidiary of KSE and shares of
 Outdoor Channel common stock will no longer be listed for trading on NASDAQ.

 The execution of the KSE Merger Agreement followed the determination by the Outdoor Channel Board of Directors that
 the terms of KSE proposal constituted a Superior Proposal under the terms of the Agreement and Plan of Merger dated as
 of November 15, 2012 (the “InterMedia Merger Agreement”) by and among Outdoor Channel, InterMedia Outdoors
 Holdings, LLC, InterMedia Outdoor Holdings, Inc. (“IMOH”) and certain indirect wholly-owned subsidiaries of IMOH
 (collectively, “InterMedia”). Prior to entering into the KSE Merger Agreement, Outdoor Channel terminated the
 InterMedia Merger Agreement and paid InterMedia a termination fee of $6.5 million as required by the terms of the
 InterMedia Merger Agreement. See Item 1.02 below. The Outdoor Channel Board of Directors also unanimously
 approved the KSE Merger Agreement.

 Upon the consummation of the KSE Merger, subject to the terms of the KSE Merger Agreement, each share of Outdoor
 Channel common stock issued and outstanding immediately prior to the effective time of the KSE Merger (other than
 shares held in treasury stock, shares held by any direct or indirect subsidiary of Outdoor Channel, shares held by KSE or
 any of its subsidiaries and shares for which holders have properly perfected and not withdrawn a demand for appraisal
 pursuant to Delaware General Corporation Law) will be automatically converted into and thereafter represent the right to
 receive $8.75 in cash, without interest (the “Merger Consideration”).

 Options to acquire Outdoor Channel common stock issued by Outdoor Channel and outstanding as of the effective time of
 the KSE Merger, whether vested or unvested at such time, will be cancelled and converted into the right to receive an
 amount in cash, without interest, equal to the product of (x) the excess, if any of the Merger Consideration over the per
 share exercise price of such option and (y) the number of shares of common stock subject to such Outdoor Channel option.

 Other equity awards issued by Outdoor Channel and outstanding as of the effective time of the KSE Merger, whether
 vested or unvested at such time, will be cancelled and converted into the right to receive an amount in cash, without
 interest, equal to the product of (x) the Merger Consideration and (y) the number of shares of common stock subject to
 such Outdoor Channel equity award.

 Consummation of the KSE Merger is subject to certain conditions, including, among others, adoption of the KSE Merger
 Agreement by the Outdoor Channel stockholders, satisfaction of certain regulatory approvals (including expiration or
 early termination of the applicable waiting period under the Hart-Scott-Rodino Antitrust Improvements Act of 1976, as
 amended), approval of the Federal Communications Commission of the transfer of Outdoor Channel’s FCC license in
 connection with the KSE Merger (or alternatively, receipt of a third party lease that enables Outdoor Channel to provide
 the same services as it provides under its existing FCC license), no material adverse change to Outdoor Channel or KSE
 and other customary closing conditions.

 Outdoor Channel is subject to customary “no-shop” restrictions on its ability to solicit alternative acquisition proposals
 from third parties and to provide information to and participate in discussions and engage in negotiations with third parties
 regarding alternative acquisition proposals. However, prior to stockholder approval of the Merger, the no-shop provision
 is subject to a customary “fiduciary out” provision that allows Outdoor Channel, under certain circumstances, to provide
 information to and to participate in discussions and engage in negotiations with third parties with respect to an unsolicited
 alternative acquisition proposal that the Outdoor Channel Board of Directors has determined is, or would reasonably be
 expected to result in, a “Superior Proposal” (as defined in the KSE Merger Agreement).




https://www.sec.gov/Archives/edgar/data/760326/000119312513105366/d501922d8k.htm                                     9/9/2016
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 The KSE Merger Agreement contains certain termination rights for Outdoor Channel and KSE. Outdoor Channel will be
 required to pay KSE a termination fee of $1.0 million upon termination of the KSE Merger Agreement under specified
 circumstances, including termination by Outdoor Channel to enter into an acquisition agreement that constitutes a
 Superior Proposal or termination by KSE because the Outdoor Channel Board of Directors adversely changes its
 recommendation to stockholders to vote in favor of the KSE Merger or takes certain other related adverse actions.

 Mr. E. Stanley Kroenke has agreed to guarantee the payment obligations of KSE under the KSE Merger Agreement.
 Mr. Kroenke shall be released from his guarantee if and to the extent that KSE receives a legal, valid, binding and
 enforceable financing commitment on customary terms, or a bank guarantee substituting for his obligations thereunder, in
 each case acceptable to Outdoor Channel, from a major money center bank to finance the transactions contemplated by the
 KSE Proposal.

 The KSE Merger Agreement is included with this filing only to provide investors with information regarding the terms of
 the KSE Merger Agreement, and not to provide investors with any factual information regarding the parties or their
 respective businesses. The KSE Merger Agreement should not be read alone, but should instead be read in conjunction
 with the other information regarding the parties and the KSE Merger that will be contained or incorporated by reference in
 a proxy statement that Outdoor Channel will be filing with the U.S. Securities and Exchange Commission (“SEC”) in
 connection with the Merger, as well as in the Forms 10-K, Forms 10-Q and other filings Outdoor Channel makes with the
 SEC. The representations and warranties contained in the KSE Merger Agreement were made solely for the benefit of the
 parties to the KSE Merger Agreement and were negotiated for the purpose of allocating contractual risk among the parties
 to the KSE Merger Agreement rather than to establish matters as facts. The representations and warranties may also be
 subject to a contractual standard of materiality or material adverse effect different from those generally applicable to
 stockholders and reports and documents filed with the SEC and in some cases may be qualified by disclosures made by
 one party to the other, which are not necessarily reflected in the KSE Merger Agreement. For the foregoing reasons, the
 representations, warranties and covenants or any descriptions of those provisions should not be read alone or relied upon
 as characterizations of the actual state of facts or condition of Outdoor Channel and KSE or any of their respective
 subsidiaries or affiliates.

 The foregoing description of the KSE Merger Agreement and the transactions contemplated thereby does not purport to be
 complete and is subject to, and qualified in its entirety by, the full text of the KSE Merger Agreement attached hereto as
 Exhibit 2.1, which is incorporated herein by reference.

 Support Agreement
 Concurrently with the execution of the KSE Merger Agreement, Thomas H. Massie, Perry T. Massie and certain of their
 affiliated entities (the “Massie Parties”), the members of the Outdoor Channel Board of Directors and the executive
 officers of Outdoor Channel, representing approximately 41% of the outstanding Outdoor Channel common stock
 (collectively, the “Supporting Parties”), entered into a support agreement with KSE (the “Support Agreement”) pursuant
 to which such parties agreed, among other things, to vote their shares of Outdoor Channel common stock: (i) in favor of
 the adoption of the KSE Merger Agreement, the KSE Merger and the other transactions contemplated by the KSE Merger
 Agreement; (ii) in favor of any proposal to adjourn or postpone any meeting of the Outdoor Channel stockholders if there
 are not sufficient votes for approval of the matters described in the preceding clause (i); and (iii) except with the written
 consent of KSE, against (x) any Alternative Proposal (as defined in the KSE Merger Agreement) with respect to Outdoor
 Channel that would impede the merger or (y) any other action or proposal involving Outdoor Channel (or any subsidiary
 of Outdoor Channel) that would reasonably be expected to prevent or materially impede, interfere with or delay the KSE
 Merger.

 In addition, under the Support Agreement, the Supporting Parties agree, among other things:
       •   to waive any rights of appraisal or rights to dissent from the Outdoor Channel merger that they may have;
       •   to revoke any and all previous voting proxies granted with respect to their Outdoor Channel shares and grant a
           proxy appointing KSE as attorney-in-fact with respect to such shares; and




https://www.sec.gov/Archives/edgar/data/760326/000119312513105366/d501922d8k.htm                                     9/9/2016
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       •   not to, subject to certain exceptions (i) sell, transfer, pledge, encumber, tender, gift, assign or otherwise dispose
           of their shares of Outdoor Channel common stock, (ii) grant any proxies or powers of attorney or enter into any
           other voting agreements with respect to its Outdoor Channel common stock, (iii) enter into or deposit their
           Outdoor Channel common stock into a voting trust or take any other action which would diminish the voting
           power of such shares or (iv) commit or agree to take any of the foregoing actions, prior to the termination of the
           Support Agreement.

 The Support Agreement will terminate automatically upon the termination of the KSE Merger Agreement. In addition, the
 Supporting Parties may terminate the Support Agreement at any time following a Board Recommendation Change (as
 defined in the KSE Merger Agreement) made in accordance with the terms of the KSE Merger Agreement.

 The foregoing description of the Support Agreement is qualified in its entirety by the full text of the Support Agreement
 attached hereto as Exhibit 99.1, which is incorporated herein by reference.

 Item 1.02 Termination of Material Definitive Agreement
 On March 13, 2013, prior to entering into the KSE Merger Agreement, Outdoor Channel terminated the InterMedia
 Merger Agreement in accordance with its terms. A description of the material terms of the InterMedia Merger Agreement
 is contained in Outdoor Channel’s Current Report on Form 8-K filed with the SEC on November 16, 2012 and is
 incorporated herein by reference. In connection with the termination of the InterMedia Merger Agreement, Outdoor
 Channel paid InterMedia a $6.5 million fee in accordance with the terms thereof.

 In connection with the termination of the InterMedia Merger Agreement, the Support Agreement concurrently entered into
 by the Massie Parties and the members of the Outdoor Channel Board of Directors and the executive Officers of Outdoor
 Channel at the time of the execution of the InterMedia Merger Agreement was automatically terminated pursuant to its
 terms.

 Item 8.01 Other Events
 On March 13, 2013, Outdoor Channel issued a press release announcing the execution of the KSE Merger Agreement and
 termination of the InterMedia Merger Agreement. A copy of the press release is attached hereto as Exhibit 99.2 and
 incorporated herein by reference.

 Safe Harbor Statement
 Certain matters discussed in this Current Report on Form 8-K, with the exception of historical matters, may be forward-
 looking statements within the meaning of the Private Securities Litigation Reform Act of 1995. In some cases, forward-
 looking statements can be identified by words such as “anticipates,” “estimates,” “expects,” “believes,” “plans,”
 “predicts,” and similar terms. These statements are subject to a number of risks and uncertainties that could cause results
 to differ materially from those anticipated as of the date of this release. You should understand that the following
 important factors, in addition to those risk factors disclosed in Outdoor Channel’s current and periodic reporting filed with
 the SEC could affect the future results of Outdoor Channel and could cause those results or other outcomes to differ
 materially from those expressed or implied in the forward-looking statements:
       •   failure of the Outdoor Channel stockholders to adopt the KSE Merger Agreement;
       •   the risk that the other conditions to closing of the merger may not be satisfied;
       •   the merger may involve unexpected costs, liabilities or delays;
       •   risks that the merger disrupts current plans and operations and the potential difficulties in employee retention as
           a result of the merger;
       •   the business of Outdoor Channel may suffer as a result of uncertainty surrounding the merger, including the
           merger making it more difficult to maintain certain strategic relationships;
       •   the risk that the merger may not be consummated by the expected closing date or at all; and
       •   risks relating to litigation in respect of the merger.

 Outdoor Channel also cautions the reader that undue reliance should not be placed on any forward-looking statements,
 which speak only as of the date of this release. Outdoor Channel undertakes no duty or responsibility to update any of
 these forward-looking statements to reflect events or circumstances after the date of this report or to reflect actual
 outcomes.




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 IMPORTANT INFORMATION FOR INVESTORS AND SECURITYHOLDERS
 This communication is being made in respect of a proposed business combination involving Outdoor Channel and KSE. In
 connection with this proposed transaction Outdoor Channel plans to file with the SEC and furnish to its stockholders a
 proxy statement. The proxy statement will contain important information about the proposed transaction and related
 matters.

 OUTDOOR CHANNEL URGES INVESTORS TO CAREFULLY READ IN ITS ENTIRETY THE DEFINITIVE PROXY
 STATEMENT AND OTHER DOCUMENTS INCLUDED AND INCORPORATED BY REFERENCE THEREIN AS THEY
 ARE MADE AVAILABLE TO OUTDOOR CHANNEL STOCKHOLDERS BECAUSE THEY CONTAIN IMPORTANT
 INFORMATION ABOUT THE PROPOSED MERGER.

 Investors and security holders will be able to obtain free copies of the proxy statement when made available and other
 documents filed with the SEC by Outdoor Channel through the web site maintained by the SEC at www.sec.gov. Free
 copies of the proxy statement when made available and other documents filed with the SEC can also be obtained on
 Outdoor Channel’s website at www.outdoorchannel.com.

 PROXY SOLICITATION
 Outdoor Channel and its respective directors, executive officers and certain other members of management and
 employees may be soliciting proxies from Outdoor Channel stockholders in favor of the merger. When made available, a
 description of the interest of Outdoor Channel’s directors and executive officers in Outdoor Channel will be set forth in
 the proxy statement and the other documents included and incorporated by reference therein. You can find information
 about Outdoor Channel’s executive officers and directors in its annual report on Form 10-K filed with the SEC on
 March 9, 2012. You can obtain free copies of these documents from Outdoor Channel in the manner set forth above.

 Item 9.01 Financial Statements and Exhibits
 (d) Exhibits.
 Exhibit
 No.         Description

  2.1        Agreement and Plan of Merger dated March 13, 2013, by and among Kroenke Sports & Entertainment, LLC,
             KSE Merger Sub, Inc. and Outdoor Channel Holdings, Inc.
 99.1        Form of Support Agreement dated as of March 13, 2013, by and among KSE, the Massie Parties and each of
             the directors and executive officers of Outdoor Channel
 99.2        Press Release, issued by Outdoor Channel, Holdings, Inc., dated March 13, 2013




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                                                       SIGNATURE

 Pursuant to the requirements of the Securities Exchange Act of 1934, the registrant has duly caused this report to be signed
 on its behalf by the undersigned hereunto duly authorized.

                                                                 OUTDOOR CHANNEL HOLDINGS, INC.

 Date: March 13, 2013                                            /s/ Catherine C. Lee
                                                                 Catherine C. Lee
                                                                 Exec. VP, General Counsel and Corporate Secretary




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                                               INDEX TO EXHIBITS
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 EX-99.2 4 d501922dex992.htm EX-99.2
                                                                                                              Exhibit 99.2

                    Outdoor Channel Agrees to be Acquired by Kroenke Sports & Entertainment

 TEMECULA, Calif., March 12, 2013 (GLOBE NEWSWIRE)—Outdoor Channel Holdings, Inc. (Nasdaq:OUTD) (the
 “Company” or “Outdoor Channel”) today announced that it entered into a definitive merger agreement (the “KSE
 Agreement”) with Kroenke Sports & Entertainment, LLC (“KSE”) pursuant to which KSE will acquire all of the
 outstanding shares of common stock of Outdoor Channel in an all-cash transaction at a price of $8.75 per share. This per
 share price represents a premium of approximately 15.9% to Outdoor Channel’s closing stock price on March 1, 2013,
 which was the last trading day prior to the public disclosure of the KSE proposal, and approximately 21.7% to Outdoor
 Channel’s closing stock price on November 15, 2012, which was the last trading day prior to Outdoor Channel’s
 announcement that it had entered into a definitive merger agreement (the “InterMedia Agreement”) with InterMedia
 Outdoors Holdings, LLC (“InterMedia”).

 “Our board of directors has unanimously determined that the proposed all-cash merger with KSE offers superior value for
 our stockholders,” said Tom Hornish, Outdoor Channel’s President and Chief Executive Officer. “We are pleased that
 Kroenke Sports & Entertainment has agreed to purchase Outdoor Channel.”

 As previously announced, KSE submitted its binding offer to acquire Outdoor Channel and on March 6, 2013, Outdoor
 Channel notified InterMedia of its intention to terminate the InterMedia Agreement (subject to InterMedia’s right,
 pursuant to the InterMedia Agreement, to propose, within four business days of such notice, changes to the terms of the
 InterMedia Agreement so that the KSE proposal would no longer constitute a Superior Proposal (as defined in the
 InterMedia Agreement)). Following the expiration of this four business-day period, the Outdoor Channel board
 determined that the KSE proposal continued to constitute a Superior Proposal and, as a result, immediately prior to
 entering into the KSE Agreement, Outdoor Channel terminated the InterMedia Agreement. In accordance with the terms
 of the InterMedia Agreement, Outdoor Channel paid InterMedia Outdoors Holdings, LLC a $6.5 million termination fee.

 The transaction, which is expected to be completed in the second quarter of 2013, is subject to the satisfaction of
 customary closing conditions, including the receipt of requisite regulatory approvals and adoption of the KSE Agreement
 by Outdoor Channel’s stockholders. Outdoor Channel’s largest stockholders, Perry T. Massie, Thomas H. Massie and
 their affiliated entities and Outdoor Channel’s directors and executive officers, who currently represent a combined
 ownership of approximately 41% of the Company, each have agreed to vote in favor of the transaction, subject to certain
 exceptions.

 The special meeting of stockholders of Outdoor Channel to adopt the InterMedia Agreement, which was originally
 scheduled for March 13, 2013, and which the Company announced it intended to adjourn to March 22, 2013, has been
 cancelled.




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 Lazard is serving as exclusive financial advisor to Outdoor Channel in connection with the transaction. Wilson Sonsini
 Goodrich & Rosati, P.C. is legal advisor to Outdoor Channel in connection with the transaction. Allen & Company LLC is
 serving as exclusive financial advisor to KSE in connection with the transaction. Wachtell, Lipton, Rosen & Katz is legal
 advisor to KSE in connection with the transaction.

 About Outdoor Channel Holdings, Inc.
 Outdoor Channel Holdings, Inc. owns and operates Outdoor Channel and Winnercomm, Inc. Nielsen estimated that
 Outdoor Channel had approximately 39.1 million cable, satellite and telco subscribers for March 2013. Outdoor Channel
 offers programming that captures the excitement of hunting, fishing, shooting, adventure and the Western lifestyle and can
 be viewed on multiple platforms including high definition, video-on-demand, as well as on a dynamic broadband website.
 Winnercomm is one of America’s leading and highest quality producers of live sporting events and sports series for cable
 and broadcast television. The Company also owns and operates the SkyCam and CableCam aerial camera systems which
 provide dramatic overhead camera angles for major sports events, including college and NFL football.

 About KSE
 Denver-based Kroenke Sports & Entertainment is one of the world’s leading ownership, entertainment and management
 groups. As owners and operators of Pepsi Center, the Paramount Theatre, Dick’s Sporting Goods Park, the Colorado
 Avalanche (NHL), Denver Nuggets (NBA), Colorado Mammoth (NLL) and Colorado Rapids (MLS), KSE’s sports and
 entertainment assets are second to none. Additional properties under KSE’s umbrella include Altitude Sports &
 Entertainment, a 24-hour regional television network; Altitude Authentics, the company’s official retail provider; and
 TicketHorse, the official ticketing provider for KSE teams and venues.

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 These statements are subject to a number of risks and uncertainties that could cause results to differ materially from those
 anticipated as of the date of this release. You should understand that the following important factors, in addition to those
 risk factors disclosed in the Company’s current and periodic reporting filed with the U.S. Securities and Exchange
 Commission (the “SEC”) could affect the future results of the Company and could cause those results or other outcomes to
 differ materially from those expressed or implied in the forward-looking statements:
       •   failure of Company stockholders to adopt the KSE Agreement;




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       •   the risk that the other conditions to closing of the merger may not be satisfied;
       •   the merger may involve unexpected costs, liabilities or delays;
       •   risks that the merger disrupts current plans and operations and the potential difficulties in employee retention as
           a result of the merger;
       •   the business of the Company may suffer as a result of uncertainty surrounding the merger;
       •   the risk that the merger may not be consummated by the expected closing date of the merger or at all;
       •   litigation in respect of the merger; and
       •   disruption from the merger making it more difficult to maintain certain strategic relationships.

 The Company also cautions the reader that undue reliance should not be placed on any forward-looking statements, which
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 favor of the merger. When made available, a description of the interest of Outdoor Channel’s directors and executive
 officers in Outdoor Channel will be set forth in the proxy statement and the other documents included and incorporated by
 reference therein. You can find information about Outdoor Channel’s executive officers and directors in its annual report
 on Form 10-K filed with the SEC on March 9, 2012. You can obtain free copies of these documents from Outdoor Channel
 in the manner set forth above.

 CONTACT: For Outdoor Channel:
     Tom Allen
     Executive Vice President, Chief Operating Officer/
     Chief Financial Officer
     800-770-5750
     tallen@outdoorchannel.com

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     212-986-6667
     plunkett@braincomm.com

     Media:
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     Brainerd Communicators, Inc.
     212-986-6667
     nancy@braincomm.com

     For KSE:
     T. Collins
     Vice President, Communications
     (303) 405-1352
     tcollins@pepsicenter.com




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 RE: Summary of today's discussion with Noble - Yahoo Mail                                                                                             Page 1 of 3




        RE: Summary of today's discussion with Noble                                                              Wednesday . Maroh 20, 2013 7 42 PM

        From: "jeff.holowaty@pacificncap.com" <jeff.holowaty@pacificncap.com>

          To:    "Nie Salomon" <nsalomon2@yahoo.com>

          Cc:    "Kelly Holowaty" <kelly.holowaty@pacificnorthemcapital.com>


        Nie- this is fine for now . I spoke to Tim and have a cal l with Hornish tomorrow afternoon - JUSt me and him . I will give you a call
        in the morning.

        Jeff



           ----- --- Original Message. --------
           Subject : Summary of today's discussion with Noble
           From: Nie Salomon < nsalomon2@yahoo.com>
           Date: Wed , March 20, 2013 5:01 pm
           To: "Jeff.holowaty@pacificncap.com" <jeff.holowatv@pacificncao.com>
           Cc: Kelly Holowaty <kelly.holowaty@pacificnortherncapital.com>

           Jeff I Kel ly,
           Please see below a DRAFT ema il which I think should , ummarize our call with Noble today. If you ha e any feedback before I
           send, please let me know. I have Roger engaged on the Kroenke issue - he has adv ised me to be patient and let the deal play out
           naturally . My response back was to request that his team get through the negotiations on the complex i ssues in
           the APA (consistent with the tem1 sheet) and to provide definiti ve comm unication (or at least a timel ine for that communication)
           of where things stand with Kroenke. I also suggested the Kroenke could be a good strategic partner for the business and that we
           wmLl d be interested to explore that.

           Best.
           Nie



           Tom I Tom I Cathy,
           In order to keep things moving and to continue to move closer on the terms of the Skycam/Cablecam Asset Purchase
           Agreement, I would like to follow up with you w ith my notes and comments from the call we had today with Noble on the
           APA.

           Below I will outline each issue that was discussed, and then identify the OUTD position (as I understood it to be communicated
           by Noble) as well as the Purchaser's position (as communicated by myself and PNC).I will also include some background on
           certain issues that will be helpful in having a dia logue

                 1.Accounts Receivable and Accounts Payable

           Seller position: All A/R and A/P at time of close wlll be responsibility of Seller.Seller does not want to provide A/Rand A/P
           sched ules.

           Purchaser position :Same as Seller, except that Purchase r is requesting t hat a schedule of A/P and A/R be includ ed in the APA
           so there is accountability on this topic {for the protection and benefit of both parties) .

           Proposed next steps:Nobl e said they would request NR and A/P schedules from Seller.

                 2.Fort Worth Lease Guarantee

           Seller position: Seller would li ke to make the removal of this guarantee a requirement to close a Transaction .

           Purchaser position : Pu rchaser is offering to make commercially reaso nable efforts to remove this guarantee.If t he Landlord
           refuses to consent. Purchaser is open to providing these same commercially reasonable efforts back to Seller to offset t he
           guarantee.

           Background information : Seller is aware of the difficult y in negotiating with this Landlord from when these leases w ere put In
           place 2 years ago .The Landlord currently has a guarantee from a public company with a significant amount of cash and no
           debt, and the new guarantor under the Seller's annou nced merger transaction is expected to be a new entity with almost no
           limits on access to capital resources.There is a possibil ity that the Landlord is not wil ling to be reasonable and give up th is
           security for any reasonable amount of new security Seller can provide to Purchaser (this is out Purchaser's control) .This Item
           was added t o term sheet by Seller the day before it wa s signed as a requi rement with no prior discussion .

           Proposed next steps:Purchaser is wil ling to make commercially reasonable efforts to replace the guarantee and would like
           Sel ler to work with Purchaser in a spirit of good fai th to accomplish th is.Perhaps Se ll er and Purchaser can discuss and agree on
           a commercially rea sonable security that Purchaser can propose to Landlord .

                 3.Transition Services




 https://us-mg6.mail .yahoo.com/neo/b/message?sMid=88&fid= Buyout%25202012%252d2. ..                                                                     8/24/2016

                                                                                                                                           EXHIBIT "J"
RE : Summary of today's discussion with Noble - Yahoo Mail                                                                                      Page 2of3
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        Seller position: Seller would like to know exactly what these are and make sure they are properly compensated.Seller is
        amenable to this request subject to learning the scope and proposed consideration.

         Purchaser position: Purchaser can provide this scope and cost for consideration and discussion as due diligence continues.

         Proposed next steps: Purchaser to provide more details on this to Seller.

            4.McAfee & Taft Agreement

         Seller position: Seller ls asking Purchaser to assume this Contingent Fee Agreement as part of a Transaction.Seller is open to
         having Purchaser recover any new lega l fees and honoring the terms of the Agreement before splitting any recovery proceeds
         under a Transaction.

         Purchaser position :Purchaser signed a term sheet that was very clear in stating "only ordinary course liabilities will be
         assumed".The liabilities under this Conti ngent Fee Agreement are not ordinary course liabilities.In a show of good faith,
         Purchaser has offered to change the Agreement in the term sheet and be responsible for the $75,000 lnj unction Relief Fee,
         and further assume the financial obligations of the Contingent Fee Agreement as long as any new legal fees incurred by
         Purchaser are the first money recovered any Settlement Proceeds, and tha t the Seller's remaining financial interest in
         Settlement Proceeds would go to honor Seller's liabilities under the Contingent Fee Agreement.Purchaser is also interested to
         engage M cAfee& Taft to continue its legal work in the case.

         Background information: This Contingent Fee Agreement was made between Outdoor Channel and McAfee & Taft in
         November 2011, and Skycam/Cablecam management was not a party to the discussion or the terms of the Agreement. The
         details of the Agreement were only provided to Skycam/Cablecam management as part of the due diligence process for this
         Transaction .Skycam/Cablecam management has contacted McAfee & Taft to try to understand the contingent fee balance
         under this agreeme nt .These contingent fees are approximately $475,000 +the $75,000 Injunctive Relief Fee. McAfee has
         indicated that if they were to get paid out, they would settle for just having their unpa id fees covered ($350,000 +the $75,000
         Injunctive Relief Fee}.

         Proposed next steps:Purchaser would like Seller to work with Pu rchaser in good faith to find an amenable so lution with
         McAfee & Taft that works for all parties.This is going to requi re some compromise and creativity.Seller created this agree ment
         with McAfee & Taft and is In the best position to help structure a solution to this issue which is not an ordinary course liability.

             5.Sales /Transfer Ta xes

         Seller position: Seller bel ieves these should be the responsibi lity of Purchaser.

         Purchaser position:Purchaser has asked for an estimate of what these costs are expected to be, and also asked for clarification
         to make sure t hese Sa les/Transfer Taxes re late only to Taxes from the time ofTransaction close (nothing prior to the date of
         close).

         Proposed next steps:Noble to ask Sel ler to provide cost estimate and clarification.

             6.Deferred Revenue

         Seller position: Seller would like to change the Deferred Revenue calculation as defined In the term sheet to give a credit back
         to the Seller for t he amount of any usages under the ESPN contract that go un used as of July 31, 2013.

         Purchaser position : The Seller's request amounts to a purchase price increase (of a TBD amount}.Th is would take away
         Revenue from the Purchaser that is earned and recorded after the assets have transferred.This is contrary to the agreement in
         the te rm sheet.

         As a general request, Purchaser would like Seller to provide updated schedules of the deferred revenue balances as well as a
         detailed budget showing the revenue and expense recognition on the NAVAIR contract so that the adjustments for Deferred
         Revenue can be tracked acco rdingly.

         Background informat ion: The number of usages in the ESPN contract is typically driven by the series length of the NBA
         Playoffs and Finals (if they go less than 7 games, ESPN sometimes has some remaining usages from the season which get
         recorded as revenue at the end of the contract year which is July 31).Each usage is valued at $40,000-for the current year of
         the contract (as of 3/20/13}, there are 18.5 usages remaining ahead of the College Lacrosse Championships, NBA Playoffs and
         Finals.

         Proposed next steps : Noble to ask Seller to provide updated Deferred Revenue schedules and related budgets for the APA
         schedules.The purchase price adjustment Seller is proposing is not what was agreed in the term sheet, and Purchaser would
         like to have Seller honor what has agreed in the term sheet.

             7.Severance

         Seller position : Seller would like to have Severance associated with a transaction be the responsibility of the Purchaser.

         Purchaser position: Purchaser believes this is probably ok, with the exception of the liability for any regularly accrued
         compensation and benefits (such as PTO) through the closing date. Without this clarification, this would amount to a pu rchase
         price adjustment for liabilities that have nothing to do with the new Purchaser.

         Proposed next steps : Noble to ask Seller to modify this Issue to adjust for accrued compensation and benefits.

             8.lndemnification




https://us-mg6.mail.yahoo.com/neo/b/message?sMid=88&fid=B uyout%2 520201 2%252d.2...                                                             8/24/2016
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        Seller position: Since Skycam/Cablecam management is part of the Purchaser, Seller believes that Indemnifications should be
        very limited .

        Purchaser position : Puchaser belleves it has asked for Indemnifications that are consistent with what is standa rd in the market
        for similar transactions.PNC is of the position that they are buying a business, not just the ma nagement .Skycam/Cablecam
        management is willing to try to bridge the gap with the Purchaser, including representing that they have provided Purchaser
        will all the information they have re lated to the business, but Skycam/Cablecam management has no way to represent that
        Seller has provided all the information they have.Seller will have to represent to this. Pu rchaser is willing to negotiate the
        Indemnification provisions in good faith .

        Proposed next steps: To continue to be discussed as the APA is negotiated.




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 RE: Summary of today's discussion with Noble - Yahoo Mail                                                                                             Page 1 of 3




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          To:    "Nie Salomon" <nsalomon2@yahoo.com>

          Cc:    "Kelly Holowaty" <kelly.holowaty@pacificnorthemcapital.com>


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           Date: Wed , March 20, 2013 5:01 pm
           To: "Jeff.holowaty@pacificncap.com" <jeff.holowatv@pacificncao.com>
           Cc: Kelly Holowaty <kelly.holowaty@pacificnortherncapital.com>

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           Proposed next steps:Nobl e said they would request NR and A/P schedules from Seller.

                 2.Fort Worth Lease Guarantee

           Seller position: Seller would li ke to make the removal of this guarantee a requirement to close a Transaction .

           Purchaser position : Pu rchaser is offering to make commercially reaso nable efforts to remove this guarantee.If t he Landlord
           refuses to consent. Purchaser is open to providing these same commercially reasonable efforts back to Seller to offset t he
           guarantee.

           Background information : Seller is aware of the difficult y in negotiating with this Landlord from when these leases w ere put In
           place 2 years ago .The Landlord currently has a guarantee from a public company with a significant amount of cash and no
           debt, and the new guarantor under the Seller's annou nced merger transaction is expected to be a new entity with almost no
           limits on access to capital resources.There is a possibil ity that the Landlord is not wil ling to be reasonable and give up th is
           security for any reasonable amount of new security Seller can provide to Purchaser (this is out Purchaser's control) .This Item
           was added t o term sheet by Seller the day before it wa s signed as a requi rement with no prior discussion .

           Proposed next steps:Purchaser is wil ling to make commercially reasonable efforts to replace the guarantee and would like
           Sel ler to work with Purchaser in a spirit of good fai th to accomplish th is.Perhaps Se ll er and Purchaser can discuss and agree on
           a commercially rea sonable security that Purchaser can propose to Landlord .

                 3.Transition Services




 https://us-mg6.mail .yahoo.com/neo/b/message?sMid=88&fid= Buyout%25202012%252d2. ..                                                                     8/24/2016

                                                                                                                                          EXHIBIT "K"
RE : Summary of today's discussion with Noble - Yahoo Mail                                                                                      Page 2of3
   Case 3:15-cv-00666-M Document 63 Filed 08/31/17                                                 Page 113 of 139 PageID 783

        Seller position: Seller would like to know exactly what these are and make sure they are properly compensated.Seller is
        amenable to this request subject to learning the scope and proposed consideration.

         Purchaser position: Purchaser can provide this scope and cost for consideration and discussion as due diligence continues.

         Proposed next steps: Purchaser to provide more details on this to Seller.

            4.McAfee & Taft Agreement

         Seller position: Seller ls asking Purchaser to assume this Contingent Fee Agreement as part of a Transaction.Seller is open to
         having Purchaser recover any new lega l fees and honoring the terms of the Agreement before splitting any recovery proceeds
         under a Transaction.

         Purchaser position :Purchaser signed a term sheet that was very clear in stating "only ordinary course liabilities will be
         assumed".The liabilities under this Conti ngent Fee Agreement are not ordinary course liabilities.In a show of good faith,
         Purchaser has offered to change the Agreement in the term sheet and be responsible for the $75,000 lnj unction Relief Fee,
         and further assume the financial obligations of the Contingent Fee Agreement as long as any new legal fees incurred by
         Purchaser are the first money recovered any Settlement Proceeds, and tha t the Seller's remaining financial interest in
         Settlement Proceeds would go to honor Seller's liabilities under the Contingent Fee Agreement.Purchaser is also interested to
         engage M cAfee& Taft to continue its legal work in the case.

         Background information: This Contingent Fee Agreement was made between Outdoor Channel and McAfee & Taft in
         November 2011, and Skycam/Cablecam management was not a party to the discussion or the terms of the Agreement. The
         details of the Agreement were only provided to Skycam/Cablecam management as part of the due diligence process for this
         Transaction .Skycam/Cablecam management has contacted McAfee & Taft to try to understand the contingent fee balance
         under this agreeme nt .These contingent fees are approximately $475,000 +the $75,000 Injunctive Relief Fee. McAfee has
         indicated that if they were to get paid out, they would settle for just having their unpa id fees covered ($350,000 +the $75,000
         Injunctive Relief Fee}.

         Proposed next steps:Purchaser would like Seller to work with Pu rchaser in good faith to find an amenable so lution with
         McAfee & Taft that works for all parties.This is going to requi re some compromise and creativity.Seller created this agree ment
         with McAfee & Taft and is In the best position to help structure a solution to this issue which is not an ordinary course liability.

             5.Sales /Transfer Ta xes

         Seller position: Seller bel ieves these should be the responsibi lity of Purchaser.

         Purchaser position:Purchaser has asked for an estimate of what these costs are expected to be, and also asked for clarification
         to make sure t hese Sa les/Transfer Taxes re late only to Taxes from the time ofTransaction close (nothing prior to the date of
         close).

         Proposed next steps:Noble to ask Sel ler to provide cost estimate and clarification.

             6.Deferred Revenue

         Seller position: Seller would like to change the Deferred Revenue calculation as defined In the term sheet to give a credit back
         to the Seller for t he amount of any usages under the ESPN contract that go un used as of July 31, 2013.

         Purchaser position : The Seller's request amounts to a purchase price increase (of a TBD amount}.Th is would take away
         Revenue from the Purchaser that is earned and recorded after the assets have transferred.This is contrary to the agreement in
         the te rm sheet.

         As a general request, Purchaser would like Seller to provide updated schedules of the deferred revenue balances as well as a
         detailed budget showing the revenue and expense recognition on the NAVAIR contract so that the adjustments for Deferred
         Revenue can be tracked acco rdingly.

         Background informat ion: The number of usages in the ESPN contract is typically driven by the series length of the NBA
         Playoffs and Finals (if they go less than 7 games, ESPN sometimes has some remaining usages from the season which get
         recorded as revenue at the end of the contract year which is July 31).Each usage is valued at $40,000-for the current year of
         the contract (as of 3/20/13}, there are 18.5 usages remaining ahead of the College Lacrosse Championships, NBA Playoffs and
         Finals.

         Proposed next steps : Noble to ask Seller to provide updated Deferred Revenue schedules and related budgets for the APA
         schedules.The purchase price adjustment Seller is proposing is not what was agreed in the term sheet, and Purchaser would
         like to have Seller honor what has agreed in the term sheet.

             7.Severance

         Seller position : Seller would like to have Severance associated with a transaction be the responsibility of the Purchaser.

         Purchaser position: Purchaser believes this is probably ok, with the exception of the liability for any regularly accrued
         compensation and benefits (such as PTO) through the closing date. Without this clarification, this would amount to a pu rchase
         price adjustment for liabilities that have nothing to do with the new Purchaser.

         Proposed next steps : Noble to ask Seller to modify this Issue to adjust for accrued compensation and benefits.

             8.lndemnification




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RE: Summary of today's discussion with Noble - Yahoo Mail                                                            Page 3of3
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        Seller position: Since Skycam/Cablecam management is part of the Purchaser, Seller believes that Indemnifications should be
        very limited .

        Purchaser position : Puchaser belleves it has asked for Indemnifications that are consistent with what is standa rd in the market
        for similar transactions.PNC is of the position that they are buying a business, not just the ma nagement .Skycam/Cablecam
        management is willing to try to bridge the gap with the Purchaser, including representing that they have provided Purchaser
        will all the information they have re lated to the business, but Skycam/Cablecam management has no way to represent that
        Seller has provided all the information they have.Seller will have to represent to this. Pu rchaser is willing to negotiate the
        Indemnification provisions in good faith .

        Proposed next steps: To continue to be discussed as the APA is negotiated.




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Re: Update - Yahoo Mail                                                                                                    Page 1 of2
   Case 3:15-cv-00666-M Document 63 Filed 08/31/17                                                    Page 115 of 139 PageID 785




      Re: Update                                                                                                 Monday , March 25 2013 6.26 PM

      From: "Nie Salomon" <nsalomon2@yahoo.com>

        To : "jeff.holowaty@pacificncap .com" <jeff.hOlowaty@pacificncap.com>

        cc: "Kelly Holowaty" <Kelly.holowaty@pacificnortherncapital.com>


      Roger that.


      From: "jeff.holowaty@pacificncap.com" <jeff.holowaty@pacificncap.com>
      To : Nie Salomon <nsalomon2@yahoo .com>
      Cc: Kelly Holowaty <Kelly .holowaty@pacificnorthemcapital.com>
      Sent: Monday, March 25. 2013 5:31 PM
      Subject: RE : Update

      This is exactly what I was concerned about. I would have the meeting, but strongly state that you and management have
      partnered with PNC and are moving forward with closing a transaction . I guess we would entertai n the possi bi lity of them joining
      as a minority investor .

      Jeff


         -------- Original Message - ----- --
         Su bject: Re: Update
         From : Nie Salomon <nsa lomon2@ya hoo.com>
         Da te: Mon, March 25, 20 13 3: 03 pm
         To : "jeff.holowaty@pacificncap.com " <1eff.holowaty@pacificncap.com>
         Cc : Kelly Holowaty < kelly.holowaty@pacificnortherncapital.com>

         Update - Tom Hornish emailed me this afternoon and put me in touch with a Dall as based executive (David Gluck) from
         Kroenke's group. David is scheduled to come to our facility in Fort Worth tomorrow morning for a v isit. When David ca lled
         me, 1 asked him the purpose of the meeting and he said it was just to see our fac ili ty and learn more abo ut our business David
         said he is aware of the LOI and doesn't yet know w hat they plan to do about this
         On ly background info I could find on David is.
         David Gluck, senior wee president for new business and clue/legal officer.formerly general counsel at Liberty Sports and also
         with Fox Sports Net;
         h1ln /Iv.\\ I\   b11.1nun11JI~ ~om /dcnvcr/sl onc'Si'.1004/02/09/du1lv I 0 hlml'?pu1u:=all


         M y thought is to engage the Kroenke group on being an investor in the management dea l (without ceding any ri ghts to the l arger
         deal ). Of course, if you have any thoughts on how you want me to hand le this meeting. pl ease let me know. I don't see a way
         arou nd having the meeting as this was coordinated by Tom Horn ish.

         Al so, I'm about 80% complete with an operating model. Shou ld have something that we can all review/d iscuss later this week

         Thanks.

         Nie


         From: "jeff.holowaty@pacificncap.com" <jeff.holowaty@pacificncap.com>
         To: Nie Salomon <nsalomon2@yahoo.com>
         Cc: Kelly Holowaty <Kelly.holowaty@pacificnorthemcapital.com>
         Sent: Thursday , March 21 , 2013 3:59 PM
         Subject: Update

         Nie - I had a good conve rsa ti on with Tom about the APA . We worked out most of the issues. He agreed to extend the
         LOI 30 days which give us some more time to focus on the integ ra tion . He also will keep us updated when he hears from
         Kroenke .

         Kelly and l had a last minute board meeting come up on Monday so we will have to postpone our trip . .sorry . We wi ll
         come back to you with some other dates that work.

         Let's continue to move forwa rd.

         Maybe next week we can review the operating model. .. ! would like t o get a sense of what things look like with Sequoia,
         other capex, growth, etc.

         Thanks,

         Jeff




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Case 3:15-cv-00666-M Document 63 Filed 08/31/17                                 Page 116 of 139 PageID 786




                                                                                             Maroh21,2013



       Pacific Northern Capital
       3218 East Holt Avenue
       We& Covina, CA 91791

       Ladies and Gentlemen:

      This letmr amendment ("Nnendmenf'), effective as of March 21, 2013, amends that Tenn Sheet (the
      "Term Sheet') between Outdoor Channel Holdings, Inc. and Pacific Northern Capital ("PNC')
      concerning PNC's proposed acquisition of certain assets of Sl<yCam, ·uc and CableCam, LLC
      ("Proposed Tran$action"). Unless otherwise noted, all defined terms in this Amendment shall have the
      same meanings as setforth in the Term Sheet.

      The parties hereto, intending to be legally bound hereby, agree as follows:

          l. Extension ofExc1usivity. The exclusivity section set forth on-page 3 of the Term Sheet shall be
             amended as follows:

                  a.   The date "Aprll 15,2013," referenced in the third line of-paragraph A shall be deleted in
                       its entirety and shall be -replaced with "May lS, 2013 ("Exclusivity End Date"")."

                  b. The following sentence shall be added as the last sentence of paragraph B:

                  "If PNC determines in.good faith that (i)the-parties have agreed1o substantially all of the
                  1erms and conditions governing the Proposed Transaction and (ii)1he Proposed Transaction is
                  proceedingtowards completion, then the Exclusivity End Date shall be .extended1o June t-5,
                  2013 upon PNC's delivery of written notice of such determination·to Outdoor Channel:"

                  c.    The :following ·sentence shall be added in its entirety, as .a new"]Jaragraph, at the.end of
                       1he Exclusivity section:

                  ''E. The parties agree that if. at any point during the exclusivity period. Kroenke Sports &
                  Eniortainment, LLC concludes 1hat it will not consent to ·the Proposed Transaction, PNC shall
                  "telease Outdoor Channel from its exclusivity obligations and PNC ·sh.all-forever waiv.e its
                  rights, if aqy, under the Term Sheetto seek equitable-relief or any other-remedies available at
                  law or in equity."

               Except as expressly modified by this Amendment, tile Tenn Sheet shall remain umnodified.and in
      full force and effect. This Amendment may be executed in one or more counterparts, each of which shall
      be deemed .to be an original but all ofwhich1ogether shall constitute one and the same instrummit




                                                                                                         EXHIBIT "L"
Case 3:15-cv-00666-M Document 63 Filed 08/31/17                       Page 117 of 139 PageID 787




   IN WITNESS WHEREOF, the parties hereto have executed this Amondment as of the date set forth
   above.


                                                         OUIDOOR CHANNEL HOLDINGS, 1NC.
                                                                    ~-?~/
                                                         By: ,::.::-'r{._   d   -7
                                                             Tom Hornish, ·President and CBO




   AGREED TO AND ACCEPTED
   as of the date :first above written:
Case 3:15-cv-00666-M Document 63 Filed 08/31/17                                                                Page 118 of 139 PageID 788

 RE: update 3/28 - Yahoo Mail                                                                                                                        Page 1of2




        RE: update 3128                                                                                              Tuesday Apnl 9, 2013 10 55 AM

        From: "jeff.holowaty@pacificncap.com" <jeff.holowaty@pacificncap.com>

           To:    "Nie Salomon" <nsalomon2@yahoo.com>

                  "kelly .holowaty@pacificnorthemcapital .com" <kelly .holowaty@pacificnortherncapital .com>


        Nie - I sent Tom an email last Friday asking for an update ... he replied mentioning he has not heard back yet ... I wil l forward you
        that email . Also, when I spoke with Tom a few weeks back, we agreed to extend the term sheet to May 15 with an additional 30
        day option.

        Jeff


           --------Original Message--------
           Subject: Re : update 3/28
           From: Nie Salomon < nsalomon2@yahoo.com>
           Date: Tue , April 09, 2013 7: 58 am
           To: "jeff. holowaty@pacificncap.com" <jeff. holowaty@pacifjcncao.com >,
           "kelly . holowaty@pacificnorthernca pita I.com"
           < kelly. holowaty@pacificnorthernca pita I.com>

           Jeff I Kelly,

           I still have not heard any more feedback ti-om either Kroenke or Outd oor Channel. Today I am putttng together a drafl tenm
           sheet extension and wi ll send around later today for your sign off before I send to Hornish.

           Regards,
           Nie


           From : "jeff.holowaty@pacificncap.com" <jeff.holowaty@pacificncap.com>
           To: nsalomon2@yahoo.com ; kelly.holowaty@pacificnortherncapttal.com
           Sent: Thursday. March 28 . 2013 6:06 PM
           Subj ect: Re: update 3/28

           Thanks for the update. We were thinking of around $4mm for PNC and leaving $2mm for other trategic mvestors (Roger and
           Brad ). Send me the model when you are comp lete and we can discuss specifics . I am traveling for the holiday weekend but wi ll
           call you Monday .

           Thanks,

           Jeff

           --- ----- Original Message --------
           Subject: : update 3/28
           From: Nie Salomon <nsalomon2@yahoo .com>
           Date: Mar 28, 2013 9:34 AM
           To :: "jeff.holowatv@pacificncap.com" < jeff.holowatvl@pacificncap.com> ."Kelly 1-lolowaty"
           <kellv .holowatv@pac1ticnorthemcap ital.com>
           cc.
           Jeff I Kel ly,

           I continue to work on the operating model this week . On yo ur end. can you please provide me with your proposed capitalization
           table so wc ca n work that into our financial ana lysis for potential strategic investors (!MAX and Kroenke)? For total capital 1n
           the deal, let's assume the transaction value in the tenm sheet + $2.SMM of additional capital (next gen development incl ud ing
           Sequoia acquisition, working capital needs and up front transaction-related expenses/costs). We may also want to sy nd icate out
           some equ ity at a higher valuation if you want to offset some of the management di lution on the front end of the deal We should
           also think about structure and how it may be unpacted by a future potential investment from the NFL VC fund ( if that becomes a
           reality down the road). lfyou would like to get on the phone to discuss this, please let me know

           As for other items. I will leave it in your hands to press Outdoor Channel for a revised APA (unless you want me to lead the
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           CPA finms in the near fuwre as well.

           With the business, things are progressing well for Contederat1ons Cup in Brazil and the NBA Playoffs/Finals. We have a 2-day
           trip to Capitol Hill next week for government strategic planning, and then we have meetings with our key clients April 8-11 at
           the NAB trade show in Las Vegas .




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                                                                                                                                      EXHIBIT "M"
RE: update 3/28 - Yahoo Mail                                                                                        Page 2of2
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        On the Kroenke situation, I had the mccung with David Gluck on Tuesday and explained to him the business (but did not
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        an exclusive term sheet in place). I don't have a good read on what their plans are - they are waning for their Cl~O to ren1m
        from vacation at the end of next week to discuss.

        If there   1s   any update on your end. please let me know

         IC




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 RE: update 3/28 - Yahoo Mail                                                                                                                        Page 1of2




        RE: update 3128                                                                                              Tuesday Apnl 9, 2013 10 55 AM

        From: "jeff.holowaty@pacificncap.com" <jeff.holowaty@pacificncap.com>

           To:    "Nie Salomon" <nsalomon2@yahoo.com>

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RE: update 3/28 - Yahoo Mail                                                                                        Page 2of2
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Skycam
  Case Amendment - Yahoo Document
       3:15-cv-00666-M   Mail     63 Filed 08/31/17                             Page 122 of 139 PageIDPage
                                                                                                       7921 of l




       Skycam Amendment                                                                  Tuesdav Apnl9, 20131121 AM

        From: "jeff holowaty@pacificncap.com" <jeff.holowaty@pacificncap.com>

          To:       "Nie Salomon" <nsalomon2@yahoo .com>

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       FYI




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DEFA14A                                                                                                         Page 1 of 6




 DEFA14A 1 d533118ddefa14a.htm DEFA14A

                         UNITED STATES
             SECURITIES AND EXCHANGE COMMISSION
                                                  Washington, D.C. 20549


                                                 SCHEDULE 14A
                               Proxy Statement Pursuant to Section 14(a) of the
                                       Securities Exchange Act of 1934


 Filed by the Registrant _                       Filed by a Party other than the Registrant 

 Check the appropriate box:
    Preliminary Proxy Statement
    Confidential, for Use of the Commission Only (as permitted by Rule 14a-6(e)(2))
    Definitive Proxy Statement
 _ Definitive Additional Materials
    Soliciting Material Pursuant to §240.14a-12


                    Outdoor Channel Holdings, Inc.
                                      (Name of Registrant as Specified In Its Charter)

                                  (Name of Person(s) Filing Proxy Statement, if other than the Registrant)


 Payment of Filing Fee (Check the appropriate box):

 _ No fee required.

    Fee computed on table below per Exchange Act Rules 14a-6(i)(1) and 0-11.

     (1) Title of each class of securities to which transaction applies:


     (2) Aggregate number of securities to which transaction applies:


     (3) Per unit price or other underlying value of transaction computed pursuant to Exchange Act Rule 0-11 (set forth
         the amount on which the filing fee is calculated and state how it was determined):


     (4) Proposed maximum aggregate value of transaction:


     (5) Total fee paid:




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                                                                                                             EXHIBIT "O"
DEFA14A                                                                                                         Page 2 of 6

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    Fee paid previously with preliminary materials:

    Check box if any part of the fee is offset as provided by Exchange Act Rule 0-11(a)(2) and identify the filing for
     which the offsetting fee was paid previously. Identify the previous filing by registration statement number, or the
     Form or Schedule and the date of its filing.

     (1) Amount Previously Paid:


     (2) Form, Schedule or Registration Statement No:


     (3) Filing party:


     (4) Date filed:




https://www.sec.gov/Archives/edgar/data/760326/000119312513201776/d533118ddefa14a.... 9/9/2016
DEFA14A                                                                                                         Page 3 of 6

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     EXPLANATORY NOTE:
      On May 6, 2013, Outdoor Channel Holdings, Inc. (“Outdoor Channel”) issued a press release announcing that its
 board of directors unanimously determined that the May 3, 2013 proposal submitted by InterMedia Outdoors Holdings,
 LLC and IMTOC Merger Sub, Inc. to acquire all outstanding shares of Outdoor Channel common stock in an all-cash
 transaction at a price of $9.75 per share constitutes a “Superior Proposal” as such term is defined in Outdoor Channel’s
 merger agreement with Kroenke Sports & Entertainment, LLC and KSE Merger Sub, Inc. dated as of March 13, 2013.
 A copy of the press release is included below.

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                     OUTDOOR CHANNEL DETERMINES THAT INTERMEDIA PROPOSAL
                                   IS A SUPERIOR PROPOSAL

 TEMECULA, Calif.—May 6, 2013—Outdoor Channel Holdings, Inc. (NASDAQ: OUTD) (the “Company” or “Outdoor
 Channel”) today announced that its board of directors, after consultation with the Company’s outside legal counsel and
 financial advisor, unanimously determined that the May 3, 2013 proposal submitted by InterMedia Outdoors Holdings,
 LLC and IMTOC Merger Sub, Inc. (together, “InterMedia”) to acquire all outstanding shares of Outdoor Channel
 common stock in an all-cash transaction at a price of $9.75 per share constitutes a “Superior Proposal” as such term is
 defined in Outdoor Channel’s merger agreement with Kroenke Sports & Entertainment, LLC (“KSE”) and KSE Merger
 Sub, Inc. dated as of March 13, 2013 (the “KSE Agreement”). The definitive terms and conditions of a merger agreement
 detailing this proposal have been fully negotiated, and financing commitments have been obtained by InterMedia. The
 receipt by InterMedia of financing is not a condition to the closing of the proposed InterMedia merger. In addition, there
 are no contractual limitations on remedies available to Outdoor Channel against InterMedia in the event of a financing
 failure.

 In accordance with the terms of the KSE Agreement, Outdoor Channel has notified KSE of its intention to terminate the
 KSE Agreement, subject to KSE’s right to propose, within four business days of such notice, changes to the terms of the
 KSE Agreement that would, in the good faith judgment of the Outdoor Channel board (after consultation with outside
 legal counsel and financial advisors), cause the InterMedia proposal to no longer constitute a Superior Proposal.

 At this time the KSE Agreement remains in effect, and the Outdoor Channel board has not changed its recommendation
 with respect to the KSE transaction. If the InterMedia proposal continues to constitute a Superior Proposal after the
 expiration of the four business-day period ending at 5:00 p.m., Pacific Time, May 9, 2013, Outdoor Channel expects to
 terminate the KSE Agreement and to enter into the merger agreement with InterMedia. In such event, Outdoor Channel
 would be required to pay KSE a break-up fee in the amount of $1,000,000.

 Stockholders do not need to take any action at this time. If a stockholder has previously submitted its proxy card or voted
 by internet or telephone and does not currently wish to change its vote, no further action is required by such stockholder. If
 a stockholder would like to vote or change its vote, please refer to the instructions provided in the definitive proxy
 statement which was mailed to Outdoor Channel stockholders on or about April 12, 2013. Stockholders are urged to
 carefully review the definitive proxy statement and the other materials included or incorporated by reference therein as
 these materials include additional information regarding the transaction.

 The Outdoor Channel board cautions that there can be no assurance that the InterMedia proposal will lead to the
 termination of the KSE Agreement and the execution of a merger agreement with InterMedia, or that the InterMedia
 proposal will be approved or consummated.

 Lazard is serving as exclusive financial advisor to the Company in connection with the transaction. Wilson Sonsini
 Goodrich & Rosati, P.C. is legal advisor to the Company.




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 About Outdoor Channel Holdings, Inc.
 Outdoor Channel Holdings, Inc. owns and operates Outdoor Channel and Winnercomm Inc. Nielsen estimated that
 Outdoor Channel had approximately 39.8 million cable, satellite and telco subscribers for May 2013. Outdoor Channel
 offers programming that captures the excitement of hunting, fishing, shooting, adventure and the Western lifestyle and can
 be viewed on multiple platforms including high definition, video-on-demand, as well as on a dynamic broadband website.
 Winnercomm is one of America’s leading and highest quality producers of live sporting events and sports series for cable
 and broadcast television. The Company also owns and operates the SkyCam and CableCam aerial camera systems which
 provide dramatic overhead camera angles for major sports events, including college and NFL football.

 Safe Harbor Statement
 Certain matters discussed in this press release, with the exception of historical matters, may be forward- looking
 statements within the meaning of the Private Securities Litigation Reform Act of 1995. In some cases, forward-looking
 statements can be identified by words such as “anticipates,” “estimates,” “expects,” “believes,” “intends,” “plans,”
 “predicts,” and similar terms. These statements are subject to a number of risks and uncertainties that could cause results
 to differ materially from those anticipated as of the date of this release. You should understand that the following
 important factors could cause outcomes to differ materially from those expressed or implied in the forward-looking
 statements:
       •   KSE making a proposal of changes to the terms of the KSE Agreement that would cause the InterMedia
           proposal to no longer constitute a Superior Proposal;
       •   failure of the Company to terminate the KSE Agreement;
       •   failure of the Company to execute a merger agreement with InterMedia;
       •   failure of the Company stockholders to approve a merger agreement with InterMedia;
       •   failure to consummate a merger with InterMedia; and
       •   litigation in respect of the merger.

 The Company also cautions the reader that undue reliance should not be placed on any forward-looking statements, which
 speak only as of the date of this release. The Company undertakes no duty or responsibility to update any of these
 forward-looking statements to reflect events or circumstances after the date of this report or to reflect actual outcomes.

 IMPORTANT INFORMATION FOR INVESTORS AND SECURITYHOLDERS
 This communication is being made in respect of a proposed business combination involving Outdoor Channel and KSE. In
 connection with this proposed transaction Outdoor Channel has filed a definitive proxy statement with the SEC on
 April 11, 2013 which was mailed to Outdoor Channel stockholders on or about April 12, 2013. The definitive proxy
 statement contains important information about the proposed merger and related matters.

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 OUTDOOR CHANNEL URGES INVESTORS TO CAREFULLY READ IN ITS ENTIRETY THE DEFINITIVE PROXY
 STATEMENT AND OTHER DOCUMENTS INCLUDED AND INCORPORATED BY REFERENCE THEREIN BECAUSE
 THEY CONTAIN IMPORTANT INFORMATION ABOUT THE PROPOSED MERGER.

 Investors and security holders can obtain free copies of the definitive proxy statement and other documents filed with the
 SEC by Outdoor Channel through the web site maintained by the SEC at www.sec.gov, or through Outdoor Channel’s
 website at www.outdoorchannel.com.

 PROXY SOLICITATION
 Outdoor Channel and its respective directors, executive officers and certain other members of management and
 employees may be soliciting proxies from Outdoor Channel stockholders in favor of the merger. A description of the
 interests of Outdoor Channel’s directors and executive officers in Outdoor Channel is set forth in the definitive proxy
 statement and the other documents included and incorporated by reference therein. You may find information about
 Outdoor Channel’s executive officers and directors in its amendment to its annual report on Form 10-K filed with the SEC
 on April 29, 2013. You may obtain free copies of these documents from Outdoor Channel in the manner set forth above.

 CONTACT: For Company:
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 Executive Vice President, Chief Operating Officer/
 Chief Financial Officer
 800-770-5750
 tallen@outdoorchannel.com

 For Investors:
 Brad Edwards
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 212-986-6667
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 For Media:
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 nancy@braincomm.com

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 DEFA14A 1 defa14a_050713.htm DEFINITIVE ADDITIONAL MATERIALS
                                  UNITED STATES
                    SECURITIES AND EXCHANGE COMMISSION
                                                    Washington, D.C. 20549

                                                     SCHEDULE 14A
                                Proxy Statement Pursuant to Section 14(a) of the Securities
                                                 Exchange Act of 1934

 Filed by the Registrant _
 Filed by a Party other than the Registrant 

 Check the appropriate box:

        Preliminary Proxy Statement

         Confidential, for Use of the Commission Only (as permitted by Rule 14a-6(e)(2))

        Definitive Proxy Statement

 _        Definitive Additional Materials

         Soliciting Material Pursuant to §240.14a-12


                                 Outdoor Channel Holdings, Inc.
                                      (Name of Registrant as Specified In Its Charter)

                          (Name of Person(s) Filing Proxy Statement, if other than the Registrant)

 Payment of Filing Fee (Check the appropriate box):

 _ No fee required.

  Fee computed on table below per Exchange Act Rules 14a-6(i)(1) and 0-11.

     (1)Title of each class of securities to which transaction applies:


     (2)Aggregate number of securities to which transaction applies:


     (3)Per unit price or other underlying value of transaction computed pursuant to Exchange Act Rule 0-11 (set forth the
        amount on which the filing fee is calculated and state how it was determined):


     (4)Proposed maximum aggregate value of transaction:


     (5)Total fee paid:

  Fee paid previously with preliminary materials:

   Check box if any part of the fee is offset as provided by Exchange Act Rule 0-11(a)(2) and identify the filing for which
  the offsetting fee was paid previously. Identify the previous filing by registration statement number, or the Form or
   Schedule and the date of its filing.




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   (1)Amount Previously Paid:


   (2)Form, Schedule or Registration Statement No:


   (3)Filing party:


   (4)Date filed:




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       EXPLANATORY NOTE:

        On May 7, 2013, Outdoor Channel Holdings, Inc. (“Outdoor Channel”) issued a press release announcing that
 intends to adjourn the special meeting of its stockholders in connection with the Company’s sale to Kroenke Sports &
 Entertainment, LLC. A copy of the press release is included below.


               OUTDOOR CHANNEL ANNOUNCES INTENT TO ADJOURN SPECIAL MEETING

 TEMECULA, Calif.—May 7, 2013—Outdoor Channel Holdings, Inc. (NASDAQ: OUTD)(the “Company” or “Outdoor
 Channel”) today announced that it intends to adjourn its special meeting of stockholders, which is scheduled to be held at
 9:00 a.m., Pacific Time, on May 8, 2013, without conducting any business, to a date and time to be determined. The
 location of such reconvened special meeting will remain Outdoor Channel’s facilities located at 43455 Business Park
 Drive in Temecula, California.

 The special meeting is being called to seek stockholder approval of, among other things, the adoption of Outdoor
 Channel’s merger agreement with Kroenke Sports & Entertainment, LLC (“KSE”) and KSE Merger Sub, Inc. dated as of
 March 13, 2013 (the “KSE Agreement”). The proposals set out in Outdoor Channel’s notice of special meeting of
 stockholders dated April 12, 2013 will be considered and voted on at such time as the adjourned special meeting of
 stockholders is reconvened.

 As previously announced, the Outdoor Channel board of directors, after consultation with its outside legal counsel and
 financial advisor, unanimously determined that the May 3, 2013 proposal submitted by InterMedia Outdoors Holdings,
 LLC and IMTOC Merger Sub, Inc. (together, “InterMedia”) to acquire all outstanding shares of Outdoor
 Channel common stock in an all-cash transaction at a price of $9.75 per share constitutes a “Superior Proposal” as such
 term is defined in the KSE Agreement, notice of which was delivered to KSE on May 4, 2013. Pursuant to the KSE
 Agreement, KSE has a right to propose, within four business days of such notice, changes to the terms of the KSE
 Agreement that would, in the good faith judgment of the Outdoor Channel board (after consultation with outside legal
 counsel and financial advisors), cause the InterMedia proposal to no longer constitute a Superior Proposal.

 In light of this announcement, Outdoor Channel has determined that it is in the best interests of its stockholders to adjourn
 the special meeting of stockholders to vote on the approval of the adoption of the KSE Agreement, among other things,
 until after May 9, 2013 – the date by which this four business-day period will expire. KSE has agreed to the adjournment
 of the special meeting.

 Stockholders do not need to take any action at this time. Outdoor Channel will make additional disclosures in advance of
 the reconvened special meeting, and stockholders will have an opportunity to change their vote at any time prior to the
 vote at the reconvened special meeting. If a stockholder has previously submitted its proxy card or voted by internet or
 telephone and does not currently wish to change its vote, no further action is required by such stockholder. If a
 stockholder would like to vote or change its vote, please refer to the instructions provided in the definitive proxy statement
 which was mailed to Outdoor Channel stockholders on or about April 12, 2013. Stockholders are urged to carefully
 review the definitive proxy statement and the other materials included or incorporated by reference therein as these
 materials include additional information regarding the transaction.

 Lazard is serving as exclusive financial advisor to the Company in connection with the transaction. Wilson Sonsini
 Goodrich & Rosati, P.C. is legal advisor to the Company.


 About Outdoor Channel Holdings, Inc.

 Outdoor Channel Holdings, Inc. owns and operates Outdoor Channel and Winnercomm Inc. Nielsen estimated that
 Outdoor Channel had approximately 39.8 million cable, satellite and telco subscribers for May 2013. Outdoor Channel
 offers programming that captures the excitement of hunting, fishing, shooting, adventure and the Western lifestyle and can
 be viewed on multiple platforms including high definition, video-on-demand, as well as on a dynamic broadband website.
 Winnercomm is one of America’s leading and highest quality producers of live sporting events and sports series for cable




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 and broadcast television. The Company also owns and operates the SkyCam and CableCam aerial camera systems which
 provide dramatic overhead camera angles for major sports events, including college and NFL football.




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 Safe Harbor Statement

 Certain matters discussed in this press release, with the exception of historical matters, may be forward- looking
 statements within the meaning of the Private Securities Litigation Reform Act of 1995. In some cases, forward-looking
 statements can be identified by words such as “anticipates,” “estimates,” “expects,” “believes,” “intends,” “plans,”
 “predicts,” and similar terms. These statements are subject to a number of risks and uncertainties that could cause results
 to differ materially from those anticipated as of the date of this release. You should understand that the following
 important factors could cause outcomes to differ materially from those expressed or implied in the forward-looking
 statements:

      • KSE making a proposal of changes to the terms of the KSE Agreement that would cause the InterMedia proposal
          to no longer constitute a Superior Proposal;
      •   failure of the Company to terminate the KSE Agreement;
      •   failure of the Company to execute a merger agreement with InterMedia;
      •   failure of the Company stockholders to approve a merger agreement with InterMedia;
      •   failure to consummate a merger with InterMedia; and
      •   litigation in respect of the merger or rights to adjourn special meeting.

 The Company also cautions the reader that undue reliance should not be placed on any forward-looking statements, which
 speak only as of the date of this release. The Company undertakes no duty or responsibility to update any of these
 forward-looking statements to reflect events or circumstances after the date of this report or to reflect actual outcomes.

 IMPORTANT INFORMATION FOR INVESTORS AND SECURITYHOLDERS

 This communication is being made in respect of a proposed business combination involving Outdoor Channel and KSE. In
 connection with this proposed transaction Outdoor Channel plans to file with the SEC and furnish to its stockholders a
 proxy statement. The proxy statement will contain important information about the proposed transaction and related
 matters.

 OUTDOOR CHANNEL URGES INVESTORS TO CAREFULLY READ IN ITS ENTIRETY THE DEFINITIVE PROXY
 STATEMENT AND OTHER DOCUMENTS INCLUDED AND INCORPORATED BY REFERENCE THEREIN AS THEY
 ARE MADE AVAILABLE TO OUTDOOR CHANNEL STOCKHOLDERS BECAUSE THEY CONTAIN IMPORTANT
 INFORMATION ABOUT THE PROPOSED MERGER.

 Investors and security holders will be able to obtain free copies of the proxy statement when made available and other
 documents filed with the SEC by Outdoor Channel through the web site maintained by the SEC at www.sec.gov. Free
 copies of the proxy statement when made available and other documents filed with the SEC can also be obtained on
 Outdoor Channel’s website at www.outdoorchannel.com.

 PROXY SOLICITATION

 Outdoor Channel and its respective directors, executive officers and certain other members of management and
 employees may be soliciting proxies from Outdoor Channel stockholders in favor of the merger. A description of the
 interest of Outdoor Channel’s directors and executive officers in Outdoor Channel is set forth in the definitive proxy
 statement mailed to Outdoor Channel stockholders on or around April 12, 2013 and the other documents included and
 incorporated by reference therein. You can find information about Outdoor Channel’s executive officers and directors in
 its amendment to its annual report on Form 10-K filed with the SEC on March 9, 2012. You can obtain free copies of these
 documents from Outdoor Channel in the manner set forth above.


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 edwards@braincomm.com

 For Media:
 Nancy Zakhary
 Brainerd Communicators, Inc.
 212-986-6667
 nancy@braincomm.com

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Form 8-K                                                                                                                             Page 1 of 5




 8-K 1 d536065d8k.htm FORM 8-K

                           UNITED STATES
               SECURITIES AND EXCHANGE COMMISSION
                                                           Washington, DC 20549


                                                               FORM 8-K

                                                      CURRENT REPORT
                                                 Pursuant to Section 13 or 15(d) of
                                                The Securities Exchange Act of 1934
                                      Date of Report (Date of earliest event reported):
                                                                   May 8, 2013



      OUTDOOR CHANNEL HOLDINGS, INC.
                                            (Exact name of registrant as specified in its charter)


               DELAWARE                                                 000-17287                               XX-XXXXXXX
          (State or other jurisdiction of                        (Commission File Number)                        (IRS Employer
                  incorporation)                                                                               Identification No.)

                                                           43455 Business Park Drive
                                                           Temecula, California 92590
                                                (Address of principal executive offices, including zip code)

                                                                   (951) 699-6991
                                                  (Registrant’s telephone number, including area code)


                                              (Former name or former address, if changed since last report)



 Check the appropriate box below if the Form 8-K filing is intended to simultaneously satisfy the filing obligation of the
 registrant under any of the following provisions (see General Instruction A.2. below):
    Written communications pursuant to Rule 425 under the Securities Act (17 CFR 230.425)
    Soliciting material pursuant to Rule 14a-12 under the Exchange Act (17 CFR 240.14a-12)
    Pre-commencement communications pursuant to Rule 14d-2(b) under the Exchange Act (17 CFR 240.14d-2(b))
    Pre-commencement communications pursuant to Rule 13e-4(c) under the Exchange Act (17 CFR 240.13e-4(c))




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                                                                                                                          EXHIBIT "Q"
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 Item 1.01 Entry into a Material Definitive Agreement
 Second Amendment to Merger Agreement
      On May 8, 2013, Outdoor Channel Holdings, Inc. (“Outdoor Channel”) entered into Amendment No. 2 to the
 Agreement and Plan of Merger by and among Outdoor Channel, Kroenke Sports & Entertainment, LLC (“KSE”) and KSE
 Merger Sub, Inc.(the “Second Amendment”). The Second Amendment modifies the previously announced Agreement and
 Plan of Merger, dated as of March 13, 2013, which was previously amended on May 2, 2013 (as amended, the “Merger
 Agreement”).

      Outdoor Channel’s board of directors unanimously approved the Second Amendment and recommended that the
 Outdoor Channel stockholders vote to adopt the Merger Agreement at the special meeting of Outdoor Channel
 stockholders.

      The Second Amendment increases the consideration to be paid to Outdoor Channel’s stockholders for their shares of
 Outdoor Channel common stock if the merger is completed to $10.25 per share in cash from $9.35 per share in
 cash. Additionally, under the terms of the Second Amendment, the termination fee that Outdoor Channel will be required
 to pay KSE upon termination of the amended merger agreement under specified circumstances, including termination by
 KSE in the event that the Outdoor Channel board of directors changes its recommendation and no longer recommends that
 the Outdoor Channel stockholders vote in favor of the adoption of the amended merger agreement, has been increased to
 $7.5 million from $1 million. Further, under the Second Amendment, the Outdoor Channel board cannot terminate the
 Merger Agreement for a Superior Proposal (as defined in the Merger Agreement), but instead Outdoor Channel must,
 unless KSE agrees otherwise, submit a proposal for the adoption of the Merger Agreement at a special meeting of the
 Outdoor Channel stockholders, even in the event of a change of board recommendation.

    The foregoing description of the Second Amendment is qualified in its entirety by the full text of the Second
 Amendment attached hereto as Exhibit 2.1, which is incorporated herein by reference.

 Amendment to Support Agreement
       Concurrently with the execution of the Second Amendment, Thomas H. Massie, Perry T. Massie and certain of their
 affiliated entities (the “Massie Parties”), the members of the Outdoor Channel Board of Directors and the executive
 officers of Outdoor Channel, collectively representing approximately 41% of the outstanding Outdoor Channel common
 stock (collectively, the “Supporting Parties”), entered into an amendment to the support agreement (the “Support
 Agreement Amendment) previously entered into by such parties with KSE on March 13, 2013 (as amended, the “Support
 Agreement”). Under the terms of the Support Agreement, the Supporting Parties agreed, among other things, to vote their
 shares of Outdoor Channel common stock: (i) in favor of the adoption of the Merger Agreement, the merger and the other
 transactions contemplated by the Merger Agreement; (ii) in favor of any proposal to adjourn or postpone any meeting of
 the Outdoor Channel stockholders if there are not sufficient votes for approval of the matters described in the preceding
 clause (i); and (iii) except with the written consent of KSE, against (x) any Alternative Proposal (as defined in the Merger
 Agreement) with respect to Outdoor Channel that would impede the merger or (y) any other action or proposal involving
 Outdoor Channel (or any subsidiary of Outdoor Channel) that would reasonably be expected to prevent or materially
 impede, interfere with or delay the merger. The Support Agreement Amendment amended the Support Agreement to
 provide that the Supporting Parties will have no right to terminate the Support Agreement and will continue to be bound
 by their obligations thereunder, including their voting obligations described in the immediately foregoing sentence, in the
 event that the Outdoor Channel board of directors changes its recommendation.

     The foregoing description of the Support Agreement Amendment is qualified in its entirety by the full text of the
 Support Agreement Amendment attached hereto as Exhibit 99.1, which is incorporated herein by reference.




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 Item 8.01 Other Events
      On May 8, 2013, Outdoor Channel issued a press release announcing entry into the Second Amendment and the
 Outdoor Channel board of directors’ recommendation that Outdoor Channel stockholders vote to approve the adoption of
 the Merger Agreement at the special meeting of Outdoor Channel stockholders.

     Outdoor Channel also confirmed that its special meeting of stockholders has been adjourned and that Outdoor
 Channel anticipates that the special meeting will be held next week. The location of the reconvened special meeting will
 remain Outdoor Channel’s facilities located at 43455 Business Park Drive in Temecula, California.

        A copy of the press release is attached hereto as Exhibit 99.2 and incorporated herein by reference.

 Item 9.01 Financial Statements and Exhibits
 (d) Exhibits.
 Exhibit
 No.           Description

  2.1          Amendment No.2, dated as of May 8, 2013, to the Agreement and Plan of Merger dated March 13, 2013, as
               amended, by and among Kroenke Sports & Entertainment, LLC, KSE Merger Sub, Inc. and Outdoor Channel
               Holdings, Inc.
 99.1          Amendment No. 1 to Support Agreement dated as of March 13, 2013, by and among KSE, the Massie Parties
               and each of the directors and executive officers of Outdoor Channel
 99.2          Press Release, issued by Outdoor Channel, Holdings, Inc., dated May 8, 2013




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                                                       SIGNATURE

 Pursuant to the requirements of the Securities Exchange Act of 1934, the registrant has duly caused this report to be signed
 on its behalf by the undersigned hereunto duly authorized.

                                                                OUTDOOR CHANNEL HOLDINGS, INC.

 Date: May 8, 2013                                              /s/ Catherine C. Lee
                                                                Catherine C. Lee
                                                                Exec. VP, General Counsel and Corporate Secretary




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                                                INDEX TO EXHIBITS
 Exhibit
 No.       Description

  2.1      Amendment No.2, dated as of May 8, 2013, to the Agreement and Plan of Merger dated March 13, 2013, as
           amended, by and among Kroenke Sports & Entertainment, LLC, KSE Merger Sub, Inc. and Outdoor Channel
           Holdings, Inc.
 99.1      Amendment No. 1to Support Agreement dated as of March 13, 2013, by and among KSE, the Massie Parties
           and each of the directors and executive officers of Outdoor Channel
 99.2      Press Release, issued by Outdoor Channel, Holdings, Inc., dated May 8, 2013




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